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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196366
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                          Date           Date
                                                                      Identified     Admitted
     1          7/12/2021 Plaintiffs' First Deposition of
                Defendant Under FRCP 30(b)(6)
     2          Withdrawn
     3          Apple Inc. - Accounting and Finance Policy.
                Policy name: Records Management; Polcy No.
                1.06; Rev. September 2013 (Confidential)

     4          Withdrawn
     5          Withdrawn
     6          2/26/2014 Email from Marcelo Lamego to                   11/4/2024     11/4/2024
                Steve Hotelling, et al., re N27 list with potential
                improvements
     7          Attachment to Exhibit 6 "List with potential
                improvements for the N27"
     8          Chain email with a last date of Feb. 27, 2014,           11/4/2024     11/4/2024
                From Jack Fu To Daniel Culbert, SUBJECT:
                Re: N27 list with potential improvements
     9          Chain email with a lst date of Feb. 10, 2014,
                From Daniel Culbert, To Jack Fu, SUBJECT:
                Re: root causes LUS
     10         Chain email with a last date of June 4, 2014,            11/4/2024     11/4/2024
                From Jack Fu, To Steve Waydo, Matt Vieta,
                SUBJECT: Fwd: help on signal analysis for
                potential alg. improvements
     11         Chain email with a last date of March 1, 2014,           11/4/2024     11/4/2024
                From Alan Chem, To Jack Fu, SUBJECT: Re:
                N27A: Platinum Improvements for Proto S and
                beyond
     12         Chain email with a last date of May 20, 2014,
                From Jack Fu, To Mayra Haggerty, SUBJECT:
                Re: help on signal analysis for potential alg.
                improvements
     13         5/27/2014 Email from Daniel Culbert to
                Marcelo Lamego re Access to gem.apple.com
     14         February 26, 2014, iMessage                              11/4/2024     11/4/2024
     15         Chain email with a last date of June 14, 2014,           11/8/2024     11/8/2024
                From jack Fu, To Myra Haggerty, SUBJECT:
                Re: Follow up on Marcelo




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196367
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
     16         Chain emal with a last date of Sept. 18, 2013,      11/8/2024     11/8/2024
                From Mayra Haggerty, To David Tom,
                SUBJECT: Re: Project Everest
     17         Chain email with a last dae of June 26, 2014,
                From Jack Fu To Steve Waydo, et al.,
                SUBJECT: Platinum QA Kickoff - whiteboards

     18         March 6, 2014, iMessages
     19         Chain email with a last date of Feb. 4, 2014,
                From Myra Haggerty, To Daniel Culbert,
                SUBJECT: Re: My Basis Feedback?
     20         Withdrawn
     23         Radar Database Document titled Provide fastest      11/4/2024     11/4/2024
                rate platinum can provide synchronized isopod
                samples to host
     24         Chain E-mail with a last dae of Mar. 6, 2014,       11/4/2024     11/4/2024
                From Louyis Bokma, To Marcelo Lamego,
                Subject ,Radar://problem/16192899> and
                Attachment PastedGraphic-1.png
     25         Radar Printout titled [opalfw pt mdm] N27A          11/4/2024     11/4/2024
                Platinum mod/demod support, FW scan plan
     27         Radar Printout                                      11/4/2024     11/4/2024
     31         Citrine - PSM (programmable sample mode)            11/8/2024     11/8/2024
                removal request
     35         ASIC Engineering Requirements Specification

     38         5/3/2022 Plaintiffs' Deposition of Defendant
                Under Federal Rule Of Civil Procedure
                30(b)(6)
     39         multi-page document titled N27A Platinum
                Interference Filters - Performance Effects and
                Program Risks February 24, 2014,




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196368
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
     40         Chain email with a last date of Feb. 25, 2014,      11/8/2024     11/8/2024
                From Paul Nangeroni, To Paul Nangeroni;
                Fletcher Rothkopf; Prashanth Holenarsipur;
                Chinsan Han; Eugene Kim; Douglas Weber;
                Chris Prest; Anant Rai; Steve Hotelling; Anna-
                Katrina Shedletsky; Ehsan Farkhondeh; Brian
                Land; Trevor Ness; Chau Nguyen; Dale
                Memering; "Benjamin Lyon; Jennifer Kong;
                Akin Kestelli; DJ Novotney; Alan Chem;
                Cheng (PPO) Chen; "Dave Nazzaro, Subject
                BCM OD Issue – Brainstorm - Notes

     41         Chain email with a last date of Apr. 24, 2014,
                From Dave Nazzaro, To Shobhit Baijal, Subject
                Window Ink and PVD Coatings Investigation

     42         engineering drawing - Window, RCAM,
                ONYX, N61
     43         Withdrawn
     44         Withdrawn
     45         Chain email with a last date of Apr. 29, 2014,      11/8/2024     11/8/2024
                From Chinsan Han, To Brian Land, Benjamin
                Lyon, Emo Klaassen, Marcelo Lamego,
                Prashanth Holenarsipur, Jennifer Koing, Paul
                Nangeroni, Fletcher Rothkopf, Trevor Ness,
                Jacl Fu, Ueyn Block, Alex Lee, Dong Zheng,
                Akin Kestelli, Subject Proto2 BC Design and
                Chipset DOE Tracker

     46         multi-page document titled N27A Platinum,           11/8/2024     11/8/2024
                Proto2 BC Design and Chipset DOE Tracker
     47         Chain email with a last date of Jun 13, 2014,       11/8/2024     11/8/2024
                From Trevor Ness, To Dave Nazzaro, Matsu
                Matsuyuki, Chinsan Han, Marcelo Lamego,
                Wolf Oetting, Subject Reflection Treatment for
                Pt Sensor Invention Disclosure
     48         Invention disclosure – Attachment to Ex. 47         11/8/2024     11/8/2024
     49         multi-page document titled WATCH: A Brief           11/8/2024     11/8/2024
                History (Trevor Ness)




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196369
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
     50         Chain email with a last date of July 3, 2014,
                From Trevor Ness To Maegan Spencer, Subject
                Platinum Summary
     51         multi-page document titled Platinum Summary.
                Attachment to Ex. 50
     52         Withdrawn
     53         multi-page document titled N27 N28 Platinum
                Risk Stoplight
     54         Withdrawn
     55         List of Companies Met During N27A
                Investigations
     56         Withdrawn
     57         Withdrawn
     58         Chain Email with a last date of May 23, 2013,      11/4/2024     11/4/2024
                From Adrian Perica, To Denby Frazier, Subject
                Mike O’Reilly
     59         Chain Email with a last date of May 23, 2013,      11/4/2024     11/4/2024
                From Nark Bentley, To Denby Frazier, Subject
                Mike O’Reilly
     60         Chain Email with a last date of July 3, 2013,
                From Denby Frazier, To Adrian Perica, Subject
                Yves St. Laurent
     61         withdrawn
     62         7/12/2013 Email from Denby Frazier to              11/4/2024     11/4/2024
                Michael O'Reilly re" CEO's concern
     63         Withdrawn
     64         Email dated Oct. 3, 2013, From Denby Fraizer,      11/4/2024     11/4/2024
                To Mike O’Reilly, Subject Marcelo
     65         Withdrawn
     66         Withdrawn
     67         Withdrawn
     68         Withdrawn
     69         Withdrawn
     70         Chain Email with a last date of June 8, 2021,      11/4/2024     11/4/2024
                From Denby Sellers, To Mark Ryan, Subject
                Urgent - Masimo




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196370
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
     71
                Chain Email with a last date of May 29, 2013,
                From Peter Oppenheimer, To Denby Frazier,
                Subject Mike O’Reilly/Candidate for Bob
     72         U.S. Patent No. 8,961,185 B2
     73         U.S. Patent No. 9,522,317 B2
     74         U.S. Patent Application Publication No. US
                2017/0325744 A1
     75         U.S. Patent No. 10,702,211 B2
     76         U.S. Patent No. 11,331,016 B2
     77         PCT Publication No. WO 2021/061576 A1
     78         06/28/2022 Masimo's Notice of Deposition of
                Paul Manheimer
     79         Land Org. Plan
     80         Apple presentation, "scan27dium, What
                happens if we simply drop the right LEDs into
                an N27?"
     81         09/21/2018 Apple presentation, "Scandium
                (T393) Update" Apple Watch Sensing Deep
                Dive
     82         08/11/2017 Apple presentation, "Scandium
                Update" Health Sensing HW
     83         Apple presentation, "Platinum Chipset
                Development" Health Sensing HW
     84         11/03/2017 Apple presentation, "Scandium           11/6/2024     11/6/2024
                Risks and Schedule" Health Sensing HW
     85         Withdrawn
     86         Withdrawn
     87         Withdrawn
     88         Withdrawn
     89         09/16/2015 Apple presentation, "Scandium
                Status Update" by Brian Land, Paul
                Mannheimer, and Albert Cerussi
     90         Withdrawn
     91         Withdrawn
     92         04/16/2015 Email from Chinsan
                <chinsan@apple.com> to Erno Klaassen et al.,
                re N27 Platinum Optical ERS (v0.08): 1st
                Round Review [review by 4/17]


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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196371
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
     93         Withdrawn
     94         Withdrawn
     95         Withdrawn
     96         Withdrawn
     97         Withdrawn
     98         Withdrawn
     99         Withdrawn
    100         Withdrawn
    101         30(b)(6) Deposition Topics Designated for
                Afshad Mistri
    102         Withdrawn
    103         Withdrawn
    104         Withdrawn
    105         Withdrawn
    106         Withdrawn
    107         05/08/2013 Email from Afshad Mistri to Paul
                Jansen re Thanks for coming
    108         Withdrawn
    109         08/27/2013 Email from Todd Whitehurst to
                Eric Jue re Mayo Sleep Apnea app
    110         Withdrawn
    111         07/06/2014 Email from Afshad Mistri to John
                Halamka re Pulse oximetry
    112         07/06/2014 Email from Afshad Mistri to Mike
                O'Reilly re Masimo
    113         05/15/2015 Email from Afshad Mistri to
                Christopher Tan re SpO2
    114         Withdrawn
    115         Withdrawn
    116         Withdrawn
    117         Withdrawn
    118         Withdrawn
    119         Withdrawn
    120         Withdrawn
    121         Withdrawn
    122         Withdrawn
    123         Withdrawn
    124         08/22/2017 Email from Steven Gipstein to
                Afshad Mistri re CONFIDENTIAL


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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196372
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    125         Withdrawn
    126         Withdrawn
    127         Withdrawn
    128         Withdrawn
    129         Withdrawn
    130         Withdrawn
    131         Withdrawn
    132         Withdrawn
    133         Withdrawn
    134         Withdrawn
    135         Apple document entitled, "What you need to
                know about Apple Watch, the ECG app, and
                health features"
    136         Apple document entitled, "What you need to
                know about Apple Watch and the Blood
                Oxygen app"
    137         Asset Description: Spotlight on the Blood
                Oxygen app
    138         Chart of people and general impresssions
    139         2/11/2014 Email from Jack Fu to Marcelo
                Lamego and Mike O'Reilly re Fwd: Deck )for
                Wed 2/12 exec update (v7) [with attachment:
                20140212-LUS_update (v7).key.zip]
    140         2/27/2014 Email from Jack Fu to Marcelo                11/7/2024     11/7/2024
                Lamego re Deck for Wed 2/12 exec update (v7)

    141         2/18/2014 Email from Marcelo Lamego to Tim
                Cook re Healthcase-related research in
                Biometrics
    142         2/26/2014 Email from Marcelo Lamego to                 11/6/2024     11/6/2024
                Adrian Perica re thank you note [with
                attachment: Fitness and wellness technology
                development slides]
    143         2/26/2014 Email from Marcelo Lamego to                 11/6/2024     11/6/2024
                Steve Hotelling et al. re N27 list with potential
                improvements [with attachment: N27 List of
                Potential Improvements Key]




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196373
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    145         3/21/2014 Email from Marcelo Lamego to
                Mike O'Reilly re This is the slide describing
                what I believe is possible to implement in a
                revised N27/N127 (with high confidence) [with
                attachment: Is is possible to implement 6
                functionalities in a revised N27]
    146         3/2/2014 Email from Marcelo Lamego to Jeff
                Williams re wrist 3d model (confidential and
                proprietary) [with attachment: Screen Shot
                2014-03-02 at 10.05.20 AM]
    147         3/18/2014 Email from Alan Chern to Craig
                Lewiston et al. re N27A: Platinum
                Improvements for ProtoS and beyond [with
                attachments: Platinum DOEs email and a
                graphic]
    148         3/25/2014 Email from Daniel Culbert to
                Marcelo Lamego re Algorithm improvements
                [with attachment: Algorithm numbers]
    149         4/4/2014 Email from Navid Moghadam to
                Dong Zheng re Opal FW Engineering Build:
                Mod/Demod scan support
    150         3/19/2014 Email from Jennifer Kong to Matt
                Riedstra et al. re N27A Platinum Exec
                Update_0318_Notes [with attachment: N27A
                Platinum Exec Update 0318 Final]
    151         6/30/2014 Email from Marcelo Lamego to             11/7/2024     11/7/2024
                Steve Hotelling re Gen 1 Alg help [with
                multiple attachments]
    152         7/1/2014 Email from Marcelo Lamego to Steve
                Hotelling re Gen 1 Alg Help (Apple
                Confidential)
    153         3/17/2014 Email from Alex Kanaris to Marcelo       11/7/2024     11/6/2024
                Lamego re Modulation Radar
    154         3/20/2014 Email from Ian Shapiro to Marcelo        11/7/2024     11/6/2024
                Lamego re Proposal for OWD/AGC/saturation-
                detection coexistence withMod/Demod [with
                attachment: OpalModDemod Proposed Scan
                Plan 032014]




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                    CORRECTED JOINT   ADMITED EXHIBIT LIST
                                  ID #:196374
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    155         3/7/2014 Email from Marcelo Lamego to Louis
                Bokma re demod discussion yesterday with
                Marcelo [with attachment]
    156         3/21/2014 Email from Ian Shapiro to Dong
                Zheng re Proposal for OWD/AGC/saturation-
                detection coexistence
    157         3/13/2014 Email from Marcelo Lamego to
                Marcelo Lamego re script
    158         4/19/2014 Email from Marcelo Lamego to Ian
                Shapiro re HPF crosstalk
    159         3/7/2014 Email from radar@apple.com (Radar
                mail Notification) to Marcelo Lamego re Radar
                CC: Daily Notification
    160         3/13/2014 Email from Daniel Culbert to Alex
                Kanaris re Review Ambient Light results DCS
                and modulation
    161         3/31/2014 Email from Louis Bokma to Marcelo        11/6/2024     11/6/2024
                Lamego re Proto-2 SiP HPF design doc

    162         6/20/2014 Email from June Sananikone to Ali        11/6/2024     11/6/2024
                Motamed and Tim Johnson re Citrine ERS
                [with attachments]
    163         6/10/2014 Email from Jennifer Kong to Heidi
                Delgado et al. re N27A Platinum Exec Update
                (weekly) [with attachment: N27A Platinum
                Exec Update 0610 Final]
    164         5/27/2014 Email from Daniel Culbert to
                Marcelo Lamego re Access to gem.apple.com
    165         3/21/2014 Email from Marcelo Lamego to             11/8/2024     11/8/2024
                Steve Hotelling re Fwd: Johannes Bruinsma
                [with attachments]
    166         5/5/2014 Email from Marcelo Lamego to Mike
                O'Reilly and Mark DiVicent re Desat Lab

    167         3/17/2022 Excerpts of Trial Transcript in
                Masimo v. True Wearables
    168         1/30/2015 Email from Tim Cook to Jeff
                Williams re Fwd: N27



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196375
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    169         2/21/2018 Email from Marcelo Lamego to Jony
                Ive re FWD: Oxxiom
    170         Marcelo Lamego's 2015 W-2 and Earnings
                Summary
    171         12/6/2021 Letter from Ryan James Fletcher to
                Joshua Lerner re Notice of Withdrawal from the
                March 3, 2021 Common Interest and
                Confidentiality Agreement (with enclosures)
    172         8/5/2008 Email from Joe Kiani to Marcelo             11/5/2024     11/5/2024
                Lamego re Alisa Lesk
    173         11/26/2003 Email from Marcelo Lamego to              11/6/2024     11/6/2024
                Ammar Al-Ali re 12-15 times improvement:
                reusable sensor
    174         6/28/2007 Email from Sean Merritt to Marcelo
                Lamego re Outstanding Issues [with
                attachment: Hummingbird Phase 2 (sean)]
    175         4/30/2010 Masimo Labs presentation,
                "Workshop 1: Design by Optimization Section
                1: Introduction and Review"
    176         5/13/2014 Email from Jimmy Chung to                  11/7/2024     11/7/2024
                Prashanth Holenarsipur re consolidated
                feedback: andy gamelin
    177         7/29/2014 Email from Ueyn Block to Prashanth        11/12/2024    11/12/2024
                Holenarsipur re Marcelo stuff [with attachment]

    178         7/29/2014 Email from Ueyn Block to Amanda
                Simon re Pulse Ox from Marcelo
    179         7/30/2014 Email from Ueyn Block to Nick
                Allec re masimo sensor
    180         8/14/2014 Email from Nick Allec to Ueyn
                Block re Quick update - Masimo sensor [with
                attachments]
    181         3/16/2015 Apple Citrine ASIC Engineering             11/7/2024     11/7/2024
                Requirements Specification, Rev. 2.5
    182         ASIC Engineering Requirements Specification          11/7/2024     11/7/2024


    183         ASIC Engineering Requirements Specification          11/7/2024     11/7/2024


    184         Scoping: Change LED Drive, ID: 16250177              11/7/2024     11/7/2024


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196376
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    185         5/6/2014 Email from Dong Zheng to Brian              11/6/2024     11/6/2024
                Land re N127 Platinum proposal [with
                attahcment]
    186         ASIC Engineering Requirements Specification          11/6/2024     11/6/2024


    187         5/8/2014 Email from Dong Zheng to Steve
                Waydo re Dynamic gain adjustment
    188         3/15/2014 Email from Ueyn Block to Steve
                Waydo re LED brightness modulation study
                (Marcelo's modulation schemeevaluated)
    189         1/11/2016 Email from Tao Shui to Nima
                Ferdosi re MDM vs DCS user study protocol
                design
    190         12/5/2019 Email from Ueyn Block to Nick
                Allec re Osmium investigations 12/5/19
    191         Withdrawn
    192         8/11/2015 Email from Ueyn Block to Guocheng
                Shao re crosstalk test for Simple Glass BC with
                ink apertures
    193         Withdrawn
    194         8/14/2015 Email from Guocheng to Kathy Tong         11/12/2024    11/12/2024
                re Platinum Sensor Spec [with attachments]

    195         2/11/2016 Email from Stephen Waydo to JR
                Sudre re Platinum Roadmap walkthrough - 2-10-
                16 [with attachment: 2016-02-11-
                platinum_algs_roadmap_v3.key]
    196         Withdrawn
    197         Withdrawn
    198         Withdrawn
    199         Withdrawn
    200         Withdrawn
    201         11/8/2014 Email from Ueyn Block to Guocheng
                Shao re Signal level study result
    202         4/29/2022 Apple's Second Supplemental
                Objections and Responses to Plaintiffs' Fifth
                Set of Interrogatories (Nos. 20-21)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196377
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    203         3/26/2015 Apple's N27A Platinum Optical ERS
                (Engineering Requirements Specification), Rev.
                0.08
    204         Withdrawn
    205         Withdrawn
    206         Technical Presentation
    207         Withdrawn
    208         11/10/2021 Apple presentation, "N187/N188 |
                Visual BOM: Back Crystal Module"
    209         Withdrawn
    210         5/14/2018 Apple presentation, "N144/N146 |
                Visual BOM: DVT", Rev. 1
    211         Withdrawn
    212         Withdrawn
    220         Brian Land Deposition Topics 6, 7, 19, 58, and
                75
    221         Withdrawn
    222         Withdrawn
    223         ASIC Engineering Requirements Specification

    224         Withdrawn
    225         Platinum Hardware Requirement Specification
                <rdar://problem?50788073>
    226         2/7/2013 Email from Debbie Lambert to Bran
                Land et al. re Rover | Meeting Pushed to Next
                Week [with attachments]
    227         Withdrawn
    228         Withdrawn
    229         01/26/2014 Apple Kona ASIC, Full Chip
                Engineering Requirement Specification, Rev.
                1.1
    230         2/4/2014 Email from Ueyn Block to Marcelo
                Lamego re Fwd: Triple Ring_Notes from Kate
                + Final Report [with attachment:
                APP01_Simulation Results_010814.pdf]




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196378
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    231         2/17/2014 Email from Brian Land to Daniel
                Culbert, Ueyn Block, Marcelo Lamego,
                Chinsan Han, and Steve Waydo re Triple Ring
                Model Validation Project Outline [with
                attachment: Model Validation Project Outline
                2014-02-17.key.zip]
    232         2/18/2014 Email from Marcelo Lamego to
                Brian Land re Triple Ring Model Validation
                Project Outline
    233         5/23/2018 Apple N27A Platinum: Tracking List       11/4/2024     11/4/2024
                of recommended improvements
    234         3/10/2014 Email from Dong Zheng to Marcelo
                Lamego re amethyst asic
    235         5/30/2014 Email from Chinsan Han to Brian
                Land re Fwd: slides [with attachment]
    237         10/17/2019 Email from Joe Schmitt to Albert
                Cerussi re non invasive HB measurement [with
                attachment: Orsense_accuracy_ALM 2013; 33-
                261.pdf]
    238         1/13/2021 Email from Brian Land to Tao Shui
                re Slide prepared for CSM continued support
                for MDM code
    239         Email re ASIC Engineering Requirements
                Specification
    240         8/29/2014 Email from Erno Klaassen to
                Rommel Rodriguez and Olivia Le re
                Consolidated JD's [with attachments]
    241         Screen capture: WWDC 2020 Conference,
                https://developer.apple.com/videos/play/wwdc2
                020/101/
    242         Presentation, "Apple Health"
    243         11/9/2016 Email from Mike Oreilly to Brian
                Land re Slides
    244         Email re ASIC Engineering Requirements
                Specification
    245         Withdrawn
    246         4/26/2019 Email from Andrea Huisamen to
                Eugene Kim re Consumer blood O2 reader



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196379
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
    247         Apple Supplemental Rule 30(b)(6)
                Designations
    248         Chain email with a lst date of Dec. 14, 2021
                From athas@apple.com, To Eugene Kim, RE
                BoD Slides, with attachment, Core
                Technologies - 5 yeaar Roadmap - Noveebr
                2021.key
    249         Chain email with a last date of March 11, 2022
                From Eugene Kim To Sumbul Desai, RE Fast
                Company - Rockley Phoronics is developing a
                wearable totrack blood sugar
    250         ASIC Engineering Requirements Specification

    251         Chain email with a last date of Aug. 24, 2021
                From JR Subre, To Eugene Kim, Niley Jam,
                Tim [SPG] Johnson, Tao Shui, Steve Hotelling,
                Martin Grunthaner, RE Health Sensing Gen4
                Chipset Timeline Comeback - 8/18/21 -
                Request toapprove justification with CMS,
                Attachments,
                CMS_Gen4_Chipset_Justification_Aug
                Approval; Health Sensing Gen4 Chipset
                Timeline - 8-18-21

    252         Withdrawn
    253         Chain email with a last date of Mar. 22, 2021
                From June Sananikone, To Stan Ng, Eugene
                Kim, Bill Athas, Jeremy Warshauer, Eric Jue,
                Hope Giles, Dave Simon, Tom Greening, RE
                Fwd: Ethanol sensing interest?
    254         Chain email with a last date of July 27, 2018
                From Eugene Kim, To Shonn Hendee, RE
                OK2Offer for Ottavia Golfetto
    255         Chain email with a last date of May 11, 2018        11/4/2024     11/4/2024
                From Neil Martinez, To Joseph Schmitt, Erno
                Klaassen, RE OK2offer for Corneliu Raths




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196380
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    256         Chain email with a last date of March 24, 2021,
                From Alex (HT) Chan, To Kornelius Raths,
                Lifeng Miao, Raghed El Bardan, RE Updated
                deck post [Preflight: Apnea and Sleep Stages]
                for 3/23Review
    257         Chain email with a lst date of Nov. 28, 2018,
                From Tim Cook, To Sumbul Desai, RE Apple
                Heart Study Methods Paper Coverage
    258         Withdrawn
    259                                                              11/8/2024     11/8/2024

                2/12/2013 Email from Adrian Perica to James
                Foster re Can we get together tomorrow to
                discuss targets? [with attachment: Rover
                Discussion 2013.02.08.key]
    260         5/30/2013 Email from Steve Hotelling to Heidi        11/8/2024     11/8/2024
                Delgado re Fwd: Key Technologies tracking
                [with attachment: Rover_0227.key]
    261         Withdrawn
    262         5/6/2013 Email from Adrian Perica to Robert
                Mansfield re Masimo - PRIVILEGED AND
                CONFIDENTIAL
    263         12/22/21 Apple presentation, "Project Everest",
                last revised October 16, 2013                        11/8/2024     11/8/2024
    264         10/16/2013 Email from Steve Hotelling to             11/8/2024     11/8/2024
                Denby Frzier, David Tom, and Robin Goldstein
                re Marcelo/Confirming next steps
    265         12/4/2013 Email from Jeff Williams to Lynn           11/8/2024     11/8/2024
                Youngs re Marcelo Lamego hiring
                recommendation
    266         5/23/2018 Apple N27A Platinum: Tracking List
                of recommended improvements
    267         Matlab Function by Marcelo Lamego and Steve
                Hotelling's team, Version 1.0
    268         Slides re N27A List of Improvements
    269         3/3/2014 Apple presentation, " N27/N127
                improvement suggestions Part 1"
    270         4/17/2014 Email from Johny Srouji to Steve           11/8/2024     11/8/2024
                Hotelling re Platinum
    272         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196381
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    273         3/17/2014 Email from Steve Hotelling to                11/6/2024     11/6/2024
                Marcelo Lamego re Fwd: Radar CC: Daily
                Notification [with attachment]
    274         3/19/2014 Apple presentation, " N27A |                 11/7/2024     11/7/2024
                Platinum Modulation/Demodulation Mode -
                Requirements to Accommodate AGC, OWD
                and Saturation Monitoring in Opal"
    275         Land Org. Plan for Health Sensing HW
    276         Apple’s Third Supplemental Rule 30(b)(6)
                Designations
    278         Excel spreadsheet - Apple Watch Sales                  11/7/2024     11/7/2024
    279         Excel spreadsheet - iPhone and Apple Watch             11/7/2024     11/7/2024
                Sales
    280         Withdrawn
    281         12/17/2021 Product Cost Details for Apple
                Watch, N187s
    282         3/25/2022 Product Cost Details for Apple
                Watch, N187s, 2022'FQ2
    283         Excel Spreadsheet - Apple Inc. Line of                 11/7/2024     11/7/2024
                Business Report - Watch
    284         3/2/2021 Common Interest and Confidentiality
                Agreement between Apple Inc., True
                Wearables, Inc., and Marcelo Lamego

    285         Withdrawn
    286         Withdrawn
    287         Withdrawn
    288         Photo of a pirate flag flying in front of Apple's
                campus in Cupertino
    289         Photo of Apple personnel in front of pirate flag

    290         Screenshot from developer.apple.com website

    291         4/21/2021 Transcript of Senate Judiciary
                Committee, Competition Policy, Antitrust, and
                Consumer Rights Subcommittee Hearing
    292         Withdrawn




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196382
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    293         10/2/2013 Email from Tim Cook to Jeff              11/6/2024     11/6/2024
                Williams and Joel Podolny re Fwd: The three
                equations
    294         11/23/2013 Email from Jeff Williams to Lynn
                Youngs re Marcelo
    295         12/6/2013 Email from Jeff Williams to Denby        11/4/2024     11/4/2024
                Frazier re Marcelo Lamego hiring
                recommendation
    296         3/2/2014 Email from Marcelo Lamego to Jeff
                Williams re wrist 3d model (confidential and
                proprietary)
    297         3/27/2014 Email from Jeff Williams to Mike         11/7/2024     11/7/2024
                O'Reilly re Fwd: N27 Possibilities [with
                attachment: N27 revised.key.zip]
    298         7/1/2014 Email from Jeff Williams to Tim
                Cook re Gen 1 Alg help (Apple Confidential)
    299         3/4/2014 Email from Jeff Williams to Stephen
                Zadesky re Basis Engineers
    300         7/19/2014 Email from Tim Cook to Jeff
                Williams and Adrian Perica re Fwd: FT:
                Technology: Wear your medicine
    301         3/17/2015 Email from Denby Frazier to Mark
                Bentley re VP Medical/Jeff Wililams Hire
    302         Withdrawn
    303         1/30/2015 Email from Jeff Williams to Tim
                Cook re Fwd: N27
    304         4/16/2016 Email from Jeff Williams to Erno
                Klaassen, Eugene Kim, and Steve Hotelling re
                Fwd: Reaching out
    305         3/3/2018 Email from Jeff Williams to Stan Ng,
                Greg Joswiak, and Jay Blahnik re Fwd:
                FutureSource's Q4 Wearable Technology
                Market Update [with attachments]
    306         Withdrawn
    307         Wyatt, K., et al., "Clinical evaluation and        11/5/2024     11/5/2024
                diagnostic yield following evaulation of
                abnormal pulse detected using Apple Watch",
                Journal of the American Medical Informatics
                Association, 27(9):1359-1363 (2020)


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196383
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                         Date           Date
                                                                   Identified     Admitted
    308         5/24/2017 Email from Ron Huang to jay
                Blahnik re CNBC Fitness trackers are terrible at
                counting calories, says Stanford study
    309         Withdrawn
    310         Withdrawn
    311         8/6/2020 Email from Sara Tavakoli to David
                Fang re Scandium Analytics [with attachment:
                ScandiumAnalytics_08_03_2020.pdf]
    312         1/22/2021 Email from Steve Waydo to Richa
                Gujarati re Customer feedback on Scandium?
    313         3/17/2021 Email from Elizabeth Encisco to
                Sumbul Ahmad Desai et al. re Core Leadership
                Followups [with attachment:
                AzulHunter_December_Quarterly_Report_Fina
                l.pdf]
    314         Article, "The Apple Watch's blood oxygen
                sensor is less accurate thatn you think",
                https://www.inputmag.com/tech/the-apple-
                watchs-blood-oxygen-sensor-is-less-accurate-
                than-you-think
    315         1/22/2013 Email from David Affourtit to James
                Foster re Marcelo Lamego
    316         7/3/2013 Email from Adrian Perica to Tim              11/8/2024     11/8/2024
                Cook re M&A
    317         9/11/2013 Email from Adrian Perica to Steve           11/8/2024     11/8/2024
                Hotelling and Debbie Lambert re Rover | 8/28
                [redacted]
    318         Withdrawn
    319         Withdrawn
    320         9/18/2013 Email from Valentina Marzorati to           11/4/2024     11/4/2024
                David Tom, Myra Haggerty, and Steve
                Hotelling re Project Everest [with attachment]

    321         9/18/2013 Email from David Tom to Steve
                Hotelling re Project Everest
    322         ITC Ex. 124 (Waydo), Email from Steve
                Waydo to Jack Fu re Org Thoughts, 7/25/2019




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196384
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    323         ITC Ex. 125 (Waydo), Email from Ian Shapiro
                to Stephen Waydo re Masimo Papers,
                8/20/2013
    324         ITC Ex. 126 (Waydo), Email from Stephen
                Waydo to Rudolph van der Merwe, et al. re
                Papers of Interest, 6/12/2014
    325         ITC Ex. 127 (Waydo), Email from Steve Way
                do To Jack Fu re Order Pulse Oximeter,
                5/17/2020
    326         ITC Ex. 58 (Venugopal), Apple Engineering
                Drawing
    327         ITC Ex. 59 (Venugopal), Apple Engineering
                Drawing
    328         ITC Ex. 72 (Venugopal), Apple Presentation,
                Visual Bill of Materials, 9/22/2020
    329         ITC Ex. 73 (Venugopal), Apple Visual Bill of
                Materials, 11/10/2021
    330         Final Judgment and Permanent Injunction, Dkt.
                605, Masimo Corp. v. True Wearables, Inc.,
                No. 8:18-cv-02002-JVS-JDE
    331         Withdrawn
    332         7/12/2013 Email from Adrian Perica to Robert       11/4/2024     11/4/2024
                Mansfield and Joel Podolny re Joe Kiani -
                Masimo CEO
    333         Withdrawn
    334         Withdrawn
    335         9/13/2013 Email from Robert Mansfield to Jeff      11/4/2024     11/4/2024
                Dauber, Lynn Youngs, and Stephen Zadesky re
                Fwd: Sensor Slides
    336         Presentation, N27A_Sensors_0912.key                11/4/2024     11/4/2024
                [attachment to Ex. 335 email]
    337         9/13/2013 Email from Robert Mansfield to Jony      11/4/2024     11/4/2024
                Ive re Fwd: Sensor Slides
    338         Findings of Fact and Conclusions of Law,
                Redacted, Dkt. 600, Masimo Corp. v. True
                Wearables, Inc., No. 8:18-cv-02002-JVS-JDE




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196385
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    339         ITC Ex. 248 (Caldbeck), Email from Paul
                Mannheimer to Jerry Huang, et al, re Apple
                Projects, 11/9/2021
    340         ITC Ex. 252 (Caldbeck), Apple Watch Series 6
                Webpages
    341         MX-1 board photo                                     11/5/2024     11/5/2024
    342         MX-3 board photo
    343         Image of Sensor                                      11/5/2024     11/5/2024
    344         4/10/2014 Email From Adrian Perica to Jeff           11/8/2024     11/8/2024
                Williams, CC O'Reilly, re WWDC Question
    345         1/22/2013 Email from James Foster to Adrian
                Perica re Lamego, with attachment
    346         Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh
                Expert Report Regarding Invalidity
                (Unredacted Version of Ex. 1211)
    347         Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh
                Supplemental Expert Report Regarding
                Invalidity
    348         PBS.com, The Television Program Transcripts:
                Part III, Ex. G to Masimo's Opposition to Apple
                MIL #3
    349         Apple WW Sales Selected Apple Watch                  11/7/2024     11/7/2024
                Models FY22P10-FY23P03
    350         Apple's Fourth Supplemental Rule 30(b)(6)
                Designations
    351         1/2020 Presentation, "Alder: Ambient Light
                Mitigation (update)", HealthSensing HW, By
                Vivek Pant
    352         4/19/2019 Email from Aditya Dua to Ueyn
                Block re Osmium/WOOD ERS [with
                attachment:
                Osmium_Algorithm_flowgraph.pdf]
    353         5/20/2021 Apple presentation, "Health Sensing:       11/8/2024     11/8/2024
                Gen 4 Architecture Update"
   353C         5/20/2021 Apple presentation, "Health Sensing:       11/6/2024     11/6/2024
                Gen 4 Architecture Update" [Color]
    354         Apple presentation, "Brian Land Org", Health
                HW
    355         Technical Presentation


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196386
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    356         5/20/2016 Email from Stephen Waydo to Jay
                Blahnik re Apple Watch recording on a bottle
                of red wine :(
    357         9/30/2013 Email from Ehsan Maani to Chinsan
                re PIS Multi-Wavelength: Theory Refinement,
                and Experimental Control
    358         8/6/2020 Email from Sara Tavakoli to David         11/8/2024     11/8/2024
                Fang re Scandium Analytics [with attachment:
                ScandiumAnalytics_08_03_2020.pdf]
    359         3/17/2021 Email from Elizabeth Enciso to
                Sumbul Ahmad Desai et al. re Core Leadership
                Followups [with attachment:
                AzulHunter_December_Quaterly_Report_Final
                .pdf]
    360         1/22/2021 Email firom Steve Waydo to Richa
                Gujarati re Customer feedback on Scandium?
    361         Withdrawn
    362         8/26/2016 Email from Mike O'Reilly to Annil
                Sethi re this may or may not be helpful [with
                attahcment: Aesclepius V2 key]
    363         10/17/2014 Email from Tao Shui to Dong
                Zheng re [Citrine] Tx driver scheme settled
    364         11/14/2019 Apple presentation, "Scandium |
                POC review"
    365         Apple's Fourth Supplemental Rule 30(b)(6)
                Designations
    366         9/15/2021 Email from Fang Ren to pepper-data-
                reports re Pepper data report: 9/5/21 [with
                attachment: PepperDataReport_2021-09-
                05.pdf]
    367         Apple presentation, "Apple Watch Buyer FY21-
                Q1 Report"
   367C         Apple presentation, "Apple Watch Buyer FY21-       11/7/2024     11/7/2024
                Q1 Report" [color]
    368         2020 Apple presentation, "Apple Watch Series
                6 and Apple Watch SE"
    369         Withdrawn
    370         Withdrawn



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196387
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    371         10/21/2019 Email from Diego Jimenez to Stan
                Ng et al. re Apple Watch FY19-Q4 Buyer
                Report [with multiple attachments]
    372         9/2/2016 Email from Ted Butz to Stan Ng re
                Watch 5 Year Plan
    373         Withdrawn
    374         10/15/2018 Email from Deidre Caldbeck to
                Vanessa Bass re List of companies
    375         Withdrawn
    376         Withdrawn
    377         9/14/2020 Email from Mike O'Reilly to Richa
                Gujarati re Scandium
    378         10/29/2020 Email from Elise Macdonald to         11/12/2024    11/12/2024
                Stan Ng et al. re Apple Watch Series 6/SE
                Online Anthropology Deck [with attachment:
                Apple Watch 6 SE Online
                Anthropology_Oct2020.key]
    379         12/16/2020 Email from Eric Jue to Stan Ng re
                Marketing staff this Thursday at 10
    390         2/5/2013 Email from Michael D. Hillman to         11/8/2024     11/8/2024
                Steve Smith re Reach Out to Pulse Ox
                Companies
    391         Withdrawn
    392         4/26/2013 Email from Adrian Perica to Denby       11/8/2024     11/8/2024
                Frazier re Let's hire Mike O'Reilly
    393         5/14/2013 Email from James Foster to Adrian       11/8/2024     11/8/2024
                Perica re Masimo - PRIVILEGED AND
                CONFIDENTIAL
    394         5/16/2013 Email from Adrian Perica to Robert      11/8/2024     11/8/2024
                Mansfield re Masimo
    395         6/27/2013 Email from Adrian Perica to Peter       11/8/2024     11/8/2024
                Oppenheimer re Masimo Sensitivity
    396         Withdrawn
    397         1/20/2019 Email from Adrian Perica to Jeff        11/8/2024     11/8/2024
                Williams re Fwd: Centerview // Follow-Up
                [with attachment: 2019.01 Masimo
                Materials_vSent.pdf]




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196388
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    398         2/18/2013 Email from Shonn Hendee to Adrian
                Perica re A Patch that Monitors the Body

    399         Withdrawn
    400         8/20/2013 Email from Bud Tribble to James           11/8/2024     11/8/2024
                Foster re Observation
    401         12/3/2014 Email from Mike O'Reilly to Adrian
                Perica re Elfi-Tech ltd
    402         3/25/2015 Email from Adrian Perica to Marcelo
                Lamego re Thank you
    403         2/23/2018 Email from Marcelo Lamego to
                Adrian Perica and Stan Ng re Oxxiom
    404         12/7/2018 Email from Marcelo Lamego to
                Adrian Perica re Oxxiom in the Apple Store on-
                line?
    405         11/14/2019 Email from Eugene Kim to Adrian
                Perica, Steve Hotelling, and Brian Land re
                Watch With SpO2 Functionality [with
                attachment: QuickStart5.jpeg]
    406         12/21/2017 Email from Raynell Verlinden to
                Adrian Perica re Fwd: Staff Keynote 12/21
                (Flash 1) [with attachments: FQ1'18 Flash 1 on
                12:12:17.key; Q1'18 Actuals Flash to Dec Fcst
                Consolidated.xlsx (slipsheet)]
    407         Excel spreadsheet (Q1'18 Actuals Flash to Dec
                Fcst Consolidated.xlsx) [native copy of
                attachment to Ex. 406 email]
    408         8/23/2016 iMessage Chat between Adrian
                Perica and Gene Levoff re Mike
    409         2/19/2015 Email from Adrian Perica to Sean
                Mayo re 2016 Active Band Concepts
    410         5/7/2013 Email from Adrian Perica to Debbie
                Lambert re Rover Mtg Wed
    411         3/14/2014 Email from Alex Kanaris to Stephen        11/4/2024     11/4/2024
                Waydo re LED brightness modulation study
                (Marcelo's modulation schemeevaluated)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196389
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    412         3/16/2014 Email from Marcelo Lamego to Alex       11/4/2024     11/4/2024
                Kanaris re Modulation Radar [no attachment]

    413         The wort-case leakage for the dark-channel
                subtraction method is greater than ~40dB
                [attachment to Ex. 412 email]
    415         3/10/2014 Apple presentation, "Quantitative       11/4/2024     11/4/2024
                Comparison of Performance of Ambient Light
                Intrusion Suppression Methods", by Alexander
                Kanaris, Rev. 3.2, 3/18/2014
    416         2/20/2014 Email from Daniel Culbert to Alex       11/4/2024     11/4/2024
                Kanaris re Fwd; Deck for Wed 2/12 exec
                update (v7)
    417         3/17/2014 Email from Marcelo Lamego to Alex
                Kanaris re Modulation Radar
    418         3/7/2014 Email from Daniel Culbert to Alex
                Kanaris re Fwd: demod discussion yesterday
                with Marcelo
    419         4-LED modulation with 50 and 60 Hz network
                rejection [attachment to Ex. 418 email]

    420         2/21/2014 Meeting Invite from Daniel Culbert
                re Chat with Marcelo - modulation
    421         Apple's Fifth Supplemental Rule 30(b)(6)
                Designations
    422         10/22/2012 Email from Bob Messerschmidt to        11/4/2024     11/4/2024
                Chinsan Han re Platinum reference sensors
    423         11/28/2012 Email from Paul Puskarich to Jay       11/4/2024     11/4/2024
                Couch re Drive/Monitor Unit for Masimo
                Sensors [with image attachment]
    424         12/18/2012 Email from Chinsan Han to Amy
                Porter re N38 Purchase Request: Pulse
                Oximeter, Cable, and Thermometers




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196390
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    425                                                             11/4/2024     11/4/2024
                1/20/2013 Email from Chinsan Han to Brian
                Land and Jennifer Kong re N38 Sensing
                Weekly Exec Update [with attachments:
                Platinum User Study Summaries 2013-1-
                18.key; 20130118_N38 Platinum Motion-
                Artifact FFT Analysis.key; 2013.01.16 N38 3rd
                Party Hardware Benchmarking.key]
    426         2/16/2013 Email from Chinsan Han to Jennifer        11/4/2024     11/4/2024
                Kong re N38 Platinum and ALS Sensing
                Update [with attachments: 2013.02.14 N38 3rd
                Party Hardware Relative Performance
                Evaluation; 2013.02.12 N38 3rd Party
                Hardware Benchmarking.key]
    427                                                             11/4/2024     11/4/2024
                5/7/2013 Email from Chinsan Han to Brian
                Land re Masimo Rainbow ReSposable probes
    428                                                             11/4/2024     11/4/2024
                Email thread between Prashanth Holenarsipur,
                Akin Kestelli, Chinsan Han, and Ehsan Maani
                Re: Platinum Motion Metrics
    429         1/14/2013 Email from Chinsan Han to Akin            11/4/2024     11/4/2024
                Kestelli re status Update (Chinsan Han, 2013-
                01-11) [with attachment: 2013.01.11 Status
                Update (Chinsan Han).key]
    430         8/15/2013 Eamil from Chinsan han to Ueyn
                Block re P1s validation/Signal Performance
                Study
    431         2/4/2012 Apple Presentation, "N38 Platinum          11/4/2024     11/4/2024
                "Best in Class" Architecture proposal" by Shau
                Cuan and Brian Land
    432         Withdrawn
    433         2/5/2015 Email from Tobias Harrison-Noonan
                to Samuel (PD) Weiss re N127 Platinum
                Kickoff [with attachment]
    434         Engineering Requirements Specification              11/6/2024     11/6/2024
    435         5/15/2015 N27A Platinum Optical ERS,
                (Engineering Requirements Specification),
                Apple Sensing Hardware, Rev.09
    436         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196391
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    437         Withdrawn
    438         Technical Presentation
    439         Technical Presentation
    440         3/26/2015 N27A Platinum Optical ERS,
                (Engineering Requirements Specification)
                Apple Sensing Hardware, Rev. 0.08
    441         Withdrawn
    442         Withdrawn
    443         Withdrawn
    444         Withdrawn
    446         2/27/2016 Email from Divya Nag to Myoung
                Cha re Why healthcare needs a Steve Jobs-like
                disruptor [with attachment: 11/21/14 Fast
                Company Article, "Apple's 'Pirates of Silicon
                Valley' Flag Gets Rehoisted"
    447         5/26/2017 Email from Divya Nag to Brett
                Lareau re Informal design chat with Brett L.
                [with attachment: Printout of Canvas Pirate
                Flag (Hand Painted) by Susan Kare]
    448         4/24/2018 Email from Divya Nag to "pirate-
                cove" <pirate-cove@group.apple.com> re Fwd:
                Admin Professionals Day tomorrow
    449         Apple's Sixth Supplemental Rule 30(b)(6)
                Designations
    450         11/28/2016 Mack, H., "Scoop: Emails show
                FDA asked Apple to advise on Software as a
                Medical Device", MobiHealth News
    451         Withdrawn
    452         Withdrawn
    453         Withdrawn
    454         Withdrawn
    455         Withdrawn
    456         Withdrawn
    457         Withdrawn
    458         Withdrawn
    459         Withdrawn
    460         12/10/2019 Email from Denise Hackett to
                Divya re Random confidential question…
    461         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196392
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    462         Withdrawn
    463         Withdrawn
    464         4/11/2022 Plaintiffs' Section 2019.210
                Statement
    470         Withdrawn
    471         Withdrawn
    472         Withdrawn
    473         Withdrawn
    474         8/3/2020 Email from David Amor to Todd
                Courtney re Apple <> FDA Q200951 Follow-
                up: Blood Oxygen SaMD Feature
    475         3/10/2020 Apple Presentation, "Scandium
                Program Update"
    476         Withdrawn
    477         Withdrawn
    478
                5/20/2021 Email from Mindy Harrington to
                Zahrah Zawahir et al. re 5/18 Ion notes Internal
                Health Staff: Scandium 2.0 Update [with
                attachment: Ion Health Staff update
                18May2021 copy.pdf]
    479         8/6/2021 Apple Inc. IRNF 2.0 - Traditional
                510(k)
    480         9/24/2019 Redline of Scandium 2021 Feature -
                Preliminary Regulatory Assessment
    481         1/15/2020 Email from Jerry Huang to Ravi
                Katagadda re Notes: Scandium | Design + Eng
                (1/14/20) [with attachment: FDA Pulse
                Oximeter Product Codes.pdf]
    482         10/1/2020 Apple Q202066 Meeting Minutes for
                Informal Meeting on Pulse Oximetry
    483         Withdrawn
    484         Withdrawn
    485         Withdrawn
    486         Withdrawn
    487         Withdrawn
    488         Withdrawn
    489         Withdrawn
    490         Withdrawn
    491         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196393
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    492         Withdrawn
    493         Withdrawn
    494         Withdrawn
    495         Withdrawn
    496         Withdrawn
    497         Withdrawn
    498         Withdrawn
    499         Withdrawn
    500         Withdrawn
    501         Withdrawn
    502         Withdrawn
    503         Withdrawn
    504         Withdrawn
    505         Withdrawn
    506         Withdrawn
    507         Withdrawn
    508         Withdrawn
    509         Withdrawn
    510         Withdrawn
    511         7/12/2013 Email from Denby Frazier to             11/4/2024     11/4/2024
                Michael O'Reilly re CEO's concern
    512         10/7/2013 Email from Mike O'Reilly to Denby       11/4/2024     11/4/2024
                Frazier re: Marcelo Lamego
    513                                                           11/4/2024     11/4/2024
                12/1/2017 Email from Anne Shelchuk to Shaun
                Phillips re: Following Up - Apple Health
    514         7/30/2018 Email from Cristiano Dalvi to Mike      11/4/2024     11/4/2024
                O'Reilly re: My Resume
    515         9/25/2014 Email from Stephen Waydo to Mike        11/4/2024     11/4/2024
                O'Reilly re: do you know Philip Perea?
    516         7/21/2015 Email from Mike O'Reilly to Sharon      11/4/2024     11/4/2024
                Omara re: Jon Coleman
    517         Withdrawn
    518         8/29/2013 Email from Mike O'Reilly to Adrian      11/4/2024     11/4/2024
                Perica re: importance of PPG
    519         8/30/2015 Email from Mike O'Reilly to
                Myoung Cha re: calendar hold for 9/23
    520         2/12/2014 Email from Mike O'Reilly to Sorin
                Dusan re: Platinum res.


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196394
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    521         2/14/2014 Email from Mike O'Reilly to
                Michael Hillman re: Marcelo Lamego
    522         Withdrawn
    523         Withdrawn
    524         11/30/2015 Email from Ron Huang to Mike
                O'Reilly re: CES 2016 and Philips Wearable
                Sensing Technologies (WeST)
    525         Withdrawn
    526         2/4/2016 Email from Mike O'Reilly to Bakul
                Patel re: IMDRF clinical evaluation for
                software
    527         Withdrawn
    528         Withdrawn
    529         Withdrawn
    530         Withdrawn
    531         Withdrawn
    532         Personal information notice dated 7/22/13 of
                Michael O''Reilly
    533         Withdrawn
    534         Withdrawn
    535         Withdrawn
    536         5/9/2019 Email from Dong Zheng to Michael
                Eaton re: Sherlock X1767 core weekly sync
    537         Email re ASIC Engineering Requirements
                Specification
    538         ASIC Engineering Requirements Specification

    539         7/2/2019 Email from Yuta Kuboyama to Dong
                Zheng re: John Z Roadmap Update for Optical
                Sensing: Coating/Filter needsfor Audio Acc
                Prox
    540         Email re ASIC Engineering Requirements
                Specification
    541         10/17/2014 Email from Tao Shui to Dong               11/6/2024     11/6/2024
                Zheng re Re: [Citrine] Tx driver scheme settled

    542         ASIC Engineering Requirements Specification          11/4/2024     11/4/2024




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196395
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    543         ASIC Engineering Requirements Specification

    544         4/29/2014 Citrine-1 ASIC Specifications and
                Requirements
    545         Email re ASIC Engineering Requirements
                Specification
    546         Email re ASIC Engineering Requirements
                Specification
    547         Email re ASIC Engineering Requirements
                Specification
    548         Email re ASIC Engineering Requirements
                Specification
    549         Email re ASIC Engineering Requirements
                Specification
    550         Email re ASIC Engineering Requirements
                Specification
    551         Withdrawn
    552         N127A Jasper/Citrine Platinum ASICS
    553         2/05/2021 Excerpts of Fourth Amended
                Complaint for Patent Infringement, Trade
                Secret Misappropriation, Correction of
                Inventorship, and Ownership of Patents
                [redacted]
    554         10/06/2022 Expert Report of Marco Perez
    555         11/17/2022 Rebuttal Expert Report of Marco
                Perez
    556         12/14/2012 Email from Tim Cook to Adrian          11/4/2024     11/4/2024
                Perica re 10/2012 Draft Apple Rover
                Disscussion Materials
    557         Withdrawn
    558         12/20/2012 Email from Michael Hillman to          11/8/2024     11/8/2024
                James Foster re Amazon Links for Masimo
                Release of iPhone/iPad Pulse Oximeter
    559         3/22/2013 Email from Adrian Perica to Paul        11/5/2024     11/5/2024
                Jansen re NDA
    560         6/6/2013 Email from Denby Frazier to Michael
                OReilly re Meeting with Apple Tim Cook and
                Art Levnison
    561         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196396
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    562         Withdrawn
    563         Withdrawn
    564         Withdrawn
    565         7/12/2013 Email from Denby Frazier to
                Michael OReilly re Joe Kiana Masimo CEO's
                has Concern
    566         10/8/2013 Email from Steve Hotelling to Mike       11/6/2024     11/6/2024
                OReilly re Marcelo Lamengo Masimo
                Candidate for Apple
    567         Withdrawn
    568         Withdrawn
    569         Withdrawn
    570         9/21/2020 Email from Tim Cook to Jeff
                Williams re Thank You Note to Apple for
                Latest Apple Watch Feature
    571         How to Use the Blood Oxygen App on Apple
                Watch
    605         10/8/2013 Email from Steve Hotelling to David
                Tom, Denby Frazier, James Foster, Adrian           11/8/2024     11/8/2024
                Perica et al. re Re: Marcelo Lamego
    607         12/20/2013 Offer letter from Denby Sellers to
                Marcelo Lamego
    608         12/20/2013 Offer letter from Denby Sellers to
                Marcelo Lamego
    610         7/1/2014 Email from Marcelo Lamego to Steve        11/4/2024     11/4/2024
                Hotelling, Dan Riccio, Lynn Youngs, Jeff
                Williams, Tim Cook re Re: Gen 1 Alg help
                (Apple Confidential)
    613         1/3/2014 Signed IP agreement by Marcelo
                Lamego
    614         6/30/2014 Email from Marcelo Lamego to             11/4/2024     11/4/2024
                Steve Hotelling, Tim Cook, Dan Riccio, Lynn
                Youngs, Jeff Williams re Re: Gen 1 Alg help
    616         7/1/2014 Email from Steve Hotelling to
                Marcelo Lamego, Dan Riccio, Lynn Youngs,
                Jeff Williams re Re: Gen 1 Alg help
    619         7/8/2014 Email from Donna Cerny to Marcelo
                Lamego, Donna Cerny re Separation
                Agreement


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196397
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    620         1/22/2013 Email from David Affourtit to James
                Foster, re Marcelo Lamego
    625         1/9/2014 Email from Marcelo Lamego to Steve
                Hotelling, re Re: Welcome!
    628         12/4/2013 Email from Lynn Youngs to Denby            11/4/2024     11/4/2024
                Frazier, Steve Hotelling, Annie Classick re Re:
                Marcelo/Propsed Offer
    631         1/9/2014 Email from Denby Frazier to Steve
                Hotelling, re Marcelo/Resigned Today
    632         1/9/2014 Email from Kiani to Lamego re
                Resignation
    636         10/2/2013 Email from Mike OReilly to Denby           11/4/2024     11/4/2024
                Frazier, re Re: Marcelo Lamego
    637         1/9/2014 Email from Denby Sellers to Marcelo
                Lamego re Re: HireRight Notification:
                Completed background report for Marcelo
                Lamego - #HE-010714-PW8CE
    638         11/7/2013 Email from Denby Sellers to
                Marcelo Lamego re Re: Apple/Next Steps
    639         12/9/2013 Email from Denby Sellers to
                Marcelo Lamego re Offer/Time to talk
    640         10/18/2013 Email from Denby Sellers to
                Marcelo Lamego re Re: Touching base/Next
                steps
    642         1/12/2014 Email from Marcelo Lamego to
                Denby Frazier, re Re: HireRight Notification:
                Completed background report for Marcelo
                Lamego - #HE-010714-PW8CE
    643         11/7/2013 Email from Denby Frazier to
                Marcelo Lamego, re Re: Apple/Next Steps
    645         12/9/2013 Email from Denby Frazier to
                Marcelo Lamego, re Offer/Time to talk
    646         Withdrawn
    647         1/8/2013 Email from Robert Mansfield to
                David Affourtit, Bob Mansfield, Culbert
                Michael, Foster James re Re: n38 recruiting
    648         1/22/2013 Email from James Foster to David           11/4/2024     11/4/2024
                Affourtit, re Re: Marcelo Lamego



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196398
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    649         3/13/2013 Email from James Foster to David         11/4/2024     11/4/2024
                Affourtit, re Re: Interview, Greg Voss (3/12)
    650         10/16/2013 Email from Steve Hotelling to
                Denby Frazier, David Tom, Robin Goldstein,
                Mark Ryan, Lynn Youngs re Re:
                Marcelo/Confirming next steps
    651         10/30/2013 Email from Steve Hotelling to
                Denby Frazier, Myra Haggerty, Debbie Rice re
                Re: Marcelo Lamego/Cercacor (Massimo)
    652         11/19/2013 Email from Denby Frazier to Steve
                Hotelling, re Re: Feedback
    653         12/4/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs, Annie Classick re
                Marcelo/Propsed Offer
    654         12/5/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs, Annie Classick re Re:
                Marcelo Lamego hiring recommendation
    655         Lamego Apple personnel file
    656         1/8/2014 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs re Marcelo/Update
    657         1/13/2014 Email from Denby Frazier to Annie
                Classick, Brenda Syslo, Steve Hotelling re
                Marcelo Lamego/ICT6 Hire under Steve

    658         1/11/2014 Email from Steve Hotelling to Myra       11/4/2024     11/4/2024
                Haggerty, re Re: Next Gen Investigations sync
                up
    659         1/27/2014 Email from Steve Hotelling to Jack
                Fu, Marcelo Lamego et al. re Please invite
                Marcelo
    660         6/30/2014 Email from Steve Hotelling to
                Marcelo Lamego, re Gen 1 Alg help
    661         7/1/2014 Email from Donna Cerny to Steve
                Hotelling, re Re: Gen 1 Alg help
    662         7/7/2014 Email from Apple HR to Marcelo
                Lamego, re Leaving Apple.
    663         Unsigned settlement and release between
                Lamego and Apple



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196399
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    664         12/3/2013 Email from Lan Nguyen to Steve
                Hotelling, re Re: Recruiting from Masimo
    665         11/23/2013 Email from Jeff Williams to Lynn
                Youngs, Steve Hotelling re Re: Marcelo
    666         12/6/2013 Email from Dan Riccio to Lynn
                Youngs, Jeff Williams, Steve Hotelling, Brent
                Batis, Denby Frazier, Mark Bentley re Re:
                Marcelo Lamego hiring recommendation
    667         12/7/2013 Email from Dan Riccio to Lynn
                Youngs, RON Hernandez, Steve Hotelling, Jeff
                Williams, Rani Roley, Chris Sherman re Re:
                Marcelo Lamego hiring recommendation
    668         12/20/2013 Email from Denby Frazier to Steve
                Hotelling, Lynn Youngs re Re: Offer Extended -
                request for Marcelo / Lynn chat
    669         7/2/2014 Email from Jeff Williams to Tim
                Cook, Dan Riccio re Re: Gen 1 Alg help (Apple
                Confidential)
    670         Apple Business Conduct policy
    671         1/22/14 Radar titled Employee: Marcelo
                Lamego
    672         10/7/2013 Email from Mike OReilly to Denby          11/4/2024     11/4/2024
                Frazier, Steve Hotelling, James Foster re Re:
                Marcelo Lamego
    675         Withdrawn
    676         Withdrawn
    677         U.S. Patent No. 6,229,856                           11/5/2024     11/5/2024
    678         U.S. Patent No. 5,800,348
    679         U.S. Patent No. 8,358,075
    680         U.S. Patent No. 6,579,231 B1
    681         Source Code
    682         Withdrawn
    683         Source Code
    684         Source Code
    685         Source Code
    686         Source Code
    687         Withdrawn
    688         Withdrawn
    689         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196400
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    690         Withdrawn
    691         Withdrawn
    692         Withdrawn
    693         Withdrawn
    694         10/2022 Blood Oxygen app on Apple Watch
                (https://www.apple.com/healthcare/docs/site/Bl
                ood_Oxygen_app_on
                12 _Apple_Watch_October_2022)
    695         10/2022 Blood Oxygen app on Apple Watch
    696         "Medical electrical equipment - Part 2-61:          11/6/2024     11/6/2024
                Particular requirements for basic safety and
                essential performance of pulse oximeter
                equipment", Second Edition, International
                Standard, ISO 80601-2-61
    697         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of
                the Apple Watch
    698         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of
                the Apple Watch Article
    699         05/2015 Article Appeared in the Issue of
                WIRED iPhone Killer: The Secret History of
                the Apple Watch Article
    700         5/1/2009 Email from Greg Olsen to Marcelo
                Lamego re Finger biometric alignment and
                identification
    701         Finger Biometric Alignment and Identification
                pdf (collection of documents) [attachment to
                Olsen Ex. 4 email]
    702         10/13/2004 Laboratory Notebook No. 301              11/6/2024     11/6/2024
                Issued to David Dalke
    703         Laboratory Notebook No. 00295 issued on             11/6/2024     11/6/2024
                07/14/2004 to Bob Smith
    704         08/19/2005 Email from Ammar Al-Ali to               11/5/2024     11/5/2024
                Mohamed Diab et al., re Rainbow Technology
                Open Issues [with attachment: "Rainbow
                Technology Issues 8-18-2005.doc"]




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                                 ID #:196401
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    705         Email from Steve Hotelling to Todd Whitehurst
                Re: Please invite Marcelo
    706         Email from Lynn Youngs to Steve Hotelling,          11/8/2024     11/8/2024
                Denby Sellers Re: Offer Extended - request for
                Marcelo / Lynn chat
    707         Email from Lamego to Kim Nguyen Re: Rory
                Carrillo - Medical Device Consultant, MS Cal
                Poly
    708         Withdrawn
    709         Email from Josh Thompson to O'Reilly Re:
                Mohammad Al-Sharif CV
    710         Withdrawn
    711         Email from O'Reilly to Amer Haider Re: From
                Doctella - update on cloud
    712         Email from O'Reilly to Sellers Re: Marcelo
    713         Email from Denby Frazier to Marcelo Lamego
                Re: availability for call
    714         Email from Kanaris to Culbert, Waydo, and
                Block Re: Largue user study action items
    715         Email from Dan Ryan to Daniel Culbert Re:
                Manan Goel - Algorithms
    716         Withdrawn
    717         Withdrawn
    718         Email from Neil Martinez to Klaassen Re: pls
                approve Cornelius offer in Merlin
    719         Withdrawn
    720         Withdrawn
    721         Printout of Lamego's LinkedIn
    722         Email from Hotelling to Lamego Re: Rover
                changes from Sensing HW team
    723         Spreadsheet with job opening requirements
    724         Email from Klaassen to Hotelling, Land, and
                Kim Nguyen Re: [Req#36210201 Initiated]
                Candidate: Paul Mannheimer, Slot Code:
                Marcelo's Replacement
    725         N27A Feasibility Check: SpO2 Manual
    726         Email from Waydo to Lamego Re:
                Opal/Platinum DCS results
    727         Withdrawn


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                                 ID #:196402
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    728         Email from O'Reilly to Pekka Talke Re: PI talk

    729         Withdrawn
    730         Email from Adrian Perica to Paul Jansen re
                Time to talk regarding Masimo's medical
                products
    731         Withdrawn
    732         Email from Ben Silva to Waydo Re: Notes
                (5/18/16): Erbium Cross Functional Team
                Meeting
    733         Email thread between Mike O'Reilly, Afshad
                Mistri, and Divya Nag Re: How a biomedical
                expert inspired Apple to create ResearchKit
    734         Withdrawn
    735         Email thread between Adrian Perica, Mike
                O'Reilly, and Brian Land Re: Confirmed Onsite
                Interview Schedule for Paul Mannhemier on
                Wednesday, October 1, 2014
    736         Email from Waydo to Xiao Jin Re: A bad new,         11/8/2024     11/8/2024
                a good new, and a thought…
    737         Email from Sara Tavakoli to David Fang re
                Scandium Analytics attaching Scandium
                Scorecard
    738         Withdrawn
    739         Withdrawn
    740         Withdrawn
    741         Email from Tao Shui to Klaassen and Zheng
                Re: Input from Shahrooz on Citrine
                Mod/Demod
    742         Keynote titled Azul/Hunter Analytics Through
                December 31,2020
    743         Email from Shankar Pennathur to James Foster
                Re: Some roadmap thoughts
    744         N27A Sensors High Level User Specifications
                Manual
    745         Email from Todd Whitehurst to James Foster
                Re: Sensor slides - rough draft
    746         Withdrawn
    747         Keynote titled Scandium Update


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                                 ID #:196403
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    748         Email from O'Reilly to Land, Waydo, Klaassen,
                and Kim Re: Slides
    749         Withdrawn
    750         Email from Klaassen to Albert Cerussi, Land,
                and Mannheimer Re: non invasive HB
                measurement
    751         Email from Daniel Culbert to Ehsan Maani Re:        11/8/2024     11/8/2024
                Health Sensor features roadmap attaching SpO2
                Analysis.zip
    752         Email from Hotelling to Donna Cerny Re: N27
                Possibilities
    753         Withdrawn
    754         Email from Hotelling to Debbie Rice and
                Donna Cerny Re: Update Marcelo
    755         Keynote titled N27/N127 improvement
                suggestions Part 1
    756         Keynote titled N27/N127 improvement
                suggestions Part 1
    757         5/3/2013 Masimo Meeting invite
    758         Withdrawn
    759         Email from Sellers to Mark Ryan and Mark
                Bentley Re: Linkedin
    760
                Letter dated June 24, 2013 to Michael O'Reilly
                from Denby Frazier Re Offer position of VP,
                Medical Technologies at Apple
    761         2013-10-30 Frazier email re Lamego
    762         Apple emails re Lamego interview
    763         Lamego email to Apple re start date
    764         Apple emails re Lamego acceptance
    765         US9861305(B1,X601).pdf
    766         Withdrawn
    767         Marcelo Lamego personnel file # 2
    768         Email chain with Kiani and Lamego re Apple          11/5/2024     11/5/2024
                recruiting
    769         5/19/2009 Masimo Labs Employee                      11/6/2024     11/6/2024
                Confidentiality Agreement - Marcelo Lamego
    770         Lamego Employee Termination Form



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196404
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    771         Email from Kiani to O'Reilly Re: Apple            11/5/2024     11/5/2024
                Recruiter
    772         Lamego Workshop 13
    773         Email from MFI Program Team to Crystal Wei
                Re: Unable to access Mfi program; Follow-up:
                758634255
    774         US Pat Pub 20100030040.pdf
    775         US Pat Pub 20110082711.pdf
    776         US Pat Pub 20060211924.pdf                       11/12/2024    11/12/2024
    777         DR30477D.pdf                                      11/5/2024     11/5/2024
    778         1/24/2014 Letter from Steve Jensen to Tim
                Cook re Employee Obligations of Marcelo
                Lamego
    779         Withdrawn
    780         2013-09-28 Lamego email to Kiani re AP            11/5/2024     11/5/2024

    781         Vital Signals Incorporated - Business Plan        11/5/2024     11/5/2024
                (August 1989)
    782         Masimo office photos                              11/5/2024     11/5/2024
    783         Email from Joe Kiani to Michael O;Reilly re
                Important News
    784         7/20/2012 Email from Jesse Chen to Arun           11/6/2024     11/6/2024
                Panch, Marcelo Lamego, Sean Merritt, Mathew
                Paul re RE: package for Masimo
    785         BusinessWire article: Medical Pioneer Masimo
                Announces the Full Market Consumer Release
                of the Masimo W1, the First Watch to Offer
                Accurate, Continuous Health Data


    786         2014-01-09 Lamego resignation email and           11/5/2024     11/5/2024
                Kiani response
    787         Masimo Laboratories, Inc. Certificate of
                Incorporation
    788         Kiani resignation letter to Newport Medical
                (April 11, 1989)
    789         Mutual Release between Newport Medical and
                Joe Kiani
    790         Kiani Decl. (April 1, 2003)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196405
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    791         2013-01-10 Email chain between Lamego and
                David Affourtit
    792         TW Press Releases (Jan. 4, 2016 - Apr. 8, 2016)

    793         J.G. Webster, Design of Pulse Oximeters              11/6/2024     11/6/2024
    794         Laboratory Notebook No. 13 issued on
                06/17/1992 to Bob Smith (returned on
                10/15/1992)
    795         US10219754(B1).pdf                                   11/6/2024     11/6/2024
    796         Withdrawn
    797         Hummingbird binder
    798         1994-09-20_Diab notebook                             11/5/2024     11/5/2024
    799         Withdrawn
    800         Rainbow Powerpoint Presentation (Rainbow
                Final Format_Prash.ppt)
    801         10/14/2014 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re Big Rainbow Sales - Olathe,
                Kansas Fire Departments
    802         10/22/2013 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re Big Rainbow Sale - Bolivar
                Medical Center
    803         10/22/2013 Email from
                NewContactWins@masimo.com to Masimo
                Team - All re New Hospital Win - Bingham
                Memorial Hospital
    804         11/19/2014 Email from to Masimo Team - All,
                re New Hospital Win - Drew Memorial
                Hospital
    805         11/18/2014 Email from to Masimo Team - All,
                re Big rainbow Sale - San Diego Urban
                Search/Rescue
    806         10/6/2013 Email from Prashanth Iyengar to
                Mohamed Diab, re Rainbow Presentation
    807         Rainbow Final Format.ppt
    808         Marcelo Lamego's Personnel File                      11/6/2024     11/6/2024
    809         Marcelo Lamego Employment History



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                                 ID #:196406
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    810         JTX 0307 - 2000-06-26 Lamego Confidentiality      11/6/2024     11/6/2024
                Agreement.pdf
    811         Lab Notebook 241 - 2002 Dalke.pdf                 11/6/2024     11/6/2024
    812         Time Division Multiplexing (Walt Weber
                binder notes)
    813         7/1/2003 Email from Jim Coffin to Jim Coffin
                Al-Ali Lamego, Mohamed Diab re Review
                Rainbow raw die data/centroid analysis
    814         10/22/2004 Email from Ammar Al-Ali to
                Ammar Al-Ali Schmidt Abdul-Hafiz Novak
                Smith Dalke Rumbaugh Weber Pishney Trinh
                Diab Lamego Al-Rawi Hehre, Ron Coverston
                re Rainbow Group Meeting
    815         2/10/2004 Email from Walt Weber to Ammar
                Al-Ali Schmidt Coverston, re Initial Rainbow
                Task List
    816         Rainbow Task List.doc
    817         11/4/2004 Email from Ammar Al-Ali to
                Ammar Al-Ali Diab Lamego Weber, re
                Rainbow Algorithms
    818         12/3/2003 Email from Marcelo Lamego to Walt
                Weber, Ammar Al-Ali Diab re Software fix for
                rainbow sensor H series
    819         3/21/2005 Email from Ammar Al-Ali to
                Ammar Al-Ali Coverston Smith Dalke Flood
                Pishney Lamego Diab Mangosing Trinh
                Rumbaugh Weber Abdul-Hafiz Schmidt, re
                Rainbow Project Status and Update
    820         9/28/2004 Email from Ammar Al-Ali to
                Ammar Al-Ali Lamego Diab Weber, re
                Rainbow
    821         10/6/2004 Email from Ammar Al-Ali to
                Mohamed Diab Lamego Weber, Ammar Al-Ali
                re Rainbow Open Issues
    822         10/8/2004 Email from Philip Trinh to Philip
                Trinh Rumbaugh Diab Al-Ali Weber Lamego
                Abdul-Hafiz Hehre Pishney, re Rainbow
                Characterization Tool brainstorm




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196407
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    823         11/18/2004 Email from Jim Coffin to Jim
                Coffin Al-Ali Diab Lamego Bhaumik, re
                Meeting with III-V Compounds' Thomas Guan
    824         12/10/2004 Email from Philip Trinh to Philip
                Trinh Smith Lamego Abdul-Hafiz Rumbaugh
                Al-Ali, re Rainbow Sensor Characterization
                System Design
    825         8/18/2005 Email from Ammar Al-Ali to             11/12/2024    11/12/2024
                Ammar Al-Ali Lamego Weber Diab, re
                Rainbow Calibration
    826         9/19/2005 Email from Ammar Al-Ali to
                Ammar Al-Ali Diab Lamego Weber, re
                Rainbow
    827         9/5/2003 Dalke notebook                           11/6/2024     11/6/2024

    828         7/21/2006 Email from Marcelo Lamego to Joe        11/5/2024     11/5/2024
                Kiani, Mohamed Diab Lamego re List of
                new(?) ideas
    829         Test Report, Rainbow Single Patient Adhesive
                Sensor, Test Report R-TR15529A.doc

    830         2/9/2007 Email from Joe Kiani to Masimo           11/5/2024     11/5/2024
                Team - All re Marcelo Lamego
    831         Pronto-7 (User-Manual-1251764).pdf                11/5/2024     11/5/2024

    832         Poeze Notebook                                    11/5/2024     11/5/2024
    833         1/7/2009 Email from Marcelo Lamego to 'Sean
                Merritt', re template
    834         7/20/2012 Email from Arun Panch to Jesse
                Chen, Marcelo Lamego, Sean Merritt, Mathew
                Paul re RE: package for Masimo
    835         7/20/2012 Email from Jesse Chen to Sean
                Merritt, Mathew Paul, Marcelo Lamego, re
                RE: Cercacor Requests
    836         8/15/2012 Email from Arun Panch to Marcelo
                Lamego et al., re Pronto-7 sourcefiles
                transferred to Masimo
    837         7/22/2012 Email from Prashanth Iyengar to
                Anand Sampath, re RE: package for Masimo



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                                 ID #:196408
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    838         6/5/2012 Email from Joe Kiani to Marcelo
                Lamego, re RE: Cercacor Requests
    839         6/4/2012 Email from Arun Panch to Sean
                Merritt, Marcelo Lamego, re FW: Cercacor
                Requests
    840         Pronto-7 Value Table.xls
    841         6/5/2012 Email from Marcelo Lamego to Joe
                Kiani, re RE: Cercacor Requests
    842         6/5/2012 Email from Marcelo Lamego to Jesse
                Chen, Mathew Paul, re FW: Cercacor Requests

    843         Pronto-7 Value Table.xls
    844         6/4/2012 Email from Marcelo Lamego to Joe
                Kiani, re FW: Cercacor Requests
    845         Pronto-7 Value Table.xls
    846         1/31/2014 Apple slide show entitled "Fitness
                and wellness technology development"
    847         Radar: N27A Platinum: Tracking List of             11/7/2024     11/7/2024
                recommended improvements
    848         3/11/2014 Email from Vik Gowreesunker to
                Brian Land, Marcelo Lamego, Louis Bokma,
                Dong Zheng re Re: Opal 2 proposal
    849         Citrine ASIC Engineering Requirements
                Specification
    850         3/14/14 Email from Dong Zheng to Marcelo
                Lamego, Brian Land re Re: amethyst asic
    851         5/15/2014 Email from Marcelo Lamego to , re        11/6/2024     11/6/2024
                template
    852         3/20/2014 Email from Marcelo Lamego to Ian         11/6/2024     11/6/2024
                Shapiro, Nima Ferdosi re Re: matlab templates

    853         3/19/2014 Email from Marcelo Lamego to Ian         11/6/2024     11/6/2024
                Shapiro, Nima Ferdosi, re matlab templates

    854         3/19/2014 Email from Ian Shapiro to Marcelo
                Lamego re Re: matlab templates with
                attachment
                OpalModDemod_SignalHandling_ishapiro_031
                914.key.zip


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196409
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    855         3/20/2014 Email from Ian Shapiro to Marcelo          11/6/2024     11/6/2024
                Lamego, Nima Ferdosi re Re: matlab templates

    856         3/19/2014 Email from Marcelo Lamego to Ian
                Shapiro re Re: matlab templates
    857         3/20/2014 Email from Marcelo Lamego to
                Nima Ferdosi, Ian Shapiro re Re: Mod/Demod
                algorithm deep-dive
    858         Graph, "One Cap LPF vs. cross coupled two
                cap LPF"
    859         6/18/2014 Apple Citrine ASIC Engineering            11/12/2024    11/12/2024
                Requirements Specification, Rev. 0.1
    860         9/17/2014 Email from Shafiq Jamal to Kambiz
                Shoarinejad, Min Gyu Kim, Broadcom-Citrine-
                coreteam-list, citrine-coreteam re Citrine: ERS
                v1.3
    861         Citrine ASIC Engineering Requirements
                Specification
    862         6/30/2014 Email from Marcelo Lamego to
                Steve Hotelling, Tim Cook, Dan Riccio, Lynn
                Youngs, Jeff Williams re Re: Gen 1 Alg help
    863         1/22/2014 Email from Alex Kanaris to Daniel
                Culbert, Alex Kanaris re Re: The DC
                component of ambient light - PREVIEW OF
                MY REPLY TO DONG
    864         1/30/2014 Email from Dong Zheng to Alex
                Kanaris, Brian Land, Chinsan Han, Daniel
                Culbert, Justin Shi re Re: The DC component of
                ambient light
    865         Citrine ASIC Engineering Requirements
                Specification
    866         Radar: LED brightness modulation study
                (including Marcelo's model)
    867         N27A Platinum Modulation/Demodulation +-
                HPF: Proposed Scan Plan to Accomodate
                Concurrent AGC and OWD slide deck




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196410
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                        Date           Date
                                                                   Identified     Admitted
    868         9/24/2014 Email from Tao Shui to Keith Evans,
                Carlos Pineiro Cordero, , Broadcom-Citrine-
                coreteam-list, Bahjat Zafer re Re: Citrine: Some
                questions about ERS Rev1.3
    869         9/9/2014 Email from shiqin wang to Dong
                Zheng et al. re Re: Citrine ERS rev1.1 as of
                09/05/2014
    870         9/16/2014 Email from Tao Shui to Kambiz
                Shoarinejad, citrine-coreteam, Alex Chwu et al.
                re Re: Citrine: ERS 1.2 Questions on Digital

    871         10/7/2014 Email from shiqin wang to , Dong
                Zheng et al. re Re: Citrine: A couple of new
                updates
    872         9/9/2014 Email from Min (Zhongmin) Zhang to
                Dong Zheng et al. re RE: Citrine ERS rev1.1 as
                of 09/05/2014
    873         9/8/2014 Email from Keith Evans to Dong
                Zheng et al. re RE: Citrine ERS rev1.1 as of
                09/05/2014
    874         7/24/14 Email from Tao Shui to Dong Zheng re
                PSM support in Citrine?
    875         Email from Vivek Plant to Na Huang et al.
                attaching Alder Ambient Light Impact Study
    876         2021-10-01 Meeting notes - PPG Platform Sync

    877         2021-10-15 Meeting notes - PPG Platform Sync

    878         2007 Diab Notebook
    879         Withdrawn
    880         Lamego matlab script                                  11/6/2024     11/6/2024
    881         Diab's Notebook (1994-1996)                           11/5/2024     11/5/2024

    882         Excerpt from Diab Notebook
    883         Disp_620_805_1.S2
   883.1        File properties for Disp_620_805_1.S2
    884         Withdrawn
    885         Withdrawn
    886         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196411
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                Date         Date
                                                         Identified   Admitted
    887         Withdrawn
    888         Withdrawn
    889         Withdrawn
    890         Withdrawn
    891         Withdrawn
    892         Withdrawn
    893         Withdrawn
    894         Withdrawn
    895         Withdrawn
    896         Disp_620_805_1.s1
   896.1        File properties for Disp_620_805_1.s1
    897         Disp_620_805_1.s0
   897.1        File properties for Disp_620_805_1.s0
    898         Withdrawn
    899         Disp_620_805_1.CDB
   899.1        File properties for Disp_620_805_1.CDB
    900         Withdrawn
    901         Withdrawn
    902         Withdrawn
    903         Withdrawn
    904         Withdrawn
    905         Withdrawn
    906         Withdrawn
    907         Withdrawn
    908         Withdrawn
    909         Withdrawn
    910         Withdrawn
    911         RoomAirTest1.xls
   911.1        File properties for RoomAirTest1.xls
    912         RoomAirTest2.xls
   912.1        File properties for RoomAirTest2.xls
    913         Withdrawn
    914         Withdrawn
    915         Withdrawn
    916         Withdrawn
    917         Withdrawn
    918         Withdrawn
    919         Withdrawn
    920         Marcelo_J5057_RM_Norm_IN_1.mat


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196412
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                 Date           Date
                                                            Identified     Admitted
   920.1        File properties for
                Marcelo_J5057_RM_Norm_IN_1.mat
    921         Withdrawn
    922         Withdrawn
    923         Withdrawn
    924         Withdrawn
    925         Mohamed_J5057_RM_Norm_IN_2.mat
   925.1        File properties for
                Mohamed_J5057_RM_Norm_IN_2.mat
    926         Withdrawn
    927         Marcelo_BpadsBottom_J4968.mat
   927.1        File properties for
                Marcelo_BpadsBottom_J4968.mat
    928         Marcelo_BShoe_Index_J4969.mat
   928.1        File properties for
                Marcelo_BShoe_Index_J4969.mat
    929         Marcelo_BShoe_Middle_J4969.mat
   929.1        File properties for
                Marcelo_BShoe_Middle_J4969.mat
    930         .mat file
   930.1        File properties for .mat file
    931         .mat file
   931.1        File properties for .mat file
    932         .mat file
   932.1        File properties for .mat file
    933         .mat file
   933.1        File properties for .mat file
    934         Withdrawn
    935         Protocol/Test Procedure Rainbow Sensor R-      11/5/2024     11/5/2024
                TP13980B.DOC
    936         Protocol/Test Procedure Pronto-7               11/5/2024     11/5/2024

    937         Protocol/Test Procedure; Forehead Sensor       11/5/2024     11/5/2024
                TP16811A.doc
    938         Picture of Test Box                            11/5/2024     11/5/2024

    939         Picture of Test Box Instructions               11/5/2024     11/5/2024

    940         ALL_BPad_DCI.jpg                               11/5/2024     11/5/2024



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196413
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description              Date           Date
                                                        Identified     Admitted
    941         BPad_Disposable_1.jpg                      11/5/2024     11/5/2024

    942         ExperimentLog.doc
   942.1        File properties for ExperimentLog.doc
    943         Withdrawn
    944         Withdrawn
    945         Withdrawn
    946         Withdrawn
    947         Withdrawn
    948         Withdrawn
    949         Withdrawn
    950         Testing Document
   950.1        File properties for Testing Document
    951         Withdrawn
    952         Withdrawn
    953         Withdrawn
    954         Testing Document
   954.1        File properties for Testing Document
    955         Withdrawn
    956         Withdrawn
    957         Withdrawn
    958         Withdrawn
    959         Testing Document
   959.1        File properties for Testing Document
    960         Withdrawn
    961         Withdrawn
    962         Withdrawn
    963         Withdrawn
    964         Withdrawn
    965         Withdrawn
    966         Withdrawn
    967         Testing Document
   967.1        File properties for Testing Document
    968         Testing Document
   968.1        File properties for Testing Document
    969         Withdrawn
    970         Testing Document
   970.1        File properties for Testing Document
    971         Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196414
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                    Date         Date
                                                              Identified   Admitted
    972         Withdrawn
    973         Withdrawn
    974         Withdrawn
    975         Withdrawn
    976         Withdrawn
    977         Withdrawn
    978         Withdrawn
    979         Withdrawn
    980         Withdrawn
    981         Withdrawn
    982         Withdrawn
    983         Withdrawn
    984         Withdrawn
    985         Withdrawn
    986         Withdrawn
    987         Withdrawn
    988         Testing Document
   988.1        File properties for
                LPTestwoCage_Mopinky1.S2
    989         Testing Document
   989.1        File properties for LPTestwCage_Mopinky1.S2

    990         Withdrawn
    991         Withdrawn
    992         Testing Document
   992.1        File properties for
                LPTestwoCage_Mopinky1.S1
    993         Testing Document
   993.1        File properties for LPTestwCage_Mopinky1.S1

    994         Withdrawn
    995         Withdrawn
    996         Testing Document
   996.1        File properties for LeakageTest.mcd
    997         CalcLeak.pdf
    998         Testing Document
   998.1        File properties for
                LPTestwoCage_Mopinky1.S4
    999         Testing Document


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196415
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
   999.1        File properties for LPTestwCage_Mopinky1.S4

    1000        Withdrawn
    1001        Withdrawn
    1002        Withdrawn
    1003        Testing Document
   1003.1       File properties for
                LPTestwoCage_Mopinky1.S0
    1004        Withdrawn
    1005        Testing Document
   1005.1       File properties for LPTestwCage_Mopinky1.S0

    1006        Testing Document
   1006.1       File properties for
                LPTestwoCage_Mopinky1.S3
    1007        Testing Document
   1007.1       File properties for LPTestwCage_Mopinky1.S3

    1008        Withdrawn
    1009        Withdrawn
    1010        Withdrawn
    1011        Withdrawn
    1012        Withdrawn
    1013        Testing Document
   1013.1       File properties for
                LPTestwoCage_Mopinky1.cdb
    1014        Withdrawn
    1015        Testing Document
   1015.1       File properties for
                LPTestwCage_Mopinky1.cdb
    1016        Meeting Minutes Modular Rainbow Sensor           11/5/2024     11/5/2024
                Design
    1017        Masimo Corp. Research Tax Credit Analysis,
                Subject Matter Expert Resume (713 Rainbow
                Sensors2010 - Yassir A.DOC)
    1018        Test 1 (MasimoLabs Document Cover                11/6/2024     11/6/2024
                Sheet.doc)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196416
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1019        6/29/2007 Email from Hung Vo to Marcelo
                Lamego, re RE: List with outstanding issues
                for next phase
    1020        Phase II, Hummingbird Project (outstanding
                list.doc)
    1021        2/6/2010 Email from Marcelo Lamego to Sean
                Merritt
    1022        9/26/2006 Email from Marcelo Lamego to Sean        11/5/2024     11/5/2024
                Merritt
    1023        9/22/2006 Email from Marcelo Lamego to Sean
                Merritt Diab
    1024        notes
    1025        11/25/2008 Email from Sean Merritt to Marcelo
                Lamego Dalvi Vo Bruinsma Poeze Lesmana
                Rosario, re December plan
    1026        December PLAN.doc
    1027        Presentation Figures
    1028        Next_Steps_September_02_2008.ppt
    1029        First_phase_Argose.ppt
    1030        outstanding list.doc
    1031        Hummingbird Phase 2 (sean).doc
    1032        Assembly/Design Requirement, Pronto 7 AP
                Sensor Design Requirements (ADRxxxxA-
                APtHb_sensor.docx)
    1033        Masimo Presentation (Glucose.ppt)
    1034        Budgetary Plan (10-21-2010).pptx
    1035        Cercacor Board meeting (10-21-2010)[1].pptx

    1036        Cercacor Board meeting (10-21-2010).pptx
    1037        5/7/2011 Email from Marcelo Lamego to
                Howard Chan re Change Order 1892 has been
                APPROVED and is ready to be RELEASED

    1038        ADR-1003G-redline.docx
    1039        714 Masimo Labs - Memo update 2008.doc
    1040        Pronto 7 Sensor Best Practices v3.ppt
    1041        Picture of Masimo Sensor (picture 2.png)           11/5/2024     11/5/2024




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196417
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1042        Assembly Design Specification Neo-L and Inf-
                L Sensors Assembly Design Specifications
                ADS1232B
    1043        Assembly Design Specification Trauma Sensor
                Assembly Design Specification ADS1253B

    1044        Assembly Design Specification Neo-Pt-L
                Sensor Assembly Design Specification
                ADS1254B
    1045        Fixture; Forehead Sensor DR-83005                    11/5/2024     11/5/2024

    1046        N27A: Platinum Exec Status _ 03-04-2014
    1047        3/17/2014 Email from Steve Hotelling to
                Marcelo Lamego, Brian Land re Fwd: Radar
                CC: Daily Notification with attachment
                PastedGraphic-4.png
    1048        Email from Marcelo Lamego to Mike Oreilly re
                This is slide describing what I believe is
                possible to implement in arevised N27/N127
                attaching It is possible to implement 6
                functionalities in a revised N27 slide deck
    1049        Fitness and wellness technology development
                slide deck
    1050        Email from Marcelo Lamego to Steve Hotelling
                re Gen 1 alg help attaching List with potential
                improvements for the N27 slide deck

    1051        N27 Revised slide deck
    1052        Fitness and Wellness Technology Development

    1053        Amended and retstated service agreement
    1054        Lamego Video (movie_with_wrist-
                pulse_ox_prototype_demo.mov)
    1055        4/1/2014 Email from Dong Zheng to Brian
                Land, Marcelo Lamego, Albert Wang re Sensor
                flex Tx & Rx crosstalk issue




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196418
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
    1056        4/6/2014 Email from Dong Zheng to Brian
                Land, Prashanth Holenarsipur, Albert Wang,
                Navid Moghadam, Marcelo Lamego re Sensor
                flex tx/rx crosstalk
    1057        4/9/2014 Email from Dong Zheng to Brian
                Land, Marcelo Lamego et al. re Sensor
                flex/Opal DC Tx/Rx crosstalk
    1058        6/20/2014 Email from Xiaoyi Mu to , Cat Tran,
                Tobias Harrison-Noonan re Re: mockup xtalk

    1059        N27A Platinum Core Module: AGENDA slide
                deck
    1060        N127A Platinum Sensor Development
                Overview slide deck
    1061        N27A Platinum External System HW ERS                11/7/2024     11/7/2024
    1062        5/6/2014 Email from Alvin Hilario to Brian
                Land et al. re Re: 042714 Platinum Proto N
                REL Update
    1063        Email from Jennifer Kong re N27A Platinum           11/7/2024     11/7/2024
                Exec Update _0520_ with attachment N27A
                Platinum Agenda slide deck
    1064        N27A Platinum Agenda slide deck                     11/6/2024     11/6/2024
    1065        5/20/2014 Email from Justin Shi to Alvin
                Hilario, Jennifer Kong, Brian Land, Jason Huey
                re Re: Platinum Exec Agenda _ 0520 with
                attachment Optical Leakage REL
                05192014.key.zip
    1066        6/1/2015 Email from Guocheng Shao to Ueyn          11/12/2024    11/12/2024
                Block, Tobias Harrison-Noonan, Xiaoyi Mu re
                Re: Glass BC Xtalk test results
    1067        Engineering Requirements Specification
    1068        Technical Specification                             11/6/2024     11/6/2024
    1069        Watch Series 5 Hardware Verification Report         11/6/2024     11/6/2024
                for Irregular rhythm notification 2.0 (IRN2.0)

    1070        Technical Presentation                              11/6/2024     11/6/2024
    1071        Email from Kevin Wen to Benjamin Grena re
                ERS Test Plan
    1072        N187 Tissue simulations                             11/6/2024     11/6/2024


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196419
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    1073        PastedGraphic-6.png
    1074        N64 BC Test Fixture Experiment Results slide
                deck
    1075        11/9/2018 Email from Mathieu Charbonneau-            11/6/2024     11/6/2024
                Lefort to Ueyn Block, re Scandium cross-talk
                spec
    1076        T393 - Impact of optical cross-talk slide deck       11/6/2024     11/6/2024
    1077        2/18/2019 Email from Amanda Simon to Steve           11/6/2024     11/6/2024
                Hotelling, Chris Prest, Martin Grunthaner, Shin
                John Choi, Sumant Ranganathan, Graham
                Townsend re Re: Materials For Future Sensors


    1078        Technical Presentation                               11/6/2024     11/6/2024
    1079        Scandium Discussion slide deck                       11/6/2024     11/6/2024
    1080        Technical Presentation                               11/6/2024     11/6/2024
    1081        Technical Presentation                               11/6/2024     11/6/2024
    1082        Email from Mohamed Diab to Marcelo
                Lamego, Ammar Al-Ali, Bob Smith, David
                Dalke
   1082.1       Email from Mohamed Diab to Marcelo                   11/5/2024     11/5/2024
                Lamego, Ammar Al-Ali, Bob Smith, David
                Dalke
   1082.2       Email from Mohamed Diab to Marcelo                   11/5/2024     11/5/2024
                Lamego, Ammar Al-Ali, Bob Smith, David
                Dalke
    1083        8/18/2005 Masimo Rainbow Technology Open
                Issues
    1084        8/31/2005 Email from Bob Smith to Ammar Al-
                Ali
    1085        MX-1 Circuit Board Schematic R-
                DR40178A.PDF
    1086        MX-1 Circuit Board Schematic R-                      11/6/2024     11/6/2024
                DR40178E.pdf
    1087        MX-1 Circuit Board Schematic R-
                DR40178B.PDF
    1088        MX-1 Circuit Board Schematic R-
                DR40178C.PDF
    1089        MX-1 Circuit Board Schematic R-
                DR40178D.PDF


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196420
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1090        Diagrams of Rainbow Mx Board.pdf
    1091        MX-3 User's Manual.DOC                             11/6/2024     11/6/2024
    1092        MX-5 User Manual.docx
    1093        Design Capture MX-7 Circuit Board Hardware
                Design R-DC11725A
    1094        MX-3 Circuit Board Schematic R-
                DR40228A.pdf
    1095        MX-3 Circuit Board Schematic R-
                DR40228B.pdf
    1096        MX-3 Circuit Board Schematic R-
                DR40315A.pdf
    1097        MX-3 Circuit Board Schematic R-
                DR40315B.pdf
    1098        MX-3 Circuit Board Schematic R-
                DR40315C.pdf
    1099        MX-3 Circuit Board Schematic R-
                DR40315D.pdf
    1100        MX-3 Circuit Board Schematic R-
                DR40414A.pdf
    1101        MX-5 circuit board schematic R-DR40522D
    1102        MX-5 Circuit Board Schematic R-DR40522F
                (1).pdf
    1103        MX-7 Circuit Board Schematic
                DR40837H.PDF
    1104        Cozumel02 User Manual - DCxxxxxA.DOCX
    1105        Cozumel02 User Manual - DCxxxxxA.DOCX
    1106        Design Capture Cozumel ASIC User Manual -
                HW Rev02 DC-12149 Rev A
    1107        STK Sensor Circuit Board Schematic
                DR41360E.pdf
    1108        STK Sensor ASIC Circuit Board Schematic
                DR41442D.pdf
    1109        STK Sensor ASIC Circuit Board Schematic
                DR41442H
    1110        3/6/2014 Email from Craig Lewiston to
                Marcelo Lamego, Brian Land, Daniel Culbert et
                al. re Re: N27A: Platinum Improvements for
                ProtoS and beyond
    1111        Opal recommendation sync


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196421
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                         Date           Date
                                                                     Identified     Admitted
    1112        3/8/2014 Email from Alan Chern to Marcelo
                Lamego, Brian Land, Daniel Culbert et al. re
                Re: N27A: Platinum Improvements for ProtoS
                and beyond
    1113        Meeting invite: Opal recommendation sync
    1114        3/11/2014 Email from Alan Chern to Marcelo              11/7/2024     11/7/2024
                Lamego, Brian Land, Daniel Culbert et al. re
                Re: N27A: Platinum Improvements for ProtoS
                and beyond
    1115        Opal recommendation sync
    1116        Opal recommendation sync
    1117        Opal recommendation sync
    1118        3/18/2014 Email from to Jack Fu, Brian Land,
                Trevor Ness et al. re Platinum DOEs
    1119        3/26/2014 Email from Shanti Vasudevan to
                Alan Chern, Louis Bokma, Jack Fu re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1120        3/26/2014 Email from Shanti Vasudevan to
                Alan Chern, Louis Bokma, Jack Fu re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1121        6/4/2014 Email from Jack Fu to Myra
                Haggerty, Jack Fu re Re: PPG (concrete tasks)

    1122        3/26/2014 Email from Alan Chern to Shanti
                Vasudevan, Louis Bokma, Jack Fu re Re:
                N27A: Platinum Improvements for ProtoS and
                beyond
    1123        N127 Platinum ASIC proposal slide deck
    1124        6/10/2014 Email from Shafiq Jamal to Dong
                Zheng et al. re Re: Citrine first set of questions

    1125        CSM Silicon Update slide deck
    1126        Spreadsheet identifying members of
                Broadcom's Citrine Core Team




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196422
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                         Date         Date
                                                                   Identified   Admitted
    1127        6/23/2014 Email from Christopher Sheehan to
                Lynn Couillard, Jim (James) Jian, Todd
                Lepinski, citrine-coreteam re Broadcom-
                Citrine ERS- Draft Rev for review
    1128        Citrine ASIC Engineering Requirements
                Specification
    1129        9/13/2014 Email from Shafiq Jamal to Kambiz
                Shoarinejad, citrine-coreteam, Broadcom-
                Citrine-coreteam-list re Citrine: ERS Update

    1130        8/22/2014 Email from Shafiq Jamal to Iuri
                Mehr, Todd Brooks, Lynn Couillard, Claude
                Hayek, Sunil Malkani, citrine-coreteam re
                Citrine: Latest ERS
    1131        Citrine ASIC Engineering Requirements
                Specification
    1132        9/6/2014 Email from Shafiq Jamal to Todd
                Brooks, Broadcom-Citrine-coreteam-list, citrine-
                coreteam, Kambiz Shoarinejad re Citrine: ERS
                Rev1.1
    1133        Citrine ASIC Engineering Requirements
                Specification
    1134        9/6/2014 Email from Alex Chwu to Kambiz
                Shoarinejad, Broadcom-Citrine-coreteam-list,
                citrine-coreteam re Citrine ERS rev1.1 as of
                09/05/2014
    1135        Citrine ASIC Engineering Requirements
                Specification
    1136        Citrine ASIC Engineering Requirements
                Specification
    1137        9/25/2014 Email from Shafiq Jamal to Tay
                Zheng, Min Zhang, citrine-coreteam, Broadcom-
                Citrine-coreteam-list, Todd Brooks re Citrine:
                ERS Rev1.4
    1138        Citrine ASIC Engineering Requirements
                Specification
    1139        10/3/2014 Email from Tao Shui to citrine-
                coreteam, Albert Wang, re Citrine ERS rev1p5
                release


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196423
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    1140        Citrine ASIC Engineering Requirements               11/12/2024    11/12/2024
                Specification
    1141        10/16/2014 Email from Tao Shui to citrine-
                coreteam, Albert Wang, re [Citrine] ERS
                release of rev 1.6
    1142        Citrine ASIC Engineering Requirements
                Specification
    1143        10/24/2014 Email from Tao Shui to citrine-
                coreteam, re [Citrine] ERS Rev 2.0 released
    1144        10/31/2014 Email from Tao Shui to citrine-
                coreteam, re [Citrine] ERS Rev 2.1 Release
    1145        Citrine ASIC Engineering Requirements
                Specification
    1146        10/21/2014 Email from Dong Zheng to Tao
                Shui, re Re: [Citrine] Tx driver scheme settled

    1147        10/23/2014 Email from Tao Shui to Tay (Hui)
                Zheng, re Re: Citrine: regarding
                LEDx_HV_EN usage
    1148        Citrine_ERS_Rev2p0_pg3839.pdf
    1149        9/16/2014 Email from Kambiz Shoarinejad to
                Ali Motamed, Felix (Yee Ling) Cheung, citrine-
                coreteam, jasper-coreteam, Broadcom-Jasper-
                coreteam-list, Broadcom-Citrine-coreteam-list
                re Jasper and Citrine : ERS Specs


    1150        9/1/2014 Email from Kambiz Shoarinejad to
                shiqin wang, Min (Zhongmin) Zhang, citrine-
                coreteam, Broadcom-Citrine-coreteam-list re
                RE: Citrine: Initial digital micro-architecture
                review.
    1151        9/16/2014 Email from Kambiz Shoarinejad to
                Alex Chwu, , Ali Motamed, citrine-coreteam,
                Broadcom-Citrine-coreteam-list re Citrine:
                BRCM spec versus latest ERS 1.2 spec
    1152        Citrine RX SNR Spec Discussion




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196424
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1153        9/16/2014 Email from Kambiz Shoarinejad to
                Alex Chwu, , Ali Motamed, citrine-coreteam,
                Broadcom-Citrine-coreteam-list re RE: Citrine:
                BRCM spec versus latest ERS 1.2 spec


    1154        Excel Sheet
                (Citrine_ERS_vs_BRCM_2014_09_16.xlsx)
    1155        11/4/2014 Email from Tay (Hui) Zheng to et         11/12/2024    11/12/2024
                al. re RE: Jasper/Citrine: Block Diagrams
    1156        Citrine Analog IP Highlights                        11/6/2024     11/6/2024
    1157        Citrine ASIC Engineering Requirements
                Specification
    1158        ASIC Engineering Requirements Specification

    1159        ASIC Engineering Requirements Specification

    1160        ASIC Engineering Requirements Specification

    1161        Citrine ASIC Engineering Requirements
                Specification
    1162        Citrine ASIC Engineering Requirements
                Specification
    1163        ASIC Engineering Requirements Specification

    1164        Lamego Notes on Solver (Readmefirst.doc)
    1165        5/10/2007 MasimoLabs Document Cover
                Sheet, "3D finger model: finite difference
                solver and analysis files", Project
                Hummingbird, by Marcelo Lamego
    1166        Withdrawn
    1167        Withdrawn
    1168        Withdrawn
    1169        Withdrawn
    1170        Withdrawn
    1171        Withdrawn
    1172        Withdrawn
    1173        Withdrawn
    1174        Withdrawn
    1175        New Hire Onboarding for Rui Peterson


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196425
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date         Date
                                                                  Identified   Admitted
    1176        3/2/2014 Email from Jeff Williams to Marcelo
                Lamego, Chip Hills re Re: wrist 3d model
                (confidential and proprietary)
    1177        Untitled slide deck
    1178        Released Production - Apple Watch S5 44
                Gold SS
    1179        3/3/2014 Email from Mike OReilly to Jack Fu,
                Marcelo Lamego, Steve Hotelling, Daniel
                Culbert re Re: cross-section of wrist
    1180        3/20/2014 Email from Marcelo Lamego to
                Steve Hotelling et al. re Re: scanning project
                with Stanford
    1181        Amended and retstated service agreement
    1182        6/20/2014 Email from Marcelo Lamego to
                Jennifer Kong, Rui Peterson, Nicole Hollopeter,
                re Stanford MRI project
    1183        5/29/2015 Email from Albert Cerussi to Erno
                Klaassen, re Re: Wrist MRI Screenshots
    1184        Sensing Hardware MRI Study Executive study
                slide deck
    1185        Scandium Status Update slide deck
    1186        Withdrawn
    1187        Withdrawn
    1188        Withdrawn
    1189        Withdrawn
    1190        Withdrawn
    1191        Withdrawn
    1192        Withdrawn
    1193        Withdrawn
    1194        Withdrawn
    1195        Withdrawn
    1196        Withdrawn
    1197        Withdrawn
    1198        Withdrawn
    1199        Withdrawn
    1200        Withdrawn
    1201        Withdrawn
    1202        Withdrawn
    1203        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196426
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
    1204        Withdrawn
    1205        US20110082711
    1206        US20060211924                                    11/7/2024     11/6/2024
    1207        US20100030040                                    11/5/2024     11/5/2024

    1208        Withdrawn
    1209        Omni MedSci, Inc. v. Apple Inc. Apple's          11/6/2024     11/6/2024
                Invalidity Contentions Exhibit U
    1210        Omni MedSci, Inc. v. Apple Inc. Apple's
                Invalidity Contentions Exhibit V
    1211        Omni MedSci, Inc. v. Apple Inc. Sarrafzedeh      11/6/2024     11/6/2024
                Expert Report Regarding Invalidity
    1212        Withdrawn
    1213        Withdrawn
    1214        Diab Notebook
    1215        Withdrawn
    1216        Withdrawn
    1217        U.S. Patent 10,524,671
    1218        U.S. Patent No. 9,723,997
    1219        Withdrawn
    1220        2/3/2014 Email from Steve Hotelling to
                Graham Townsend, Benjamin Lyon, Marcelo
                Lamego re Re: My first slide
    1221        Apple Radar: iPhone medical device
    1222        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477E.pdf)
    1223        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477F.pdf)
    1224        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477A.pdf)
    1225        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477B.pdf)
    1226        Masimo Engineering Drawing (Pad, Bottom,
                Reflectance Sensor DR30477C.pdf)
    1227        Diab Notebook                                    11/5/2024     11/5/2024

    1228        N61 onyx window engineering drawing




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196427
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1229        5/28/2014 Email from Jennifer Kong to Steve
                Hotelling, Jack Fu, Chinsan Han, Dong Zheng,
                Steve Waydo, Brian Land, Trevor Ness,
                Marcelo Lamego, et al. re Platinum Proto2
                BRR
    1230        N27 N28 Platinum: Proto 2 BRR
    1231        5/21/2014 Email from to Jack Fu, Steve
                Waydo, Brian Land, Trevor Ness, Daniel
                Culbert et al. re Re: Platinum Core Module _
                Slides Input Needed
    1232        5/19/2014 Email from to Trevor, Dave
                Nazzaro, Tobias Harrison-Noonan re Re:
                Sample materials for Proto2 window dressings

    1233        4/22/2014 Email from Dave Nazzaro to Wolf
                Oetting, Trevor Ness et al. re Re: Color match
                of window ink to Zr BC
    1234        5/20/2014 Email from Jennifer Kong to
                Fletcher Rothkopf, Paul Nangeroni, Trevor
                Ness, Dave Nazzaro, Brian Land re N27A
                Platinum Exec Update (weekly)
    1235        N27A Platinum Exec Update (weekly)
    1236        Reflective Treatments 0613.key.zip
    1237        5/30/2015 Email from Maegan Spencer to Wolf
                Oetting, , Trevor Ness, Matsu Matsuyuki, Chris
                (PD) Graham, Dave Kim re Re: non conductive
                reflector coating for next gen BC


    1238        6/8/2015 Email from Tobias Harrison-Noonan
                to Ueyn Block, Trevor Ness, Steve Waydo et al.
                re Re: N2XB zirconia BC *new* color options

    1239        U.S. Patent 10,078,052                              11/8/2024     11/8/2024
    1240        4/25/2014 Email from Dave Nazzaro to , Wolf
                Oetting, Brian Land, Trevor Ness, Ueyn Block
                et al. re Re: Upcoming BC Window DOEs

    1241        U.S. Patent No. 10,247,670                          11/8/2024     11/8/2024
    1242        File History re U.S. Patent No. 10,247,670


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196428
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    1243        N27/N127 improvement suggestions Part 1
                slide deck
    1244        N27/N127 improvement suggestions Part 1
                slide deck
    1245        N27/N127 improvement suggestions Part 1
                slide deck
    1246        N27/N127 improvement suggestions Part 1
                slide deck
    1247        N27/N127 improvement suggestions Part 1
                slide deck
    1248        N27/N127 improvement suggestions Part 1
                slide deck
    1249        N27/N127 improvement suggestions slide deck

    1250        N27/N127 improvement suggestions Part 1
                slide deck
    1251        N27/N127 improvement suggestions Part 1
                slide deck
    1252        N27/N127 improvement suggestions Part 1
                slide deck
    1253        N27/N127 improvement suggestions Part 1
                slide deck
    1254        N27/N127 improvement suggestions Part 1
                slide deck
    1255        N27/N127 improvement suggestions Part 1
                slide deck
    1256        N27/N127 improvement suggestions Part 1
                slide deck
    1257        N27/N127 improvement suggestions Part 1
                slide deck
    1258        N27/N127 improvement suggestions Part 1
                slide deck
    1259        N27/N127 improvement suggestions Part 1
                slide deck
    1260        N27/N127 improvement suggestions Part 1
                slide deck
    1261        4-LED modulation with 50 and 60 Hz network
                rejection slide deck



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196429
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                 Date           Date
                                                           Identified     Admitted
    1262        U.S. Patent No. 10,219,754                    11/5/2024     11/5/2024

    1263        Apple Presentation Slide (Proto-2 SiP HW
                changes and risks slide deck)
    1264        N27/N127 improvement suggestions Part 1
                slide deck
    1265        2020-08-18 [119] [SEALED] Declaration of
                Mohamed Diab in Support of Motion for
                Preliminary Injunction.PDF
    1266        2020-08-18 [120] [SEALED] Declaration of
                Jeroen Poeze in Support of Motion for
                Preliminary Injunction.PDF
    1267        U.S. Patent No. 5,632,272                     11/5/2024     11/5/2024

    1268        U.S. Patent No. 9,952,095                     11/6/2024     11/6/2024
    1269        U.S. Patent No. 11,009,390                    11/6/2024     11/6/2024
    1270        Masimo 2014 Annual Report                     11/5/2024     11/5/2024
    1271        Masimo 2016 Annual Report
    1272        Withdrawn
    1273        Withdrawn
    1274        Withdrawn
    1275        Withdrawn
    1276        Withdrawn
    1277        Withdrawn
    1278        Withdrawn
    1279        Withdrawn
    1280        Withdrawn
    1281        Withdrawn
    1282        Withdrawn
    1283        Withdrawn
    1284        Withdrawn
    1285        Withdrawn
    1286        Withdrawn
    1287        Withdrawn
    1288        Withdrawn
    1289        Withdrawn
    1290        Withdrawn
    1291        Withdrawn
    1292        Withdrawn
    1293        Withdrawn

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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196430
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    1294        Withdrawn
    1295        Withdrawn
    1296        Withdrawn
    1297        Withdrawn
    1298        Withdrawn
    1299        Withdrawn
    1300        Withdrawn
    1301        Withdrawn
    1302        Withdrawn
    1303        Withdrawn
    1304        Confidentiality Agreement (Thanh Van Le.pdf)

    1305        Confidentiality Agreement (Alisa Lesk.pdf)
    1306        Confidentiality Agreement (Cristiano
                Dalvi.pdf)
    1307        Confidentiality Agreement (Ferdyan
                Lesmana.pdf)
    1308        Confidentiality Agreement (Hung The Vo.pdf)
    1309        Confidentiality Agreement (Jeroen Poeze.pdf)      11/5/2024     11/5/2024
    1310        Confidentiality Agreement (Johannes
                Bruinsma.pdf)
    1311        Confidentiality Agreement (Kamila
                Maciejewska.pdf)
    1312        Confidentiality Agreement (Marcelo                11/6/2024     11/6/2024
                Lamego.pdf)
    1313        Confidentiality Agreement (Sean Merritt.pdf)
    1314        Withdrawn
    1315        Withdrawn
    1316        Withdrawn
    1317        Withdrawn
    1318        Withdrawn
    1319        Withdrawn
    1320        Withdrawn
    1321        Withdrawn
    1322        Withdrawn
    1323        Withdrawn
    1324        Withdrawn
    1325        Withdrawn
    1326        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196431
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1327        Withdrawn
    1328        Withdrawn
    1329        Withdrawn
    1330        Withdrawn
    1331        Withdrawn
    1332        Withdrawn
    1333        Withdrawn
    1334        Withdrawn
    1335        Withdrawn
    1336        Withdrawn
    1337        Withdrawn
    1338        Withdrawn
    1339        Withdrawn
    1340        Withdrawn
    1341        Withdrawn
    1342        Withdrawn
    1343        5/2/1998 Masimo - Masimo Labs Cross-
                Licensing Agreement
    1344        Amended and Restated Cross-Licensing               11/5/2024     11/5/2024
                Agreement between Masimo Laboratories and
                Masimo Corporation, effective January 1, 2007

    1345        Patent Transfer - 7-06-2015 - Cercacor
                signed.pdf
    1346        October 17, 2012 Smart Body, Smart World
    1347        12/1/13 The Future of Wearable Electronics:
                Forecasts, Segmentation and Applications
    1348        4/29/15 The Wearable Market
    1349        February 2019 Update CCS Insight Market
                Forecast Wearable Worldwide, 2019-2023
    1350        Wearable device market study (smartwatches
                and fitness devices) slide deck
    1351        Apple Watch Series 6 Launch Video                  11/7/2024     11/7/2024
    1352        Video, Apple Watch Series 6, Introducing
                Apple Watch Series 6 It Already Does That
    1353        https://www.apple.com/apple-watch-series-6         11/7/2024     11/7/2024
    1354        2019 Annual Report.pdf                             11/5/2024     11/5/2024
    1355        Withdrawn
    1356        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196432
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                    Date           Date
                                                              Identified     Admitted
    1357        Withdrawn
    1358        Withdrawn
    1359        Withdrawn
    1360        Withdrawn
    1361        Masimo W1 manual
    1362        Traditional 510(K) Pre-Market Notification
    1363        Freedom Aug QBR 2022                             11/5/2024     11/5/2024
    1364        9/1/2019 Masimo - Samsung NDA
    1365        January 5, 2020 Samsung Integrated Health
                Thesis
    1366        3/26/2013 Email from Paul Jansen to Adrian
                Perica, re FW: Checking In
    1367        4/15/2013 Email from Tom McClenahan to
                Steve Smith, Paul Jansen, Robin Diane
                Goldstein re RE: Checking In
    1368        4/11/2013 Email from Steve Smith to Paul
                Jansen, Tom McClenahan, Robin Diane
                Goldstein re Re: Checking In
    1369        Confidentiality Agreement between Apple and
                Masimo (20130415091945248.pdf)
    1370        1/20/2019 Email from Luca Maestri to Adrian
                Perica, re Re: Joe Kiani - Masimo CEO

    1371        Withdrawn
    1372        Apple Watch Board of Directors Update
    1373        Apple Watch Series 6 - Apple[2160, Mp4].mp4

    1374        Apple Watch Series 8 launch video
    1375        1/23/2013 Rover keynote
    1376        Watch Operations Expenditures
    1377        Project Team Member List
    1378        Cercacor Wearable Rainbow                        11/5/2024     11/5/2024
    1379        Wrist Transmission SpO2
    1380        1/3/2018 Cercacor Investigator's Brochure
    1381        Technical Presentation
    1382        Withdrawn
    1383        Apple Health | Week of September 16th
    1384        Withdrawn
    1385        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196433
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    1386        9/1/2007 Masimo - Industrial Vallera De
                Mexicali Lease Agreement
    1387        9/1/2007 Masimo - Industrial Vallera De
                Mexicali Lease Agreement
    1388        Withdrawn
    1389        Apple Watch US Price Committee August 2021

    1390        August 2014 DRAFT Price Committee
                N27/N28
    1391        2020 04 26 Shara Tibken - Remember when
                Apple Watch was a luxury item - Cnet.pdf
    1392        Withdrawn
    1393        2020 09 26 Apple Watch Series 6 - Apple.pdf

    1394        2020 09 15 Apple Watch Series 6 delivers
                breakthrough wellness and fitness capabilities -
                Apple.pdf
    1395        Withdrawn
    1396        1/17/2006 Masimo - Nellcor Settlement
                Agreement and Release of Claims
    1397        1/17/2006 Masimo - Nellcor Third Amendment
                to Settlement Agreement and Release of Claims

    1398        2019 Apple 10-K.pdf
    1399        Withdrawn
    1400        Withdrawn
    1401        Withdrawn
    1402        Withdrawn
    1403        Withdrawn
    1404        Withdrawn
    1405        Withdrawn
    1406        Withdrawn
    1407        Withdrawn
    1408        Withdrawn
    1409        Withdrawn
    1410        Masimo Financial Exports and Analyses
    1411        Masimo Wrist Worn R&D Expenditures
    1412        Masimo Lease Schedule



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196434
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description                   Date           Date
                                                           Identified     Admitted
    1413        Apple Inc. WW Sales_Apple Wathc All           11/7/2024     11/7/2024
                Models_FY22P07-FY22P09 -- Highly
                Confidential
    1414        Withdrawn
    1415        Withdrawn
    1416        Withdrawn
    1417        Withdrawn
    1418        Withdrawn
    1419        Withdrawn
    1420        Withdrawn
    1421        Q4FY17-Q3FY20 Watch Sport N111s &
                N111b BOM
    1422        Q4FY17-Q3FY20 Watch Sport N121s &
                N121b BOM
    1423        Withdrawn
    1424        Withdrawn
    1425        BOM
    1426        BOM
    1427        Withdrawn
    1428        BOM
    1429        Q4FY19-Q3FY20 N144s & N144b
    1430        Withdrawn
    1431        Withdrawn
    1432        Withdrawn
    1433        Withdrawn
    1434        Withdrawn
    1435        Withdrawn
    1436        Q3FY15-Q4FY16 N27A & N28A BOM
    1437        Q4FY16-Q4FY17 N74 & N75 BOM
    1438        Q4FY16-Q3FY18 N27D & N28D BOM
    1439        Q3FY21 SE Sport N140s & N140b BOM
    1440        Q3FY21 N121s & N121b BOM
    1441        Technical Presentation
    1442        Apple Watch Buyer Survey FY19-Q1 Report       11/7/2024     11/7/2024
                slide deck
    1443        Apple Watch Buyer Survey FY 19-Q2 Report      11/7/2024     11/7/2024
    1444        Apple Watch Buyer Survey FY19-Q3 Report       11/7/2024     11/7/2024
                slide deck



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196435
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description                   Date           Date
                                                           Identified     Admitted
    1445        Apple Watch Buyer Survey FY19-Q4 Report       11/7/2024     11/7/2024
                slide deck
    1446        Apple Watch Buyer Survey FY20-Q1 Report       11/7/2024     11/7/2024
                slide deck
    1447        Apple Watch Buyer Survey FY20-Q2 Report       11/7/2024     11/7/2024
                slide deck
    1448        Apple Watch Buyer Survey FY20-Q3 Report       11/7/2024     11/7/2024
                slide deck
    1449        Apple Watch Buyer Survey FY20-Q4 Report       11/7/2024     11/7/2024
                slide deck
    1450        Q4FY20 Watch Sport N144s & N144b BOM
    1451        Q4FY20 Watch Sport/Viper/Iceman N146s &
                N146b BOM
    1452        Q4FY20-Q2FY21 Watch SE Sport N140s &
                N140b BOM
    1453        Q4FY20-Q2FY21 Watch SE Sport N142s &
                N142b BOM
    1454        Q3FY21 SE Sport N142s & N142b BOM
    1455        BOM
    1456        Technical Presentation
    1457        BOM
    1458        12/17/2021 Product Cost Details Product:
                AppleWatch N187b
    1459        12/17/2021 Product Cost Details Product:
                AppleWatch N188s
    1460        12/17/2021 Product Cost Details Product:
                AppleWatch 188b
    1461        3/25/2022 Product Cost Details Product:
                AppleWatch N188s
    1462        3/25/2022 Product Cost Details Product:
                AppleWatch N188b
    1463        3/25/2022 Product Cost Details Product:
                AppleWatch N187b
    1464        2010 Apple 10-K.pdf
    1465        2011 Apple 10-K.pdf
    1466        2012 Apple 10-K.pdf
    1467        2014 Apple 10-K.pdf
    1468        2015 Apple 10-K.pdf
    1469        2016 Apple 10-K.pdf


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196436
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    1470        2017 Apple 10-K.pdf
    1471        2018 Apple 10-K.pdf
    1472        Masimo 2010 Blanace Sheet and Income
                Statement
    1473        Masimo 2011 Income Statement
    1474        Masimo 2012 Income Statement
    1475        Masimo 2014 Income Statement
    1476        Masimo 2015 Income Statement
    1477        Masimo 2016 Income Statement
    1478        Masimo 2017 Income Statement
    1479        Masimo 2018 Income Statement
    1480        Masimo 2019 Income Statement
    1481        Masimo 2020 Income Statement
    1482        9/28/2005 Masimo - Radiometer Medical APS
                Purchasing and Licensing Agreement
    1483        Masimo - Radiometer Medical ApS & Linde
                Amendment Number One to Purchasing and
                Licensing Agreement
    1484        10/20/2005 Masimo - Nellcor Binding
                Memorandum of Understanding
    1485        4/25/2006 Masimo - Dolphin Binding
                Settlement Agreement
    1486        6/19/2006 Masimo - Respironics MX-1 Binding
                Licensing Letter of Intent
    1487        7/26/2006 Amendment to Respironics -
                Masimo MX-1 Binding Licensing Letter of
                Intent
    1488        10/17/2006 Masimo - Spacelabs Settlement
                Agreement
    1489        10/28/2006 Draeger Masimo Summary
                Agreement
    1490        3/31/2007 Masimo - Draeger Medical AG &
                Co. KG Procurement and License Agreement
    1491        4/23/2009 Masimo - Iradimed Purchasing and
                Licensing Agreement
    1492        4/30/2009 Masimo - Respironics Settlement
                Agreement
    1493        7/1/2009 Masimo - Draeger Amendment One to
                Procurement and License Agreement


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196437
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1494        11/16/2015 Masimo - Mindray Settlement and
                Convenant not to Sue Agreement
    1495        11/16/2015 Exhibit C to Mindray Settlement
                and Covenant not to Sue Agreement,
                Assignment
    1496        11/05/2016 Masimo - Philips Settlement
                Agreement and Release of Claims
    1497        11/5/2016 Masimo - Philips Supply Agreement

    1498        Apple Presentation, WATCH: A Brief History
                slide deck
    1499        9/30/2013 Email from Daniel Culbert to Myra
                Haggerty, Jack Fu re Re: Masimo collaboration
                & move feedback?
    1500        Marketing Plan iSpO2 PLN-1737A.docx
    1501        Masimo Product Brief (PRB-1181A.docx)
    1502        UH - Masimo SafetyNet - Rev A.pdf
    1503        Clinical Study Cost Time Discussion rev
                6.pptx
    1504        Cercacor Clinincal Study Strategy -
                DRAFT.pptx
    1505        Withdrawn
    1506        Kiani 1990-01-11 (Ex. 1146).pdf                    11/5/2024     11/5/2024
    1507        https_www.masimopersonalhealth.com_produc
                ts_masimo-w1.pdf
    1508        Withdrawn
    1509        Withdrawn
    1510        Withdrawn
    1511        Withdrawn
    1512        Withdrawn
    1513        Withdrawn
    1514        Withdrawn
    1515        Withdrawn
    1516        Withdrawn
    1517        Withdrawn
    1518        Withdrawn
    1519        Withdrawn




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196438
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
    1520        Apple Watch Series 6 Website from 12/28/2020
                (S6211599-apple-watch-series-6-
                overview.PDF)
    1521        Email from Bronwyn Harris to Steve Waydo re
                ANPP Scandium Project (Shadow iCal)
                attaching 6/26/2019 Scandium Feature Lock
                Review keynote
    1522        Withdrawn
    1523        Withdrawn
    1524        Masimo SafetyNet brochure
    1525        Withdrawn
    1526        Withdrawn
    1527        Withdrawn
    1528        Withdrawn
    1529        Withdrawn
    1530        Withdrawn
    1531        Withdrawn
    1532        Withdrawn
    1533        10/4/2013 Proposed New Sensors for Next-
                Generation N27 Device keynote
    1534        Withdrawn
    1535        Withdrawn
    1536        Withdrawn
    1537        Withdrawn
    1538        Withdrawn
    1539        Withdrawn
    1540        Withdrawn
    1541        Withdrawn
    1542        Withdrawn
    1543        Withdrawn
    1544        Steve Jobs The Lost Interview
    1545        Steve Jobs The Lost Interview
    1546        Steve Jobs The Lost Interview
    1547        Steve Jobs The Lost Interview
    1548        Steve Jobs The Lost Interview
    1549        Steve Jobs The Lost Interview
    1550        Withdrawn
    1551        Withdrawn
    1552        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196439
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1553        Withdrawn
    1554        Withdrawn
    1555        Withdrawn
    1556        Withdrawn
    1557        10/15/2013 Project Everest keynote                 11/8/2024     11/8/2024
    1558        10/30/2013 Email from Jeff Williams to Mike
                OReilly, re Re: Everest
    1559
                2/12/2013 Rover Discussion Materials keynote
    1560        Withdrawn
    1561        5/30/2013 Email from Denby Frazier to stephen
                zadesky, re Re: Mike O'Reilly/Candidate for
                Bob
    1562        Withdrawn
    1563
                8/29/2013 Email from Steve Hotelling to
                Adrian Perica and Steve Smith re Fwd: Rover |
                8/28 with attachment PastedGraphic-1.png
    1564        Withdrawn
    1565        Withdrawn
    1566        Withdrawn
    1567        Withdrawn
    1568        Withdrawn
    1569
                9/24/2013 Email from Mike OReilly to Jennifer
                Walker, David Coletta re Re: Congrats
    1570        Withdrawn
    1571        Withdrawn
    1572        Withdrawn
    1573        Withdrawn
    1574        Withdrawn
    1575        PLM-
                11119A_Technical_Bulletin_HL7_Deployment
                _and_Configuration_Guide_For_Masimo_Prod
                uct_US.pdf
    1576        LAB7979A_Technical_Bulletin_Patient_Safety
                Net_HL7.pdf
    1577        ATT A-13_Masimo Brochure_Patient
                SafetyNet.pdf


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196440
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                  Date           Date
                                                           Identified     Admitted
    1578        Withdrawn
    1579        Withdrawn
    1580        Withdrawn
    1581        https_www.apple.com_healthcare_.pdf          11/12/2024    11/12/2024
    1582        9/20/18 Apple Watch Physician Website --
                Early Draft
    1583        Withdrawn
    1584        Withdrawn
    1585        Withdrawn
    1586        Masimo_KSA_MOH_GE_MDI_
                Proposal_v5.docx
    1587        Cercacor Brain storming 2014_01_30.docx
    1588        Withdrawn
    1589        Withdrawn
    1590        Withdrawn
    1591        Withdrawn
    1592        Withdrawn
    1593        Withdrawn
    1594        Withdrawn
    1595        Withdrawn
    1596        Withdrawn
    1597        Michael O'Reilly Folder.pdf
    1598        Withdrawn
    1599        Withdrawn
    1600        Withdrawn
    1601        Withdrawn
    1602        Withdrawn
    1603        Withdrawn
    1604        Withdrawn
    1605        Withdrawn
    1606        Withdrawn
    1607        Withdrawn
    1608        Withdrawn
    1609        Withdrawn
    1610        Withdrawn
    1611        Withdrawn
    1612        Withdrawn
    1613        Withdrawn
    1614        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196441
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    1615        Withdrawn
    1616        Withdrawn
    1617        Clinical Study Request Form 000417
                INVSENSOR00040 (Air Watch) Feasibility
    1618        Clinical Study Request (CSR) Form 000417 -
                INVSENSOR00040 (Air Watch) Feasibility
    1619        Cigalah Healthcare Company Purchase Order
    1620        STK Sensor Assembly Video
    1621        W1 List of Voluntary Standards
    1622        W1 Cybersecurity Post-Market Management
                Plan
    1623        Test Report Clinical Performance Validation of
                Masimo W1 for Heart Rate Measurement
    1624        Test Report Masimo W1 - IEC 60601-1, 3rd,
                Ed, A1
    1625        Test Report STK; Environmental Storage and
                Transport Test Report
    1626        Test Report STK; Environmental Operational
                Conditions Test Report
    1627        Test Report STK; Ingress Protection and
                Spillage Test Report
    1628        Protocol/Test Procedure Environmental Storage
                and Transport Conditions Tests, Masimo
                Sensors & Cables
    1629        Test Report W1 AIM Test Report
    1630        STK; Optical Component Assembly; Tested
    1631        Test Report Cleaning Validation for Masimo
                W1 (Bands) using 70% Isopropyl Alcohol
                (Pass)
    1632        Test Report STK; Biocompatibility Test Report

    1633        Picture of Masimo Physical
                (MASA_P_096_A.jpg)
    1634        Picture of Masimo Physical
                (MASA_P_096_B.jpg)
    1635        Picture of Masimo Physical
                (MASA_P_097_A.jpg)
    1636        Picture of Masimo Physical
                (MASA_P_097_B.jpg)


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196442
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
    1637        Masimo Watch Clinical Expenditures
    1638        Masimo Watch Regulatory and QA
                Expenditures
    1639        STK Front End Expenses March 2021-June
                2022
    1640        STK-Production tooling CAR#20-53 November
                2021-June 2022
    1641        STK_QA CAR#20-51 March 2021-March 2022

    1642        STK-Manufcaturing tooling & Equipment
                CAR#20-47
    1643        W1 Testing TUV SUD W1 Testing Quotation
    1644        Diab Looseleafs (2005_Diab_looseleafs8.pdf)      11/5/2024     11/5/2024


    1645        STK Summary for Finance
    1646        Withdrawn
    1647        Withdrawn
    1648        Withdrawn
    1649        Withdrawn
    1650        Withdrawn
    1651        Withdrawn
    1652        Masimo Press Release: "Masimo iSpO2 Pulse
                Oximeter for iOS Platform (iPhone, iPad &
                iPod touch) for Consumers to Debut at CES"

    1653        Email from Adrian Perica to Paul Jansen re
                Apple-Masimo Meeting in Early 2013
    1654        Email from Marcelo Lamego to Tim Cook re
                "The three equations"
    1655        Withdrawn
    1656        Email from Aditya Dua to Steven Rybicki re
                Obfuscating Purchase of Masimo Sensors,
                dated January 14, 2020
    1657        Apple N27A Platinum 3rd Party Hardware
                Benchmarking Presentation, dated August 12,
                2013
    1658        Masimo Freedom Watch Go-to-Market Plan -
                November 24, 2020 Presentation



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196443
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1659        Masimo Watch (STK) Algorithms/Sensor -
                October 6, 2020 Presentation
    1660        Masimo Watch (STK) SpO2/Pulse Rate
                Measurement Accuracy Plots
    1661        Masimo Air Watch V1 - Technical Presentation
                - December 2, 2020 Presentation
    1662        Masimo Watch Presentation - March 8, 2021
    1663        Apple BC Architecture Development
                Presentation
    1664        Article: "Apple Pays for Its Patent
                Infringement, But Important Legal Cases
                Continue"
    1665        Article: "Tech Giants Are Using Efficient
                Infringement (a.k.a. Invention Theft) to Crush
                Competitors and Kill Innovation"
    1666        Article: "The Patent Troll Smokescreen"
    1667        Congressional Questions, "Online Platforms
                and Market Power Part 6: Examining the
                Dominance of Amazon, Apple, Facebook, and
                Google," "Questions for the Record from the
                Honorable Henry "Hank" Johnson, Jr.,"
                "Questions for Tim Cook, CEO, Apple, Inc.
    1668        David Dalke Employee folder 2.5.pdf
    1669        David Dalke Employee folder 2.14.pdf
    1670        David Dalke Employee folder 2.22.pdf
    1671        David Dalke Employee folder 2.33.pdf
    1672        David Dalke Employee folder 2.40.pdf
    1673        Mohamed Diab Folder 8.26.2021.pdf                   11/6/2024     11/6/2024
    1674        Lamego - Masimo Confidentiality Agreement
    1675        1/28/2003 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego
    1676        Lamego - Masimo Confidentiality Agreement
    1677        5/14/2009 Jeroen Poeze Confidentiality              11/5/2024     11/5/2024
                Agreement
    1678        Robert Smith Folder 1.15.pdf
    1679        Robert Smith Folder 1.16.pdf
    1680        Robert Smith Folder 1.28.pdf
    1681        Robert Smith Folder 1.35.pdf
    1682        Robert Smith Folder 1.74.pdf


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196444
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    1683        Robert Smith Folder 1.77.pdf
    1684        5/11/1993 Robert Smith Confidentiality
                Agreement
    1685        Greg Olsen - Agreements & Onboarding
                Docs.pdf
    1686        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.6.pdf)
    1687        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.19.pdf)
    1688        Confidentiality Agreement (Phil Weber folder 2
                -3.31.22.32.pdf)
    1689        Confidentiality Agreement (Walt)
                (Weber_33.pdf)
    1690        Acknowledgment of Receipt and At-Will
                Agreement (Walt) (Weber_46.pdf)
    1691        3/16/2018 Walter Weber Confidentiality
                Agreement
    1692        5/7/1993 Walter Weber Confidentiality
                Agreement
    1693        10/15/1995 Walter Weber Acknowledgment of
                Reciept of Masimo Corporation Employee
                Handbook
    1694        3/24/1992 Walter Weber Nondisclosure and
                Confidentiality Agreement
    1695        10/30/1992 Walter Weber Acknowledgment of
                Receipt of Vital Signals Inc. Employee
                Handbook
    1696        5/18/1993 Walter Weber Acknowledgment of
                Receipt of Masimo Corporation Employee
                Handbook
    1697        3/3/2010 Walter Weber Confidentiality
                Agreement
    1698        2/1/2005 Walter Weber Confidentiality
                Agreement
    1699        5/10/1999 Walter Weber Acknowledgement of
                Receipt and At-Will Agreement
    1700        Personnel File (Ammar Al-Ali Folder 1.pdf)
    1701        Personnel File (Ammar Al-Ali Folder 1.pdf)
    1702        Personnel File (Ammar Al-Ali Folder 2.pdf)


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196445
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1703        Amendment to Employee Confidentiality
                Agreement (Al-Ali_6.pdf)
    1704        Confidentiality Agreement (James Pishney
                employment folder 2.3.pdf)
    1705        Amendment to Employee Confidentiality
                Agreement (James Pishney employment folder
                2.25.pdf)
    1706        Confidentiality Agreement (James Pishney
                employment folder 2.28.pdf)
    1707        Confidentiality Agreement (James Pishney
                employment folder 2.49.pdf)
    1708        Confdientiality Agreement (James Pishney
                employment folder 2.72.pdf)
    1709        Acknowledgment of Receipt of Masimo
                Corporation Employee Handbook (James
                Pishney employment folder 2.74.pdf)
    1710        Masimo 8K (2015-11-05 8-K.pdf)
    1711        Masimo 8K (2017-08-02 8-K.pdf)
    1712        Masimo S-1 (2007-04-17 S-1.pdf)
    1713        1/27/2014 Strategic Deals Health Monitoring
                Sourcing List
    1714        2014-02-11 Meeting Invite "Patent Meeting
                Continued"
    1715        2014-02-11 Meeting Invite "Patent Meeting
                Continued"
    1716        9/28/2013 Email from Joe Kiani to Marcelo          11/5/2024     11/5/2024
                Lamego re AP
    1717        Masimo’s Email Use Policy
    1718        10/2012 Apple Presentation, "Rover Discussion
                Materials"
    1719        10/2/2013 Email from Marcelo Lamego to Tim         11/7/2024     11/7/2024
                Cook re The three equations
    1720        12/4/2013 Email from Lynn Youngs to Denby
                Frazier re Marcelo/Propsed Offer
    1721        6/30/2014 Email from Marcelo Lamego to
                Steve Hotelling re Gen 1 Alg help [no
                attachments]
    1722        9/9/2014 U.S. Patent Provisional Application
                No. 62/047,818


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196446
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    1723        File history of U.S. Patent Application No.
                14/621,268 (U.S. Patent No. 10,219,754)
    1724        3/4/2014 Email from Apple patent system to
                Marcelo Lamego re P22733-Frontend, led
                driver, and modulation and demodulation
                algorithm for high quality fitness and wellness
                data collection system
    1725        3/16/2014 Email from Apple patent system to
                Marcelo Lamego re P22879-Modulation and
                demodulation schemes for noninvasive fitness
                and wellness devices
    1726        Madisetti Report Appendix 3 - Plaintiffs' Trade
                Secrets
    1727        Capture of Masimo website re its 2012 Press
                Releases
    1728        1/7/2009 Email from Marcelo Lamego to Sean
                Merritt re template [with attachment]
    1729        Curriculum Vitae of Vijay Madisetti, Ph.D.           11/6/2024     11/6/2024
    1730        Withdrawn
    1731        Withdrawn
    1732        Withdrawn
    1733        Withdrawn
    1734        Withdrawn
    1735        Withdrawn
    1736        Withdrawn
    1737        Withdrawn
    1738        Exhibit 3.A to Kinrich Expert Report Updated
                10-17-22 – Lost Sensor Sales Price Elasticity
                Adjustment Q1 FY 2018 – Q3 FY 2022
    1739        Exhibit 3.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Subscription Annual Price
                Adjustment Q1 FY 2018 – Q3 FY 2022
    1740        Withdrawn
    1741        Withdrawn
    1742        Exhibit 5.B to Kinrich Expert Report Updated         11/7/2024     11/7/2024
                10-17-22 – Apple Gross Profits Benefits U.S.
                FY 2020 – Q3 FY 2022




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                                 ID #:196447
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1743        Exhibit 5.C to Kinrich Expert Report Updated        11/7/2024     11/7/2024
                10-17-22 – Apple Gross Profits Benefits
                Worldwide
                FY 2020 – Q3 FY 2022
    1744        Exhibit 5.D to Kinrich Expert Report Updated        11/7/2024     11/7/2024
                10-17-22 – Incremental Gross Proft of Apple
                Watch 6 and 7 versus SE U.S. and Worldwide
                Q4 FY 2020 – Q3 FY 2022
    1745        Exhibit 6.A to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits and
                Running Royalty Excluding Subscription Q1
                FY 2018 – Q3 FY 2022
    1746        Exhibit 6.B to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits U.S.,
                Excluding Subscription Q1 FY 2018 – Q3 FY
                2022
    1747        Exhibit 6.C to Kinrich Expert Report Updated
                10-17-22 – Present Value of Lost Profits
                Worldwide, Excluding Subscription Q1 FY
                2018 – Q3 FY 2022
    1748        Exhibit 6.D to Kinrich Expert Report Updated
                10-17-22 – Present Value of Running Royalty
                U.S., Excluding Subscription Q1 FY 2018 – Q3
                FY 2022
    1749        Exhibit 6.E to Kinrich Expert Report Updated
                10-17-22 – Present Value of Running Royalty
                Worldwide, Excluding Subscription Q1 FY
                2018 – Q3 FY 2022
    1750        Exhibit 6.B-E to Kinrich Expert Report
                Updated 10-17-22 – Present Value of Lost
                Profits and Running Royalty Excluding
                Subscription (Notes)
    1751        Exhibit 6.F to Kinrich Expert Report Updated
                10-17-22 – Present Value of Incremental
                Development Expense, June 1, 2013 – June 30,
                2022




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                                 ID #:196448
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    1752        Exhibit 7.A to Kinrich Expert Report Updated
                10-17-22 – Total Royalty Owed to Masimo
                U.S. vs. Worldwide Q4 FY 2016 – Q3 FY 2022

    1753        Exhibit 7.B to Kinrich Expert Report Updated
                10-17-22 – Total Royalty Owed to Masimo Q4
                FY 2016 – Q3 FY 2022
    1754        Exhibit 8.A to Kinrich Expert Report Updated       11/7/2024     11/7/2024
                10-17-22 – Apple Watch Sales Q3 FY 2015 –
                Q3 FY 2022
    1755        Exhibit 8.B to Kinrich Expert Report Updated       11/7/2024     11/7/2024
                10-17-22 – Apple Watch Sales Worldwide
                Q3 FY 2015 – Q3 FY 2022
    1756        Exhibit 9.A to Kinrich Expert Report Updated
                10-17-22 – Apple Watch Average Price and
                Standard Profit per Unit U.S. Q3 FY 2015 – Q3
                FY 2022
    1757        Exhibit 9.B to Kinrich Expert Report Updated
                10-17-22 – Apple Watch Average Price and
                Standard Profit per Unit Worldwide Q3 FY
                2015 – Q3 FY 2022
    1758        Exhibit 10.A to Kinrich Expert Report Updated
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 171 "For which of
                these purposes did you decide to get an Apple
                Watch? (select all that apply)" Q1 FY 2019–Q1
                FY 2021
    1759        Exhibit 10.B to Kinrich Expert Report Updated
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 172 "And which
                of these was the most important purpose why
                you decided to get an Apple Watch? (select
                one)" Q1 FY 2019–Q1 FY 2021




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                                 ID #:196449
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    1760        Exhibit 10.C to Kinrich Expert Report Updated          11/7/2024     11/7/2024
                10-17-22 – U.S. Apple Watch Buyer Survey
                Responses - Responses to Q. 173 "Which of
                these new features, if any, were most influential
                in your decision to get the Apple Watch? (select
                all that apply)" Q1 FY 2019–Q1 FY 2021


    1761        Exhibit 11.A to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 4, Q4 FY
                2018–Q4 FY 2019
    1762        Exhibit 11.B to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 5, Q4 FY
                2019–Q4 FY 2020
    1763        Exhibit 11.C to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch SE, Q4 FY
                2020–Q3 FY 2021
    1764        Exhibit 11.D to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 6, Q4 FY
                2020–Q3 FY 2021
    1765        Exhibit 11.E to Kinrich Expert Report Updated
                10-17-22 – Summary of Apple Watch Bill of
                Materials and Estimation of Cost of Apple
                Sensor Module, Apple Watch Series 7, Q1 FY
                2022–Q2 FY 2022
    1766        Exhibit 12 to Kinrich Expert Report Updated 10-        11/7/2024     11/7/2024
                17-22 – Apple Watch Line of Business Report
                (Worldwide) Q3 FY 2015 – Q2 FY 2022

    1767        Exhibit 13.A to Kinrich Expert Report Updated
                10-17-22 – Apple Inc. Income Statement FY
                2010 – FY 2021


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196450
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                          Date           Date
                                                                     Identified     Admitted
    1768        Exhibit 13.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Corp. Income Statement
                Q4 2010 – Q3 2020

    1769        Exhibit 14 to Kinrich Expert Report Updated 10-         11/7/2024     11/7/2024
                17-22 – Apple Watch Feature Comparison,
                Series 4 through Series 7, 2018—2021

    1770        Exhibit 15.A to Kinrich Expert Report Updated
                10-17-22 – Apple Agreements
    1771        Exhibit 15.B to Kinrich Expert Report Updated
                10-17-22 – Masimo Agreements with Third
                Parties and Masimo – Cercacor Agreements

    1772        Withdrawn
    1773        Withdrawn
    1774        Withdrawn
    1775        Withdrawn
    1776        Withdrawn
    1777        Withdrawn
    1778        Withdrawn
    1779        Withdrawn
    1780        Withdrawn
    1781        Withdrawn
    1782        8/15/2022 Apple's Objections and Responses to
                Plaintiffs' First Set of Requests for Admissions
                (Nos. 1-50)
    1783        9/6/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' First Set
                of Interrogatories (Nos. 1-5)
    1784        5/25/2022 [HC-AEO] Apple's Fourth
                Supplemental Objections and Responses to
                Plaintiffs' Second Set of Interrogatories (No. 6)

    1785        9/6/2022 [HC-AEO] [Redacted] Apple's
                Supplemental Objections and Responses to
                Plaintiffs' Second Set of Interrogatories (Nos. 6-
                10)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196451
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                         Date           Date
                                                                     Identified     Admitted
    1786        10/7/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Third
                Set of Interrogatories to Apple (Nos. 11-13)
   1786.1       10/7/2022 [HC-AEO] Apple's Supplemental                 11/8/2024     11/8/2024
                Objections and Responses to Plaintiffs' Third
                Set of Interrogatories to Apple (Nos. 11-13) -
                EXCERPT
    1787        10/7/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Fourth
                Set of Interrogatories to Apple (Nos. 14-16)

    1788        3/4/2022 Apple's Supplemental Objections and
                Responses to Plaintiffs' Fifth Set of
                Interrogatories (No. 19)
    1789        8/5/2022 [HC-AEO] Apple's Fifth
                Supplemental Objections and Responses to
                Plaintiffs' Fifth Set of Interrogatories (Nos. 20-
                21)
    1790        9/12/2022 [HC-AEO] [Corrected] Apple' s                 11/6/2024     11/6/2024
                Supplemental Objections and Responses to
                Plaintiffs_ Fifth Set of Interrogatories (Nos. 17-
                22)
   1790.1       9/12/2022 [HC-AEO] [Corrected] Apple' s                11/12/2024    11/12/2024
                Supplemental Objections and Responses to
                Plaintiffs_ Fifth Set of Interrogatories (Nos. 17-
                22)
    1791        9/6/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Sixth
                Set of Interrogatories (Nos. 23-24)
    1792        4/29/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Seventh
                Set of Interrogatories (No. 25)
    1793        6/15/2022 [HC-AEO] Apple's Objections and
                Responses to Plaintiffs' Eighth Set of
                Interrogatories (Nos. 26-35)
    1794        8/5/2022 [HC-AEO] Apple's Supplemental
                Objections and Responses to Plaintiffs' Eighth
                Set of Interrogatories (Nos. 26-27, 30, 34)




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196452
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                           Date           Date
                                                                      Identified     Admitted
    1795        9/15/2022 [HC-AEO] Apple's Supplemental                 11/12/2024    11/12/2024
                Objections and Responses to Plaintiffs' Eighth
                Set of Interrogatories (No. 32)
    1796        9/6/2022 [HC-AEO] [Redacted] Apple's
                Supplemental Objections and Responses to
                Plaintiffs' Eighth Set of Interrogatories (Nos. 26-
                35)
    1797        INTENTIONALLY OMITTED
    1798        2/8/2021 Email from David Fang to Heather
                (HI) Daniel et al. re [Reg Scandium]
                Competitive Analysis [with attachment]
    1799        INTENTIONALLY OMITTED
    1800        1/30/2020 Email from Ron Cordell to Aditya
                Dua re Scandium Liveon
    1801        2/19/2021 Email from Hai Pham to David Fang
                re Masimo SpO2 Ref Devices in Inventory?

    1802        1/14/2020 Email from Aditya Dua to Steven
                Rybicki re Buying Masimo Bluetooth SpO2
                Sensors for Scandium live-on
    1803        INTENTIONALLY OMITTED
    1804        Data Flow Presentation
    1805        INTENTIONALLY OMITTED
    1806        1/17/2019 Email from Chau Nguyen to Dong
                Zheng re ASIC
    1807        5/20/2021 Dkt. No. 379-5 [HC-AEO]
                Declaration of Michael O'Reilly in Support of
                Apple's Opposition to Plaintiffs' Motion to
                Compel Tim Cook's ESI
    1808        5/20/2021 Dkt. No. 379-6 [HC-AEO]
                Declaration of Adrian Perica in Support of
                Apple's Opposition to Plaintiffs' Motion to
                Compel Tim Cook's ESI
    1809        Withdrawn
    1810        Withdrawn
    1811        Withdrawn
    1812        Withdrawn
    1813        Withdrawn
    1814        Apple Website- Healthcare                               11/12/2024    11/12/2024


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196453
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    1815        Apple Website- Empower your patients with
                their health data
    1816
                Apple Website- See more of yourself in Health
    1817        Apple Website- Apple Watch. Empowering
                your patients to live a healthier day.
    1818        Masimo Website- Patient SafetyNet
    1819        Masimo Website- W1
    1820        Withdrawn
    1821        Withdrawn
    1822        Withdrawn
    1823        Masimo Marketing Plan for iSpO2 (Consumer
                and Rx)
    1824        Cercacor Marketing Plan for G2
    1825        Withdrawn
    1826        Withdrawn
    1827        Technical Presentation                              11/4/2024     11/4/2024
    1828        ASIC Specifications and Requirements                11/4/2024     11/4/2024
    1829        6/12/2020 Apple Drawing Number 380-00124,
                Rev. A, ASSEMBLY, OPT.A, FOLSOM, ASE,
                X1606
    1830        8/10/2020 Apple Drawing Number 613-13494,
                Rev. A, X1680, BC ASSY, FS, SM
    1831        Apple Presentation, "BC Architecture"
    1832        2/28/14 Han slides on BC component-level
                ambient intrusion tests
    1833        2/21/14 Han slides on optical leakage
                mitigation
    1834         1/21/14 Email from Hotelling regarding
                Lamego 1/27 start date
    1835        N27 Platinum refinement plan meeting
                invitation 3/7/14, includes Lamego and only 4
                others
    1836        Optical Architecture Weekly restricted meeting
                invitation 2/3/14, includes Lamego and only 4
                others
    1837        Multiple Channel Pulse Oximetry restricted
                meeting invitation 2/6/14, includes Lamego and
                only 4 others


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                                 ID #:196454
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1838        N27 sensor review meeting invitation 1/31/14,
                includes Lamego
    1839        2/18/14 N27A Platinum Exec Update (weekly),
                includes Lamego, O’Reilly and many others

    1840        2/19/14 slides showing N27A Platinum
                Algorithm Update
    1841        2/25/14 slides on N27A Platinum Exec Status
    1842        Series 2 (N7x) Visual BOM
    1843        Visual BOM
    1844        Recognition for Excellence
    1845        Withdrawn
    1846        Masimo Awards from website (2009)
    1847        Masimo Awards webpage (2020)                       11/5/2024     11/5/2024
    1848        Masimo.com Recognitions for Excellence
                (2014)
    1849        DOTmed News WHO provides insights into
                global medical technology needs August 25,
                2010
    1850        Withdrawn
    1851        Withdrawn
    1852        Withdrawn
    1853        Withdrawn
    1854        WSJ Patent Scorecard for 2010
    1855        SCCM Technology Excellence Award
    1856        Masimo - Awards
    1857        Safe Care Magazine Joe Kiani Cover Story           11/5/2024     11/5/2024
                "Can this man save American healthcare?
    1858        Patient Safety Movement Announces 69,519
                Lives Saved _ Patient Safety Movement
    1859        Medical Technology Companies Have Signed
                the Patient Safety Movement’s Open Data
                Pledge - Patient Safety Movement
    1860        About - Patient Safety Movement
    1861        Masimo CEO Joe Kiani Named Ernst & Young
                Entrepreneur of the Year
    1862        Market Engineering Award for Competive
                Strategy
    1863        Medical Design Excellence Awards


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                                 ID #:196455
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    1864        Market Engineering Awards for the Blood and
                Gas Monitoring Equipment Market
    1865        SCCM Technology Excellence Award February
                2000
    1866        Highest Audie Lewis customent satisfaction
                rating ever
    1867        Masimo Receives Frost & Sullivan's Product
                Quality Leadership Award
    1868        2003 Frost & Sullivan Honors Masimo for            11/5/2024     11/5/2024
                Setting Patient Monitoring Standard of Care
    1869        AEA Honors Masimo with Innovative                  11/5/2024     11/5/2024
                Product/Technology Award 2001
    1870        2001 Medical Design Excellence Award for           11/5/2024     11/5/2024
                RadicalSignal Extraction Pulse Oximenter
    1871        Masimo Corp. Outstanding Medical Device Co.        11/5/2024     11/5/2024
                - AEA 2000 high tech Award Winner
    1872        SCCM Technology Excellence Award
    1873        Masimo Awards
    1874        The Society for Critical Care Medicine Honors
                Masimo Corp. with the SCCM Technology
                Excellence Award
    1875        Early Photo of Kiani Diab
    1876        Kiani Fortune Cookie Fortune
    1877        2003 Masimo Press Releases
    1878        2004 Masimo Press Releases
    1879        2005 Masimo Press Releases                         11/5/2024     11/5/2024
    1880        2006 Masimo Press Releases
    1881        2007 Masimo Press Releases
    1882        2008 Masimo Press Releases                         11/5/2024     11/5/2024
    1883        2009 Masimo Press Releases
    1884        Masimo in the News April 2010
    1885        Masimo in the News December 2009
    1886        Masimo in the News February 2010
    1887        Masimo in the News January 2010
    1888        Masimo in the News July 2010
    1889        Masimo in the News March 2010
    1890        Masimo in the News May-June 2010
    1891        Masimo in the News October-November 2009



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                                 ID #:196456
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    1892        Masimo Press Releases 2010
    1893        Masimo Press Releases 2011
    1894        Masimo Press Releases 2012
    1895        Masimo Press Releases 2013
    1896        2017 Masimo Annual Report
    1897        File History for U.S. Patent No. 9,723,997
   1897.1       Excerpt of file history of U.S. Patent No.        11/5/2024     11/5/2024
                9,723,997
    1898        File History for U.S. Patent No. 10,078,052
    1899        File History for U.S. Patent No. 10,219,754
   1899.1       Excerpt of file history of U.S. Patent No.        11/5/2024     11/5/2024
                10,219,754
    1900        File History for U.S. Patent No. 9,952,095
   1900.1       Excerpt of file history of U.S. Patent No.        11/5/2024     11/5/2024
                9,952,095
    1901        File History for U.S. Patent No. 11,009,390
    1902        Photo of Diab and Kiani                           11/5/2024     11/5/2024
    1903        1990 Diab lab notebook
    1904        Photo of Diab and "Big Red" Cluster               11/5/2024     11/5/2024
    1905        Masimo's progress report on HbCO
                development and Rainbow Feasibility Study
    1906        Photo of Diab and Lamego                          11/5/2024     11/5/2024
    1907        Email from Joe Kiani announcing promotion of
                Lamego to Chief Technical Officer
    1908        Rainbow Project-Feasibility Study for             11/5/2024     11/5/2024
                Noninvasive Detection of Carbon Monoxide
    1909        Diab's lab notebook
    1910        Diab's 1990 lab notebook                          11/6/2024     11/6/2024
    1911        Source.zip (Pronto-7 MATLAB code archive)

    1912        compare.m (Pronto-7 MATLAB code file)             11/6/2024     11/6/2024
    1913        Algorithm.zip (Pronto-7 MATLAB code
                archive)
    1914        immediate_7.m (Pronto-7 MATLAB code file)

    1915        USP 10524671 File History
    1916        Withdrawn
    1917        Withdrawn
    1918        Frontendalg.m


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                                 ID #:196457
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description              Date           Date
                                                      Identified     Admitted
    1919        Withdrawn
    1920        Withdrawn
    1921        Crosstalk degradation investigation
    1922        1992-_Diab_Black Bound Notebook.pdf
    1923        1994 Diab Notebook
    1924        Withdrawn
    1925        Withdrawn
    1926        Withdrawn
    1927        Dalke Notebook 105 - 1997
    1928        Bob Smith Lab Notebook 295
    1929        Dalke Notebook 301
    1930        Dalke Notebook 370
    1931        Dalke Notebook 444
    1932        Dalke Notebook 620
    1933        Dalke Notebook 90
    1934        Smith Notebook 410
    1935        Smith noteboook 425
    1936        Smith notebook 238
    1937        Dalke Notebook 550
    1938        Smith Notebook 282
    1939        Withdrawn
    1940        Withdrawn
    1941        Withdrawn
    1942        Withdrawn
    1943        Withdrawn
    1944        Withdrawn
    1945        Withdrawn
    1946        Withdrawn
    1947        Withdrawn
    1948        Withdrawn
    1949        Withdrawn
    1950        Withdrawn
    1951        Dalke Notebook 281                       11/6/2024     11/6/2024
    1952        Withdrawn
    1953        Masimo MX-3 Board System Design (R-
                SD10042B.doc)
    1954        Withdrawn
    1955        Withdrawn
    1956        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196458
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    1957        U.S. Patent No. 9,519,077
    1958        U.S. Patent Publication US20210405594A1
    1959        5/30/2013 MFi Manufacturing License between
                Masimo Corporation and Apple Inc. (Contract #
                C56-13-01786)
    1960        Withdrawn
    1961        Withdrawn
    1962        Withdrawn
    1963        Withdrawn
    1964        Withdrawn
    1965        Withdrawn
    1966        Withdrawn
    1967        Withdrawn
    1968        Withdrawn
    1969        Withdrawn
    1970        Withdrawn
    1971        Withdrawn
    1972        Withdrawn
    1973        Withdrawn
    1974        Withdrawn
    1975        Withdrawn
    1976        Withdrawn
    1977        Withdrawn
    1978        Withdrawn
    1979        Withdrawn
    1980        Withdrawn
    1981        Withdrawn
    1982        Withdrawn
    1983        Withdrawn
    1984        Withdrawn
    1985        Withdrawn
    1986        7/17/2014 Apple Citrine ASIC Engineering
                Requirements Specification, Rev. 0.0 (APL-
                MAS_00102201)
    1987        Withdrawn
    1988        Withdrawn




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                                 ID #:196459
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    1989        7/29/2014 Email from Ueyn Block to Erno
                Klaassen, Guocheng Shao, Ravi Shaga, Jon
                Gale, Rui Peterson re Re: Equipment Lent to
                Marcelo
    1990        Withdrawn
    1991        Withdrawn
    1992        Withdrawn
    1993        Withdrawn
    1994        Withdrawn
    1995        Withdrawn
    1996        Withdrawn
    1997        Withdrawn
    1998        Withdrawn
    1999        7/29/2014 Email from Erno Klaassen to Ueyn
                Block, re Re: Equipment from Marcelo's office

    2000        Withdrawn
    2001        Withdrawn
    2002        Withdrawn
    2003        Withdrawn
    2004        Withdrawn
    2005        Withdrawn
    2006        Withdrawn
    2007        Withdrawn
    2008        Withdrawn
    2009        Withdrawn
    2010        5/6/2013 Email from Brian Land to , re Re:
                Masimo Rainbow ReSposable probes
    2011        Withdrawn
    2012        Withdrawn
    2013        Withdrawn
    2014        Withdrawn
    2015        Withdrawn
    2016        Withdrawn
    2017        Withdrawn
    2018        Withdrawn
    2019        Withdrawn
    2020        Withdrawn



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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196460
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
    2021        7/14/2017 Email from Shin John Choi to Steve
                Hotelling, re Fwd: [Offer] Ehsan Masoumi |
                Offer#: 86389520 | Req. #55544243 | Slot
                Code: Pey-Jiun Ko Backfill with attachments


    2022        Withdrawn
    2023        Withdrawn
    2024        Withdrawn
    2025        Withdrawn
    2026        Withdrawn
    2027        Withdrawn
    2028        Withdrawn
    2029        Withdrawn
    2030        Withdrawn
    2031        Withdrawn
    2032        Withdrawn
    2033        Withdrawn
    2034        Withdrawn
    2035        3/6/2014 Email from Alan Chern to Marcelo
                Lamego, Brian Land, Daniel Culbert et al. re
                N27A: Platinum Improvements for ProtoS and
                beyond
    2036        Withdrawn
    2037        Withdrawn
    2038        Withdrawn
    2039        Withdrawn
    2040        Withdrawn
    2041        Withdrawn
    2042        Withdrawn
    2043        Withdrawn
    2044        Withdrawn
    2045        Withdrawn
    2046        Withdrawn
    2047        Withdrawn
    2048        Withdrawn
    2049        Withdrawn
    2050        Withdrawn
    2051        Withdrawn
    2052        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196461
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date         Date
                                                                Identified   Admitted
    2053        Withdrawn
    2054        5/27/2019 Letter from Don Ginsburg (Apple) to
                Bilal Muhsin (Masimo) re Notice of
                Termination for Inactivity of MFi Agreem -
                MFI Manufacturing License C56-13-01787
    2055        Withdrawn
    2056        Withdrawn
    2057        Withdrawn
    2058        Withdrawn
    2059        Withdrawn
    2060        Withdrawn
    2061        Withdrawn
    2062        Withdrawn
    2063        Withdrawn
    2064        Withdrawn
    2065        Withdrawn
    2066        Withdrawn
    2067        Withdrawn
    2068        Withdrawn
    2069        Withdrawn
    2070        Withdrawn
    2071        10/2/2013 Email from Mike OReilly to Denby
                Frazier, re Re: Marcelo Lamego
    2072        Withdrawn
    2073        Withdrawn
    2074        Withdrawn
    2075        3/26/2014 Email from Daniel Culbert to
                Marcelo Lamego, Jack Fu re Algorithm
                improvements
    2076        Table of activities addressed and algorithms
    2077        Withdrawn
    2078        Withdrawn
    2079        Withdrawn
    2080        Withdrawn
    2081        Withdrawn
    2082        Withdrawn
    2083        5/29/2013 Email from Adrian Perica to Cathy
                Meehan, re Re: Suggested Next Step - Masimo
                CEO meeting in Irvine, CA


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196462
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
    2084        5/15/2013 Email from Adrian Perica to Robert
                Mansfield, re Re: Masimo
    2085        Withdrawn
    2086        Withdrawn
    2087        Withdrawn
    2088        Withdrawn
    2089        Withdrawn
    2090        Withdrawn
    2091        Withdrawn
    2092        Withdrawn
    2093        Withdrawn
    2094        Withdrawn
    2095        Withdrawn
    2096        Withdrawn
    2097        Withdrawn
    2098        Withdrawn
    2099        Withdrawn
    2100        Withdrawn
    2101        Withdrawn
    2102        Withdrawn
    2103        Withdrawn
    2104        Withdrawn
    2105        Withdrawn
    2106        Withdrawn
    2107        Withdrawn
    2108        Withdrawn
    2109        Withdrawn
    2110        Withdrawn
    2111        Withdrawn
    2112        Withdrawn
    2113        Withdrawn
    2114        Withdrawn
    2115        Withdrawn
    2116        Withdrawn
    2117        Withdrawn
    2118        Withdrawn
    2119        Withdrawn
    2120        Withdrawn
    2121        Withdrawn


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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196463
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    2122        Withdrawn
    2123        Withdrawn
    2124        Withdrawn
    2125        Withdrawn
    2126        7/30/2014 Email from Ueyn Block to Nick
                Allec, re masimo sensor with attachment N27A
                Platinum 3rd Party Hardware Benchmarking

    2127        12/3/2013 Email from Lan Nguyen to Steve          11/8/2024     11/8/2024
                Hotelling, re Re: Recruiting from Masimo
    2128        Withdrawn
    2129        Withdrawn
    2130        Withdrawn
    2131        Withdrawn
    2132        Withdrawn
    2133        Withdrawn
    2134        Withdrawn
    2135        Withdrawn
    2136        Withdrawn
    2137        Withdrawn
    2138        Withdrawn
    2139        Withdrawn
    2140        Withdrawn
    2141        Withdrawn
    2142        Withdrawn
    2143        Withdrawn
    2144        Withdrawn
    2145        Withdrawn
    2146        3/2019 Apple Presentation, "Health/Apple
                Watch"
    2147        Withdrawn
    2148        Withdrawn
    2149        Withdrawn
    2150        Withdrawn
    2151        Withdrawn
    2152        Withdrawn
    2153        Withdrawn




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                   CORRECTED JOINT   ADMITED EXHIBIT LIST
                                 ID #:196464
                          FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2154        2/12/2013 Email from Adrian Perica to James
                Foster, Steve Smith re Re: Can we get together
                tomorrow to discuss targets ?
    2155        2/2013 Apple Presentation, "Rover Discussion
                Materials" [draft]
    2156        Withdrawn
    2157        Withdrawn
    2158        Withdrawn
    2159        Withdrawn
    2160        Withdrawn
    2161        Withdrawn
    2162        Withdrawn
    2163        Withdrawn
    2164        Withdrawn
    2165        Withdrawn
    2166        Withdrawn
    2167        Withdrawn
    2168        Apple Inc. Confidentiality Agreement (Mutual)
                between Apple Inc. and Masimo Corporation
                [blank]
    2169        Withdrawn
    2170        Withdrawn
    2171        Withdrawn
    2172        Withdrawn
    2173        Withdrawn
    2174        7/12/2013 T126 P1 Ruby Card V2
    2175        3/5/2014 SIP
    2176        Withdrawn
    2177        3/4/2014 Apple Drawing No. 051-1903, X81
                Flex Sensor 4X, Size D, Rev. 0.4.0
    2178        Withdrawn
    2179        Withdrawn
    2180        Withdrawn
    2181        Withdrawn
    2182        3/6/2014 Apple Drawing No. 951-4705,
                Daughter_Opal_SCH, Size D, Rev. S
    2183        8/29/2013 Email from Steve Hotelling to Myra
                Haggerty and Jack Fu re Fwd: Rover 8/28" with
                Masimo Meeting invite attachment


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                                Page ID #:196465 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date         Date
                                                                Identified   Admitted
    2184        2/19/2013 iMessage re Masimo
    2185        Withdrawn
    2186        Withdrawn
    2187        Withdrawn
    2188        Withdrawn
    2189        Withdrawn
    2190        Withdrawn
    2191        Withdrawn
    2192        Withdrawn
    2193        Withdrawn
    2194        Withdrawn
    2195        1/22/2020 Email from Aditya Dua to
                Christopher McElhatton, Merraya Boyer,
                Timothy Wood et al. re Re: Masimo devices for
                Scandium Live-on Study
    2196        Withdrawn
    2197        Withdrawn
    2198        12/6/2021 Letter from Ryan J. Fletcher to
                Joshua Lerner re Withdraw from the 3/3/21
                Confidentiality Agreement and the 3/3/21
                Common Interest and Confidentiality
                Agreement
    2199        Withdrawn
    2200        Withdrawn
    2201        Withdrawn
    2202        Withdrawn
    2203        Withdrawn
    2204        Withdrawn
    2205        Withdrawn
    2206        Withdrawn
    2207        Withdrawn
    2208        Withdrawn
    2209        Withdrawn
    2210        Withdrawn
    2211        Withdrawn
    2212        12/16/2020 Email from Denby Sellers to Karina
                Venegas, Mark Ryan, Mark Bentley re Re:
                Urgent - Masimo
    2213        Withdrawn


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                                Page ID #:196466 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description                    Date           Date
                                                            Identified     Admitted
    2214        Withdrawn
    2215        Withdrawn
    2216        Withdrawn
    2217        Masimo Information Security Policy             11/6/2024     11/6/2024
                (IS10001B.DOC)
    2218        Withdrawn
    2219        Withdrawn
    2220        Withdrawn
    2221        Withdrawn
    2222        Withdrawn
    2223        Withdrawn
    2224        Withdrawn
    2225        Withdrawn
    2226        Withdrawn
    2227        Withdrawn
    2228        Withdrawn
    2229        Withdrawn
    2230        Withdrawn
    2231        Withdrawn
    2232        Withdrawn
    2233        Lamego Confidentiality Agreement               11/5/2024     11/5/2024
                (MASM0142435-2438.PDF)
    2234        Masimo Information Security Policy
                (IS10001A.DOC)
    2235        Masimo Information Security Policy
                (IS10001B.DOC)
    2236        Masimo Information Systems
                Process/Procedure (IS10001C.DOC)
    2237        Masimo Information Systems
                Process/Procedure (IS10001D.DOC)
    2238        Masimo Information Systems
                Process/Procedure (IS10001E.DOC)
    2239        Masimo Information Systems
                Process/Procedure (IS10001H.DOC)
    2240        Masimo Information Systems
                Process/Procedure
                (IS10001L_Information_Security_Policy_ENG
                _Spanish_Swedish_Japanese.docx)




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196467 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date         Date
                                                                    Identified   Admitted
    2241        Masimo Information Systems
                Process/Procedure
                (IS10001M_Information_Security_Policy_EN
                G_Spanish_Swedish_Japanese.docx)
    2242        Masimo Computer Equpment Acceptable Use
                Policy (IS10031A.DOC)
    2243        Masimo Computer Equpment Acceptable Use
                Policy (IS10031B.DOC)
    2244        Masimo Computer Equpment Acceptable Use
                Policy (IS10031C.DOC)
    2245        Masimo Computer Equpment Acceptable Use
                Policy (IS10031D.DOC)
    2246        Masimo Computer Equpment Acceptable Use
                Policy (IS10031E.DOC)
    2247        Masimo Computer Equpment Acceptable Use
                Policy (IS10031F.doc)
    2248        Masimo Information Technology Acceptable
                Use Policy (IS10031G.doc)
    2249        Masimo Information Systems Policy/Procedure
                (IS-
                10031H_AcceptableUsePolicy_ENG_Spanish_
                Swedish_Japanese.docx)
    2250        Withdrawn
    2251        2019 09 05 Reed Albergotti - Apple has copied
                some of the most popular apps in the App Store
                for its iPhone, iPad and other software updates -
                The Washington Post.pdf
    2252        Withdrawn
    2253        Withdrawn
    2254        Withdrawn
    2255        Withdrawn
    2256        Withdrawn
    2257        Withdrawn
    2258        Withdrawn
    2259        Withdrawn
    2260        Withdrawn
    2261        Withdrawn
    2262        2014-02-05 Employee Terminatin Form.pdf



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196468 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    2263        1/21/2014 Cercacor Employee                        11/6/2024     11/6/2024
                Acknowledgment - Marcelo Lamego
    2264        2014-01-21 Emails re Marcelo's Exit Interview
                and Net Proceed Check.pdf
    2265        Re IMPORTANT request to HR change in last
                day of employment and exit interview.msg

    2266        MASIMO LABS EMPLOYEE HANDBOOK                      11/6/2024     11/6/2024
                2009.pdf
    2267        Withdrawn
    2268        Withdrawn
    2269        Withdrawn
    2270        Withdrawn
    2271        Withdrawn
    2272        Withdrawn
    2273        Withdrawn
    2274        Withdrawn
    2275        Withdrawn
    2276        Withdrawn
    2277        Withdrawn
    2278        Withdrawn
    2279        Withdrawn
    2280        Withdrawn
    2281        Withdrawn
    2282        Withdrawn
    2283        Withdrawn
    2284        Withdrawn
    2285        Withdrawn
    2286        Withdrawn
    2287        Withdrawn
    2288        Withdrawn
    2289        Withdrawn
    2290        Withdrawn
    2291        Withdrawn
    2292        Withdrawn
    2293        Withdrawn
    2294        Withdrawn
    2295        Withdrawn
    2296        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196469 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description              Date           Date
                                                      Identified     Admitted
    2297        Withdrawn
    2298        Withdrawn
    2299        Withdrawn
    2300        Withdrawn
    2301        Withdrawn
    2302        Withdrawn
    2303        Withdrawn
    2304        Withdrawn
    2305        Withdrawn
    2306        Withdrawn
    2307        Withdrawn
    2308        Withdrawn
    2309        Withdrawn
    2310        Withdrawn
    2311        Withdrawn
    2312        Withdrawn
    2313        Withdrawn
    2314        Withdrawn
    2315        Withdrawn
    2316        Withdrawn
    2317        Withdrawn
    2318        Withdrawn
    2319        Withdrawn
    2320        Withdrawn
    2321        Information Security Policy.doc
    2322        Computer Equipment Acceptable Use
                Policy.doc
    2323        Info_Systems_Policy_10008A.DOC           11/6/2024     11/6/2024
    2324        Withdrawn
    2325        Withdrawn
    2326        Withdrawn
    2327        Withdrawn
    2328        Withdrawn
    2329        Withdrawn
    2330        Withdrawn
    2331        Withdrawn
    2332        Withdrawn
    2333        Withdrawn
    2334        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196470 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    2335        Withdrawn
    2336        Withdrawn
    2337        Withdrawn
    2338        Withdrawn
    2339        Withdrawn
    2340        Withdrawn
    2341        Withdrawn
    2342        Withdrawn
    2343        Withdrawn
    2344        Withdrawn
    2345        Withdrawn
    2346        Withdrawn
    2347        Withdrawn
    2348        Withdrawn
    2349        Document Access Chart
    2350        Directory Access Chart
    2351        Document Access Chart
    2352        Document Access Chart
    2353        Confidentiality Agreement between Apple and       11/5/2024     11/5/2024
                Masimo, April 2013
    2354        User Access Report                                11/5/2024     11/5/2024
    2355        IS10001N_Information_Security_Policy_ENG_
                SP_SW_JAP_CH.docx
    2356        IS-
                10031J_AcceptableUsePolicy_ENG_SP_SW_J
                P_CH.docx
    2357        IS-10100B-Data Protection Incident Response
                Plan.doc
    2358        IS-10101 Information Protection Program
                Policy Rev A.docx
    2359        IS-10102 Endpoint Protection Policy Rev
                A.docx
    2360        IS-10103 Portable Media Security Policy Rev
                A.docx
    2361        IS-10104 Mobile Device Security Policy Rev
                A.docx
    2362        IS-10105 Wireless Security Policy Rev A.docx




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196471 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                     Date         Date
                                                               Identified   Admitted
    2363        IS-10106 Configuration Management Policy
                Rev A.docx
    2364        IS-10107 Vulnerability Management Policy
                Rev A.docx
    2365        IS-10108 Network Protection Policy Rev
                A.docx
    2366        IS-10109 Transmission Protection Policy Rev
                A.docx
    2367        IS-10110 Password Management Policy Rev
                A.docx
    2368        IS-10112 Access Control Policy Rev A.docx
    2369        IS-10114 Audit Logging and Monitoring Policy
                Rev A.docx
    2370        IS-10115 Education, Training, and Awareness
                Policy Rev A.docx
    2371        IS-10116 Third Party Assurance Policy Rev
                A.docx
    2372        IS-10117 Incident Management Policy Rev
                A.docx
    2373        IS-10118 Business Continuity and Disaster
                Recovery Policy Rev A.docx
    2374        IS-10119 Risk Management Policy Rev A.docx

    2375        IS-10121 Data Protection and Privacy Policy
                Rev A.docx
    2376        IS-10124A -EN FR SP IT -Information
                Technology Monitoring. Ensuring Network
                Security Policy for European Union
                Countries.DOC
    2377        IS-10133 Secure Coding Guidlines (OWASP
                Top 10)_RevA.docx
    2378        AD Groups and Members 10-2010.xlsx
    2379        AD_Users_8-11-2011.xls
    2380        AD_UsersList 7-2008.xls
    2381        3/23/2012 Email from Jonathan Rosario to
                Simone Ammann-Beaty re IS
                Polices/Agreements
    2382        Computer Equipment Acceptable Use
                Policy.doc


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196472 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    2383        1/5/2009 Email from Jonathan Rosario to
                Marcelo Lamego re Security Camera IP
    2384        10/31/2008 Email from Herb Chatterton to
                Marcelo Lamego re Security Code
    2385        5/30/2008 Email from Herb Charterton to
                Masimo Team - Parker re Key Cards and
                Security Alarms
    2386        12/22/2009 Email from Marcelo Lamego to
                Kamila Maciejewska re FW Agile access
    2387        FRM1918A - Agile Electronic Signature.DOC

    2388        Cercacor Code of Business Conduct (2013).pdf       11/6/2024     11/6/2024


    2389        Masimo Audit Policy (IS 10034D-Master.doc)

    2390        Masimo Information Security Policy
                (IS10001F.DOC)
    2391        Masimo Information Security Policy
                (IS10001G.DOC)
    2392        Masimo Information Security Policy
                (IS10001J.doc)
    2393        Masimo Information Security Policy
                (IS10001K.doc)
    2394        Masimo Server Security Policy
                (IS10003A.DOC)
    2395        Masimo Email Use Policy (IS10008C.doc)
    2396        Masimo Information Technology Training
                Policy & Procedure (IS10011A.DOC)
    2397        Masimo Audit Policy (IS10034B.DOC)
    2398        Masimo Audit Policy
                (IS10034C_Audit_Policy.doc)
    2399        Certifcation of Electronic Signature in Agile
                PLM Software
    2400        User Report
    2401        5/1/18 Email from Howard Chan to Cercacor
                Labs All
    2402        Cercacor Information Security Policy               11/6/2024     11/6/2024
    2403        Information Security Policy Procedure              11/6/2024     11/6/2024
    2404        Computer Equipment Acceptable Use Policy


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                                Page ID #:196473 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                Date         Date
                                                         Identified   Admitted
    2405        Information Security Policy Procedure
    2406        Information Security Policy Procedure
    2407        Directory Access Chart
    2408        Directory Access Chart
    2409        Directory Access Chart
    2410        Access to Optics Lab Chart
    2411        Masimo Employee Handbook - US - July
                2016.pdf
    2412        Restated Code of Business Conduct and
                Ethics.pdf
    2413        Computer Equipment Acceptable Use
                Policy.doc
    2414        Employee Confidentiality Agreement.pdf
    2415        Withdrawn
    2416        Withdrawn
    2417        Withdrawn
    2418        Withdrawn
    2419        Withdrawn
    2420        Withdrawn
    2421        Withdrawn
    2422        Withdrawn
    2423        Withdrawn
    2424        Withdrawn
    2425        Withdrawn
    2426        Withdrawn
    2427        Withdrawn
    2428        Withdrawn
    2429        Withdrawn
    2430        Withdrawn
    2431        Withdrawn
    2432        Withdrawn
    2433        Withdrawn
    2434        Withdrawn
    2435        Withdrawn
    2436        Withdrawn
    2437        Withdrawn
    2438        Withdrawn
    2439        Withdrawn
    2440        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196474 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    2441        Withdrawn
    2442        Withdrawn
    2443        Withdrawn
    2444        Withdrawn
    2445        Withdrawn
    2446        Withdrawn
    2447        Withdrawn
    2448        Withdrawn
    2449        Withdrawn
    2450        Withdrawn
    2451        Withdrawn
    2452        Withdrawn
    2453        Withdrawn
    2454        Withdrawn
    2455        Withdrawn
    2456        Withdrawn
    2457        Withdrawn
    2458        Withdrawn
    2459        Withdrawn
    2460        Withdrawn
    2461        Withdrawn
    2462        Withdrawn
    2463        Withdrawn
    2464        Withdrawn
    2465        Withdrawn
    2466        Withdrawn
    2467        Withdrawn
    2468        Withdrawn
    2469        Withdrawn
    2470        Withdrawn
    2471        Withdrawn
    2472        Withdrawn
    2473        Withdrawn
    2474        Withdrawn
    2475        Withdrawn
    2476        Withdrawn
    2477        Withdrawn
    2478        Withdrawn
    2479        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196475 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description                Date           Date
                                                        Identified     Admitted
    2480        Withdrawn
    2481        Withdrawn
    2482        Withdrawn
    2483        Withdrawn
    2484        Withdrawn
    2485        Withdrawn
    2486        Withdrawn
    2487        Withdrawn
    2488        Withdrawn
    2489        Withdrawn
    2490        Withdrawn
    2491        Withdrawn
    2492        Withdrawn
    2493        Withdrawn
    2494        Withdrawn
    2495        Withdrawn
    2496        Withdrawn
    2497        Withdrawn
    2498        Withdrawn
    2499        Withdrawn
    2500        Withdrawn
    2501        Withdrawn
    2502        Withdrawn
    2503        Withdrawn
    2504        Withdrawn
    2505        Withdrawn
    2506        Withdrawn
    2507        Withdrawn
    2508        Withdrawn
    2509        Withdrawn
    2510        Withdrawn
    2511        Withdrawn
    2512        Withdrawn
    2513        Withdrawn
    2514        Employee Confidentiality MAI 2012.pdf      11/6/2024     11/6/2024
    2515        Employee Handbook Masimo Revised
                9_2012(73424586_2) - VM, TM, PH.docx
    2516        Withdrawn



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                                Page ID #:196476 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    2517        7/13/2020 App Store Communications (App
                Store Communications[1].docx)
    2518        Cercacor Standard Operating Procedure (SOP-
                1018A_Inspspection by Agencies.doc)
    2519        Online Platforms and Market Power Part 6
                Examining the Dominance of Amazon,
                Apple,.PDF
    2520        Withdrawn
    2521        Withdrawn
    2522        Withdrawn
    2523        Withdrawn
    2524        Withdrawn
    2525        Withdrawn
    2526        Withdrawn
    2527        Withdrawn
    2528        Withdrawn
    2529        Withdrawn
    2530        Mfi License for Masimo Corporation (MFi-21-
                053415.pdf)
    2531        Withdrawn
    2532        Withdrawn
    2533        Withdrawn
    2534        Withdrawn
    2535        Withdrawn
    2536        Withdrawn
    2537        Withdrawn
    2538        Withdrawn
    2539        Withdrawn
    2540        Clinical evaluation and diagnostic yield
                following evaluation of abnormal pulse
                detected using Apple Watch.pdf
    2541        https_www.theverge.com_21438576_blood-
                oxygen-apple-watch-series-6-reliability.pdf
    2542        https_www.theverge.com_2020_10_1_2149681
                3_apple-watch-heart-monitor-ekg-false-
                positive.pdf
    2543        Apple Watch 6’s blood oxygen sensor is
                unreliable and misleading - The Washington
                Post.pdf


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196477 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    2544        Page Vault Apple Watch 6’s blood oxygen
                sensor is unreliable and misleading - The
                Washington Post.pdf
    2545        Apple Watch Series 7 Infuriating Problem To
                Be Fixed In Days (forbes.com).pdf
    2546        https_www.theverge.com_2021_7_27_2259417
                8_apple-watch-data-research-heart-rate-
                reliability.pdf
    2547        The unexpected health impacts of wearable tech
                - The Verge.pdf
    2548        This Is What Your Smartwatch Is Doing to
                Your Sad Chafed Wrist Skin
                (melmagazine.com).pdf
    2549        Three flaws in the Apple Watch heart health
                study - TechRepublic.pdf
    2550        Apple Heart Study Despite The Ballyhoo No
                Benefits Demonstrated Harms Not Measured –
                The Skeptical Cardiologist.pdf
    2551        Should You Trust the New Apple Watch on
                Blood Oxygen Readings - MedPage Today.pdf

    2552        https_www.mobihealthnews.com_news_apple-
                watchs-abnormal-pulse-feature-driving-
                many.pdf
    2553        New Study Confirms Poor Apple Watch ECG
                App Sensitivity For Atrial Fibrillation – The
                Skeptical Cardiologist.pdf
    2554        8/19/2008 Email from Jonathan Rosario to
                Marcelo Lamego RE: Sharepoint (RE:
                sharepoint.msg)
    2555        Lamego Active Directory Chart
                (Lamego_AD_Access.xlsx)
    2556        Directory Access Chart (Rainbow Dir                 11/6/2024     11/6/2024
                Access1.xls)
    2557        User Access Chart (AllUser - 9-20-
                2011.xls.xlsx)
    2558        10/28/2009 Email from Marcelo Lamego to
                Jonathan Rosario RE: Folder access (RE folder
                access.msg)


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196478 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    2559        8/4/2010 Email from Jonathan Rosario to
                Masimo Labs Team RE: New Project Folders
                (New Project Folders.msg)
    2560        7/29/2010 Email from Yonsam Lee to Mitesh          11/6/2024     11/6/2024
                Patel, Tony Allan Re: CO-000668
                (MASM0152908-911 - CO-000668 .pdf)
    2561        Masimo Computer Equipment Acceptable Use           11/6/2024     11/6/2024
                Policy (MASM0152977-980 - IS10031A.pdf)

    2562        Withdrawn
    2563        Masimo Server Security Policy                      11/6/2024     11/6/2024
                (IS10003A.DOC)
    2564        Masimo’s Information Technology Training           11/6/2024     11/6/2024
                Policy & Procedure, IS-10011, Rev. A, DRO
                12479
    2565        Pronto 7 Sorted LED Wavelength                     11/6/2024     11/6/2024
                Specifications (MASM0152434 - ADS-
                1660.pdf)
    2566        Directory Access Chart (MASM0152468 - All
                Ad users account with groups.xls)
    2567        MASM0152530 -542 - Code of Business
                Conduct (2013)-Final.pdf
    2568        Critical Vendor Onsite Visit Procedures.docx
    2569        Withdrawn
    2570        Withdrawn
    2571        Research Letter, Accuracy of Apple Watch for
                Detection of Atrial Fibrillation
                (MASA03584103-MASA03584104.pdf)
    2572        The Apple Watch's blood oxygen sensor is less
                accurate than you think (MASA03584105-
                MASA03584107.pdf)
    2573        Withdrawn
    2574        Withdrawn
    2575        Withdrawn
    2576        Withdrawn
    2577        Withdrawn
    2578        Withdrawn
    2579        Withdrawn
    2580        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196479 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    2581        Withdrawn
    2582        Withdrawn
    2583        Withdrawn
    2584        Withdrawn
    2585        Withdrawn
    2586        Withdrawn
    2587        Withdrawn
    2588        Withdrawn
    2589        Withdrawn
    2590        Withdrawn
    2591        Withdrawn
    2592        Withdrawn
    2593        Withdrawn
    2594        Withdrawn
    2595        Withdrawn
    2596        Withdrawn
    2597        Withdrawn
    2598        Withdrawn
    2599        Withdrawn
    2600        Withdrawn
    2601        Withdrawn
    2602        Withdrawn
    2603        Withdrawn
    2604        Withdrawn
    2605        Withdrawn
    2606        Withdrawn
    2607        Withdrawn
    2608        Withdrawn
    2609        Withdrawn
    2610        Withdrawn
    2611        Withdrawn
    2612        Withdrawn
    2613        Withdrawn
    2614        Withdrawn
    2615        Withdrawn
    2616        Withdrawn
    2617        Withdrawn
    2618        Withdrawn
    2619        Withdrawn


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                                Page ID #:196480 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                 Description              Date         Date
                                                     Identified   Admitted
    2620        Withdrawn
    2621        Withdrawn
    2622        Withdrawn
    2623        Withdrawn
    2624        Withdrawn
    2625        Withdrawn
    2626        Withdrawn
    2627        Withdrawn
    2628        Withdrawn
    2629        Withdrawn
    2630        Withdrawn
    2631        Withdrawn
    2632        Withdrawn
    2633        Withdrawn
    2634        Withdrawn
    2635        Withdrawn
    2636        Withdrawn
    2637        Photo of MASITC_P_019
    2638        Photo of MASITC_P_019
    2639        Withdrawn
    2640        Withdrawn
    2641        Withdrawn
    2642        Withdrawn
    2643        Photo of MASITC_P_022
    2644        Photo of MASITC_P_022
    2645        Withdrawn
    2646        Withdrawn
    2647        Withdrawn
    2648        Withdrawn
    2649        Withdrawn
    2650        Withdrawn
    2651        Withdrawn
    2652        Withdrawn
    2653        Withdrawn
    2654        Withdrawn
    2655        Withdrawn
    2656        Withdrawn
    2657        Withdrawn
    2658        Withdrawn


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196481 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2659        Withdrawn
    2660        Withdrawn
    2661        Withdrawn
    2662        Withdrawn
    2663        Withdrawn
    2664        Withdrawn
    2665        Withdrawn
    2666        Withdrawn
    2667        Withdrawn
    2668        Withdrawn
    2669        Withdrawn
    2670        Withdrawn
    2671        Withdrawn
    2672        Withdrawn
    2673        Withdrawn
    2674        Fitbit and Apple know their smartwatches arent
                medical devices. But do you.pdf
    2675        Withdrawn
    2676        Withdrawn
    2677        Withdrawn
    2678        5/18/2018 Email from Huong Phan to Alicia
                Burns et al. re Rainbow Documents released om
                AGILE effective 5/17/2018
    2679        Withdrawn
    2680        Cercacor Presentation, Team Meeting - 12-19-
                2018.pptx
    2681        Withdrawn
    2682        Masimo Assessment of Doctella with Radius
                PPG (Doctella-LTF-03182020.pdf)
    2683        FDA Draft Guidance 1400062 (Clinical
                Decision Support Software 2019).pdf
    2684        App Store Communications[1].docx
    2685        Withdrawn
    2686        Withdrawn
    2687        Withdrawn
    2688        Withdrawn
    2689        Withdrawn
    2690        Withdrawn
    2691        Withdrawn


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                                Page ID #:196482 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date         Date
                                                                 Identified   Admitted
    2692        Withdrawn
    2693        Withdrawn
    2694        Withdrawn
    2695        Withdrawn
    2696        Withdrawn
    2697        Withdrawn
    2698        Withdrawn
    2699        Withdrawn
    2700        Canada Medical Device License (104303 (2020-
                04-10).pdf)
    2701        Masimo EC Declaration of Conformity (TFA-
                1308A - Signed.pdf)
    2702        SS20-749_Radius PPG.pdf
    2703        MD1200 - Registration for Higher Risk
                Medical Device_Radius
                PPG_MD207374___.pdf
    2704        SS20-749_Radius PPG.pdf
    2705        FDA Letter for Rad-97 and accessories
                (K183697.Letter.SE.FINAL_Sent001.pdf)
    2706        Withdrawn
    2707        Withdrawn
    2708        Withdrawn
    2709        Sana Kazilbash, Can the Apple Watch Series 6
                Keep the Doctor Away? (MASITC_01402074-
                MASITC_01402089.pdf)

    2710        Improved Pulse Oximeter Technology Changes
                Caregiver Practice Patterns: Masimo SET vs.
                Conventional Pulse Oximetry (B16_Durbin,
                Rostow.pdf)
    2711        More Reliable Oximetry Imrpoves Caregiver
                Efficiency (B18_Durbin, Rostow.pdf)
    2712        barker-motion-resistant-pulse-oximetry-a-
                comparison-of-new-and-old-models-oct-
                2002.pdf
    2713        castillo-prevention-of-rop-in-preterm-infants-
                feb-2011.pdf




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196483 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date           Date
                                                                  Identified     Admitted
    2714        granelli-impact-of-pulse-oximetry-screening-on-
                the-detection-of-duct-dependent-congenital-
                heart-disease-jan-2009.pdf
    2715        Hay, Rodden.pdf
    2716        Durbin, DG, More Reliable Oximetry Reduces
                the Frequency of Arterial Blood Gas Analysis
                and Hastens Oxygen Weaning After Cardiac
                Surgery, , Critical Care Medicine, 30(8), 1735-
                1740, (2002)
    2717        Patel, DS, Weaning Protocol Possible with
                Pulse Oximeter Technology, Advance for
                Managers of Respiratory Care, 9(9), 86, (2000)

    2718        Shan, N, Comparison of Three New Generation
                Pulse Oximeters during Motion & Low
                Perfusion in Volunteers, Anesthesiology, 105,
                A929 (2006)
    2719        Erier, T, Longevity of Masimo and Nellcor
                Pulse Oximeter Sensors in the Care of Infants ,
                Journal of Perinatology, 23:133-1335 (2003)

    2720        Signal Extraction Technology , Masimo
                Technical Bulletin, 2006
    2721        Pulse Oximeter Overview, Masimo SET vs
                Tyco-Nellcor and Philips , Masimo Technical
                Bulletin (2006)
    2722        This paper explains the concept,
                implementation, and use of Masimo SET,
                Radical, and Radical SatShare products ,
                Masimo Tecchnical Bulletin 2, (2008)
    2723        Monitoring SpO2 During Conditions Involving
                Low Perpheral Perfusion, Masimo WhitePaper

    2724        LAB4033C_Whitepaper, Measurement During
                Very Low Cardiac Output (US).pdf
    2725        0700 Masimo - Awards.pdf                             11/5/2024     11/5/2024
    2726        0701 cover-story-safe-care.pdf                       11/5/2024     11/5/2024
    2727        0705 Masimo CEO Joe Kiani Named Ernst &
                Young Entrepreneur of the Year.pdf


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196484 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                     Date           Date
                                                                Identified     Admitted
    2728        Masimo Award and Press Release (PTX                11/5/2024     11/5/2024
                2324.PDF)
    2729        Masimo Award and Press Release (PTX                11/5/2024     11/5/2024
                2326.PDF)
    2730        Market Engineerring Awards for the Blood Gas       11/5/2024     11/5/2024
                Monitoring Equipment Market, Frost &
                Sullivan's 2000 Market Engineering Wards
    2731        Press Release: The Society for Critical Care       11/5/2024     11/5/2024
                Medicine Honors Masimo Corporation with the
                SCCM Technology Excellence Award Feb. 3,
                2000
    2732        Press Release: Audie Lewis Consulting              11/5/2024     11/5/2024
                Releases Independent Quality/Benefits Audit
                on Masimo SET Pulse Oximetry Oct. 24, 2001

    2733        Audie Lewis Consulting, Independent                11/5/2024     11/5/2024
                Quality/Benefits Report of the Masimo
                Corporation and Signal Extraction Techology
                (Masimo SET) June-October 2001
    2734        Press Release: Masimo Receives Frost &             11/5/2024     11/5/2024
                Sullivan's Product Quality Leadership Award,
                Sept. 12, 2002
    2735        Frost & Sullivan Honors Masimo for Setting         11/5/2024     11/5/2024
                Patient Monitoring Standard of Care, News
                Alert, June 16, 2003
    2736        Masimo Recognitions for Excellence
    2737        Masimo 2012 Annual Report
    2738        Masimo 2009 Annual Report
    2739        Masimo 2008 Annual Report
    2740        Masimo 2007 Annual Report
    2741        Masimo 2011 Annual Report
    2742        Masimo 2012 Annual Report
    2743        Kiani Notebook
    2744        Email and attachment from Mike Drummond to
                Joe Kiani, et al. re iSpO2 Movie Review Press
                Release (6/17/2015)
    2745        Email from Joe Kiani to Paul Jansen et al. re
                Ironman Kona on NBC with commercial
                (12/9/2016)


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196485 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    2746        RE Mtng with Personal Gold cyclist and
                team.msg
    2747        Data from Masimo MightySat Gives US
                Olympic Cycling Silver Medalist Dotsie
                Bausch the Edge.mp4
    2748        Barker, "Motion-Resistant" Pulse Oximetery: A      11/5/2024     11/5/2024
                Comparison of New and Old Models,
                Anesthesia & Analgesia, Oct. 2002
    2749        FDA 510(k) Premarket Approval for Masimo           11/5/2024     11/5/2024
                MS-1 Pulse Oximeter and LNOP Series of
                Sensors and Cables
    2750        FDA 510(k) Premarket Approval for Masimo           11/5/2024     11/5/2024
                MS-1P Pulse Oximeter and LNOP Series of
                Sensors and Cables
    2751        Kiani Notebook
    2752        Barker, The Effects of Motion on the               11/5/2024     11/5/2024
                Performance of Pulse Oximeters in Volunteers,
                Anesthesiology, Jan. 1997
    2753        Excerpt of Respiratory Care Vol. 42, No. 11,
                November 1997
    2754        Email from Mike Drummond to Joe Kiani
                (6/12/2015)
    2755        Article attached to Email from Mike
                Drummond to Joe Kiani (6/12/2015)
    2756        Email from Sky Christopherson to Joe Kiani
                (1/21/2018)
    2757        Email from Kiani to Christopherson re Huge
                News!, dated November 20, 2016
    2758        Email from Christopherson to Kiani re Huge
                News!, dated November 20, 2016
    2759        Email from Christopherson to Yazdani re
                Olympic/Apple project update, dated February
                8, 2017
    2760        Email from Christopherson to Kiani re Gold
                App/MightSat, dated July 14, 2017
    2761        Email from livewire@masimonewscom to               11/5/2024     11/5/2024
                Masimo Team re Livewire release: "Masimo
                Launches iSpO2, dated December 13, 2012




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196486 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2762        iSpo2 Media Coverage - 21 articles as of
                1/10/13
    2763        Email from Kiani to Maghame re ISPO2, dated
                April 17, 2012
    2764        Email from Kiani to Maghame re ISPO2 -
                Contact Info, dated April 18, 2012
    2765        Email from Sampath to Kiani re Roadmap -
                Slide Support, dated June 6, 2012
    2766        Presentation - Board Update - Roadmap.pptx
    2767        Email from livewire@masimonewscom to
                Kiani re Livewire release: "Masimo Unveils
                MightySat at Consumer Electronics Show,"
                dated January 5, 2015
    2768        Email from Kiani to Sampath re Apple/Sports
                Illustrated Update, dated October 30, 2017
    2769        Email from Linus Park to Jarow Jonathan re
                FDA Innovation Challenge (12/14/2018)
    2770        Article, FDA Innovation Challenge: Devices to
                Prevent and Treat Opioid Use Disorder
    2771        Email from Masimo Team (1/5/2015)
    2772        Cercacor Presentation, Hummingbird Project,
                Mar. 16, 2018
    2773        Email from Omar Ahmed to Paul Jansen, et al.
                (12/2/2016)
    2774        Email from Bilal Muhsin to Nicholas Barker, et
                al. (1/22/2016)
    2775        Email from Jon Coleman to Joe Kiani, et al.
                (1/17/2013)
    2776        Cercacor Presentation, Engineering Update,
                Feb. 28, 2018
    2777        Email from Gerry Hammarth to Mel Chiba
                (11/22/2014)
    2778        Email from Joe Kiani to Yongsam Lee, et al.
                (10/16/2013)
    2779        Masimo Presentation, Nov. 21, 2011
    2780        Masimo Proposal for FDA Innovation
                Challenge, Sept. 28, 2018




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196487 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    2781        Masimo Press Release, Masimo Launches
                iSpO2 - the First Commercially Available Pulse
                Oximeter for iPhone, iPad, & iPod Touch,

    2782        Masimo Corp. v. Philips Elec. North America
                Corp., No. 09-80-LPS, 2015 WL 2406061 (D.
                Del. May 18, 2015)
    2783        Masimo Corp. v. Philips Elec. North America
                Corp., No. 09-80-LPS, 2015 WL 2379485 (D.
                Del. May 18, 2015)
    2784        2001 Report re Masimo SET
    2785        2009 Masimo 10-K
    2786        2021 Masimo 10-K
    2787        2008 Masimo 10-K
    2788        2014 Masimo 10-K
    2789        2020 Masimo 10-K
    2790        2010 Masimo 10-K
    2791        2016 Masimo 10-K
    2792        2018 Masimo 10-K
    2793        2013 Masimo 10-K Amended
    2794        2017 Masimo 10-K
    2795        2019 Masimo 10-K
    2796        2015 Masimo 10-K
    2797        2012 Masimo 10-K
    2798        2011 Masimo 10-K
    2799        Apple Watch Series 6 Advertisement Video
    2800        Apple Watch Series 6 Advertisement Video
    2801        Masimo SET Pulse Oximetry Bibliography              11/5/2024     11/5/2024

    2802        Video: Apple Watch Series 6
    2803        Video: Apple Event - September 14
    2804        Video: Apple Event
    2805        Video: Masimo W1
    2806        Video: WWDC 2020
                (https://www.youtube.com/watch?v=GEZhD3J
                89ZE&t=845s)
    2807        ASIC Engineering Requirements Specification




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                                Page ID #:196488 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                         Date           Date
                                                                   Identified     Admitted
    2808        ASIC Engineering Requirements Specification

    2809        ASIC Engineering Requirements Specification

    2810        Apple Engineering Presentation
    2811        Apple Presentation, Mar. 19, 2014
    2812        Apple Engineering Document, Mar. 19, 2014
    2813        Intellectual property The trouble with troll-
                hunting.PDF
    2814        Tech Giants Are Using Efficient Infringement
                (a.k.a Invention Theft) to Crush Competitors
                and Kill Innovation _ Save the Inventor.pdf
    2815        The trouble with patent-troll-hunting.PDF
    2816        Article: What Steve Jobs Really Meant When
                He Said 'Good Artists Copy; Great Artists Steal'
                (https://www.cnet.com/tech/tech-industry/what-
                steve-jobs-really-meant-when-he-said-good-
                artists-copy-great-artists-steal/)
    2817        Photo of Cercacor Prototype
    2818        Photo of Cercacor Prototype
    2819        Photo of Cercacor Prototype
    2820        Email from Mr. Lamego to Joe Kiani (CEO of
                both Masimo and Cercacor) dated July 21, 2006

    2821        Email from Mr. Lamego to Tim Cook date
                October 2, 2013
    2822        Email from David Tom to Steve Hotelling re
                Marcelo Lamego
    2823        Letter from Holland to Horne dated July 23,
                2026
    2824        Email from Mien-Chie Hung to Mike O'Reilly            11/5/2024     11/5/2024
                re Introduction, dated July 28, 2016
    2825        Email from O'Reilly to Shusterman et al. re
                Apple and ResearchKit, dated April 1, 2015
    2826        Email from Anand Sampath to
                MOR@Apple.com and Bilal Muhsin re great to
                see you! dated March 9, 2016




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196489 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2827        Email from Barker to O'Reilly re Here's your
                Gogo receipt and feedback, dated April 20,
                2016
    2828        Email from O'Reilly to Barker re Two days
                ago? dated November 21, 2019
    2829        Email from Jansen to Mistri re Masimo follow
                up, dated January 12, 2016
    2830        Email from Hotelling to Lyon et al. re Marcelo
                Lamego, dated November 19, 2013
    2831        Withdrawn
    2832        website that downloaded from
                https://web.archive.org/web/20170215000000*
                /http://www.apple.com/healthcare in December
                2021


    2833        Website downloaded from
                https://www.apple.com/newsroom/archive
                /health/?page=2 in December 2021
    2834        Website downloaded from
                https://www.apple.com/newsroom/2018/12/ecg
                app-and-irregular-heart-rhythm-notification-
                available-today-on-apple-watch/ in
                December 2021
    2835        Website downloaded from
                https://web.archive.org/web/20140909204705/h
                ttp://www.apple.com/watch/overview/ in
                December 2021
    2836        Website downloaded from
                https://www.apple.com/watch/compare/?afid=p
                238%7CsoOkM0o33-
                dc_mtid_20925qtb42335_pcrid_570650681223
                _pgrid_130165755314_&cid=wwa-us-kwgo-
                watch-slid---Brand-AppleWatch-
                evergreenwatch- in January 2022

    2837        Presentation, "Platinum-Osmium Algorithms-
                Optica Sync, dated October 2, 2018
    2838        Presentation, "Scandium - Validation Strategy
                Review" dated March 2020



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196490 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
    2839        Presentation, "Scandium (T393) Update" dated
                September 21, 2018
    2840        Draft information sheet on Scandium Watch
                App
    2841        Mist Specification - External Engineering
                Requirements Specification, Apple Sensing
                Hardware
    2842        Technical Presentation
    2843        Technical Presentation
    2844        Research Protocol - Scandium HW Validation
                (Desaturation), Human Physiology DRI

    2845        Email from Gujarati to Mazzanti re Blood
                Oxygen AppleCare Case Analysis, dated
                October 27, 2020
    2846        Email from Mazzanti to Gujarati re Blood
                Oxygen AppleCare Case Analysis, dated
                October 27, 2020
    2847        Email from Gujarati to Saha re Hot Spot:
                Scandium Poor IR & Red Signal, dated July 13,
                2020
    2848        Email from Gujarati to Saha re Hot Spot:
                Scandium Poor IR & Red Signal, dated July 13,
                2020
    2849        Email from Caldbeck to O'Reilly re Scandium,
                dated September 14, 2020
    2850        Email from Gujarati to Katragadda re Scandium
                Heart Rate Limitations, dated July 22, 2020

    2851        Email from Gujarati to Williams-Hart re
                Feedback Requested on Q202066 - Blood
                Oxygen SaMD Feature (Apple), dated January
                22, 2021
    2852        Excerpts from excel file printout, Apple
                Quantities Requested and Approved
    2853        Email from Chung to Klaasen re Johannes
                Bruinsma, dated August 7, 2014
    2854        Email from radar@apple.com (Radar Mail
                Notification) to Lamego, dated March 7, 2014


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                                Page ID #:196491 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2855        Email from Culbert to Fu re Deck for Wed 2/12
                exec update, dated February 19, 2014
    2856        Email from Waydo to Fu re Platinum FA Slides
                for JeffW update, dated March 26, 2014

    2857        Email from Hotelling to Loganthan re Radar#
                for Masimo attaching Apple Presentation,
                "Rover" dated January 23, 2013
    2858        Email from Perica to Frazier re Mike O'Reilly,
                dated May 23, 2013
    2859        Withdrawn
    2860        Email from O'Reilly to Desai re Backstory
                regarding a Foundation, dated November 11,
                2017
    2861        Draft Webpage, "Taking an ECG with the ECG
                app on Apple Watch Series 4"
    2862        Letter from FDA to Tillman re De Novo
                Request for ECG App
    2863        Withdrawn
    2864        Documentation / SensorKit,
                https://developer.apple.com
    2865        Email from Whitehurst to Estoesta re Health
                use cases, dated February 5, 2015
    2866        Apple Presentation, "Healthcare Focus Areas,"
                April 2015
    2867        Email from Joswiak to Mistri re Details on
                HealthKit story - call? dated August 10, 2014
    2868        Withdrawn
    2869        Documentation / SensorKit,
                https://developer.apple.com
    2870        Apple Presentation, "Galenda - Goldilocks
                Study Concept Review," October 17, 2016
    2871        Email from Perica to Jansen re Checking in,
                dated March 22, 2013
    2872        Email from Lamego to Cook re The three
                equations, dated April 19, 2016
    2873        Email from Lamego to Cook re 1 Billion
                Watches in the next 10 years, dated December
                21, 2018


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196492 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                         Date           Date
                                                                   Identified     Admitted
    2874        Email Lamego to Cook re Oxxiom, dated
                September 21, 2018
    2875        Email from O'Reilly to Sandberg re Big News,
                dated July 12, 2013
    2876        Becker's Hospital Review, "Behind Apple's
                healthcare strategy: 4 quotes from CEO Tim
                Cook,
                https://www.beckershospitalreview.com/disrupt
                ors/behind-apple-s-healthcare-strategy-4-quotes-
                from-ceo-tim-cook.html
    2877        Tim Cook: "Apple's greatest contribution could
                be in health and wellness,"
                https://www.sportspromedia.com/news/tim-
                cook-apple-watch-sports-fitness-plus/
    2878        Withdrawn
    2879        Withdrawn
    2880        Withdrawn
    2881        Masimo costs and overhead
    2882        Email from Frazier to Cook re Bob
                Mansfield/Candidate Review, dated June 15,
                2013
    2883        Email from Williams to Youngs re Marcelo
                Lamego Hiring Recommendation, dated
                December 4, 2013
    2884        Email from Bentley to Frazier re
                IMPORTANT, dated June 29, 2013
    2885        Technical Presentation
    2886        Masimo Form 10-K, January 1, 2022
    2887        01/19/2018 Email from Bijy Zachariah to Jack
                Fu re Attendance to the Core Module Review
                for T394 Vaxholm
    2888        Palmatier Curriculum Vitae
    2889        Kinrich Curriculum Vitae
    2890        Algorithm.zip (Pronto-7 MATLAB code
                archive)
    2891        immediate_7.m (Pronto-7 MATLAB code file)

    2892        Nov. 4 2017 email from Land to Hotelling re           11/8/2024     11/8/2024
                Scandium Risks and Schedule


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196493 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    2893        Demodulation, decimation and demultiplexing
                algorithm
    2894        Bio-Sensing Team
    2895        2/19/2014 Apple Technology analysis for
                Oxitone, ID: 16111452, by Marcelo Lamego
    2896        Fitness and wellness technology development
                slide deck
    2897        Provide fastest rate platinum can provide
                synchronized isopod samples to host
    2898        Scope: Adding High Pass Filter to SiP for
                Platinum
    2899        3/27/2014 Apple Platinum
                modulation/demodulation investigation with
                2kHz LPF on Opal DC rev1, ID: 16448559,
                Version: N27A EEFW, Modified 12/18/15
    2900        Demodulation, decimation and demultiplexing
                algorithm
    2901        1/31/2014 Apple Presentation, "iPhone Medical          11/7/2024     11/7/2024
                Device"
    2902        Source Code (slipsheet)
    2903        Source Code (slipsheet)
    2904        Source Code (slipsheet)
    2905        3/30/2014 Email from Marcelo Lamego to
                Steve Hotelling re Fwd: Opal FW Engineering
                Build: Mod/Demod scan support
    2906        11/10/2014 Email from Alexis Davies to John
                Earl re ResearchKit: Let's get this party started

    2907        1/21/2016 Email from Jeff Williams to Mike
                O'Reilly re CareKit
    2908        11/5/2013 Email from Adam Beberg to Sheilah
                Estoesta re iResearch product code
    2909        7/1/2014 Email from Lynn Youngs to Steve
                Hotelling re Fwd: Gen 1 Alg help
    2910        Apple slides re N27A
    2911        Apple presentation, "Platinum AC Coupling
                Circuit Investigation"




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196494 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    2912        3/13/2014 Apple Presentation, "Quantitative
                Comparison of Performance of Ambient Light
                Intrustion Suppression Methods Addendum:
                Response to questions" by Alexander Kanaris
    2913        Apple Presentation, "N127 Platinum ASIC
                proposal"
    2914        1/31/2014 Apple Presentation, "Fitness and
                wellness technology development"
    2915        1/31/2014 Apple Presentation, "iPhone Medical
                Device"
    2916        Apple Presentation, "Opal daughter card - rev2
                FW requirements"
    2917        Apple slides re technology identification
    2918        4/3/2014 Email from Marcelo Lamego to Jeff
                Williams re N27 Possibilities
    2919        8/27/2013 Apple Presentation, "Kickoff
                Meeting"
    2920        10/30/2014 Email from Divya Nag to Afshad
                Mistri re Fwd: ResearchKit follow-up" [no
                attachment]
    2921        9/5/2013 Email from James Foster to Jeff
                Williams et al., re Actions
    2922        6/28/2014 Email from Mike O'Reilly to Divya
                Nag re ResearchKit update outline for Kevin
                and Jeff next week
    2923        5/16/2016 Health/Medical Update;
                Recruiting/Team Update
    2924        5/16/2016 Health/Medical Update
    2925        6/28/2014 Email from Divya Nag to Mike
                O'Reilly re ResearchKit update outline for
                Kevin and Jeff next week
    2926        Slides re Health Program Roles and
                Responsibilities (redlines)
    2927        Technical Presentation
    2928        Slides re N2xA failures
    2929        4/8/2014 Email from Shanti Vasudevan to Jack
                Fu et al., re Headsup 4/8 : Ambient Light
                Intrusion user study for Proto2-SIP OK2FAB




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196495 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                       Date           Date
                                                                   Identified     Admitted
    2930        11/17/2017 Email from Guocheng Shao to
                Ueyn Block and Vivek Venugopal re LCF
                tester v.s. X-talk correlation study results [no
                attachment]
    2931        Technical Presentation
    2932        Apple slides re Crosstalk
    2933        Optical System- Build Test Fixture For
                Transmission Type Measurement
    2934        3/21/2014 Apple Presentation, "N27A |
                Platinum Modulation/Demodulation ± HPF :
                Proposed Scan Plan to Accomodate Concurrent
                AGC and OWD"
    2935        9/15/2017 Email from Ian Shapiro to Joseph
                McBride re Status and next steps for
                <rdar://problem/33776551> Fortune15R359:
                Heart rate warning from 8:44pm to 11:14pm
                while my watch is put on table"
    2936        Apple JHC/D/E/F X884 External System HW
                ERS, Rev. 0.01
    2937        Letter dated 01/24/2014 from Stephen Jensen to        11/5/2024     11/5/2024
                Timothy Cook re: Employment Obligations of
                Marcelo Lamego
    2938        Health | Data Acquisition 01/19/2017
    2939        Withdrawn
    2940        Emaisl dated 8/18/2016 From Erika Obhanych
                To Rupert Pearse re: Queen Mary University of
                London with attachmenbt Innt'l Univ. Apple
                Watch Donation
    2941        Meetings Minutes, New Atlantic Researach
                Information {Pre-Submission Q1720032/S001
                (March 13, 2018
    2942        Overview of mHealth Overview (12/9/2011)
    2943        Brochure, 2017 Annual Report US Edition               11/5/2024     11/5/2024
                (PS60614) (PLM-11228A
    2944        Email dated 4/22/2013 From Anand Sampath
                To Paul Janson, Michael O'Reilly re: Halo
                slides
    2945        Withdrawn



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196496 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date         Date
                                                                  Identified   Admitted
    2946        Email dated 8/7/2012 From Michael O'Reilly
                To John McManus re: Emailing Masimo Japan
                July 2012.pptx
    2947        Withdrawn
    2948        Email dated 8/31/2011 From Mark Heibing To
                Michael O'Reilly re: Latest AF BAA docs
    2949        Withdrawn
    2950        Quad_Chart_EnRoute Care_MASIMO (3).ppt
    2951        Purchase and License Agreement between
                Island Critical Care Corp. and Masimo Corp.
                5/5/ 1998
    2952        A breakdown of CardioNet's breakdown |
                MassDevice.com blogs \ MassDevice - Blog
                entry
    2953        Innovation Center - HHS-Update 12/14/2011
    2954        Document: Description of problem
    2955        Email dated 12/13/2011 From Anand Sampath
                To Ammar Al-Ali re: Prep for Mayo Rochester

    2956        Halo Index Training
    2957        8/18/1997 Booth, C., "Steve's Job: Restart
                Apple", Time Article
    2958        1/7/2015 BioSpace, "Masimo Corporation
                Unveils MightySat at Consumer Electronics
                Show - First Fingertip Pulse Oximeter With
                Masimo SET® Measure-through Motion and
                Low Perfusion(TM) Technology"
    2959        9/6/2016 BusinessWire, "Masimo MightySat™
                is Available at Apple.com and Select Apple
                Retail Stores in the US and Canada"

    2960        1/8/2019 Gurdus, L., "Tim Cook: Apple's
                greatest contribution will be 'about health'",
                CNBC
    2961        9/23/2020 Fowler, G., "The new Apple Watch
                says my lungs may be sick. Or perfect. It can't
                decide.", The Washington Post
    2962        2020 The History and Timeline of Cercacor



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196497 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    2963        Jeroen Poeze - Agreements & Onboarding
                Documents
    2964        Walt Weber Employee folder
    2965        2/1/2018 Masimo Employee Confidentiality
                Agreement - David Dalke
    2966        6/25/2019 Masimo Employee Confidentiality
                Agreement - Rick Fishel
    2967        2/5/2018 Masimo Employee Confidentiality
                Agreement - James Pishney
    2968        2/6/2018 Masimo Employee Confidentiality
                Agreement - Bilal Muhsin
    2969        5/23/2004 Fax from Rick Fishel to Joe Kiani
                enclosing signed offer letter
    2970        6/25/2019 Masimo Employee Confidentiality
                Agreement - Rick Fishel
    2971        12/15/2014 Consulting Agreement between
                Masimo and Robert Smith
    2972        7/1/2004 Masimo Corporation Employee
                Confidentiality Agreement - Rick Fishel
    2973        1/13/2004 Masimo Americas, Inc. Amendment
                to Employee Confidentiality Agreement - Rick
                Fishel (partially executed)
    2974        3/12/2021 Employee Acknowledgment - Jeroen        11/5/2024     11/5/2024
                Poeze
    2975        3/12/2021 Letter from Gerry Hammarth to
                Jeroen Poeze re Acceptance of Resignation
    2976        Cercacor Separation Reminders - Jeroen Poeze

    2977        1/28/2003 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego (Dkt. No. 42-2,
                Exhibit 2)
    2978        1/31/2005 Masimo Employee Confidentiality         11/6/2024     11/6/2024
                Agreement - Marcelo Lamego (Dkt. No. 42-3,
                Exhibit 3)
    2979        5/14/2009 Masimo Employee Confidentiality
                Agreement - Marcelo Lamego (Dkt. No. 42-4,
                Exhibit 4)
    2980        Compilation of Confidentiality Agreements
    2981        Mohamed Diab Folder


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196498 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
   2981.1       Mohamed Diab Folder                                11/5/2024     11/5/2024
    2982        Greg Olsen - Agreements & Onboarding
                Documents
    2983        Apple Presentation, "Opal-2 design"
    2984        Apple Presentation, "Opal-2 design"
    2985        3/3/2014 Email from Dong Zheng to Louis
                Bokma re Opal-2 for N127A
    2986        Apple Presentation, "Opal-2 design"
    2987        9/29/2013 Email from Marcelo Lamego to Joe         11/5/2024     11/5/2024
                Kiani re AP
    2988        Visual BOM
    2989        Visual BOM
    2990        Technical Presentation
    2991        Provisional Application for US Patent Nos.
                9,723,997 and 10,524,671
    2992        Provisional Application for US Patent Nos.
                9,952,095 and 11,009,390
    2993        drawing of assembly
    2994        drawing of assembly for Folsom module (Series
                6)
    2995        drawing of assembly for Folsom module (Series
                7)
    2996        IS-10120 Physical and Environmental Security
                Policy Rev A.docx
    2997        Email from Joe Kiani to Marcelo Lamego,
                dated 3/8/2009
    2998        Video: Providing You Safety and Support in         11/5/2024     11/5/2024
                Hospital and at Home with Masimo SafetyNet,
                https://www.youtube.com/watch?v=XyCWuSr
                mmMM (Video of MASA03352215)


    2999        Notice of Compliance of Defendant Marcelo
                Lamego, Dkt. 606, Masimo Corp. v. True
                Wearables, Inc., No. 8:18-cv-02002-JVS-JDE

    3001        U.S. Patent Application Publication No.
                2008/0242958
    3002        U.S. Patent Application Publication No.
                2015/0366507


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196499 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date           Date
                                                                Identified     Admitted
    3003        U.S. Patent No. 7,764,982                         11/13/2024    11/13/2024
    3004        Masimo-Rainbow Reusable Senors Graphic
    3005        Masimo-Rainbow Single-Patient-Use Graphic

    3006        Pronto Pulse Co-Oximeter Graphic
    3007        U.S. Patent No. 8,050,728
    3008        Email from McClenahan to Smith, Apr. 15,
                2013
    3009        Laboratory Notebook No. 281, Issued to David
                Dalke, Sept. 5, 2003
    3010        Bob Smith Laboratory Notebook, 2005
    3011        Laboratory Notebook No. 301, Issued to David
                Dalke, Oct. 13, 2004
    3012        Signal IQ Technology
    3013        Email from Gonzalez to Muhsin, Sept. 21, 2018

    3014        Email from Lamego to Rosario, Jul. 2, 2010
    3015        Email from Priddell to Dalke et al., Apr. 24,
                2015
    3016        Masimo QBR Q4 2020 Part 1 Presentation
    3017        Email from Weber to Lee, Dec. 15, 2020
    3018        Design Capture-Cozumel ASIC User Manual
    3019        U.S. Patent No. 10,219,754
    3020        Bluesky-September 2020 Presentation, Sept.
                18, 2020
    3021        Email from Muhsin to Gonzalez, May. 19, 2015

    3022        Email from Ghafoori to Weber, Dec. 11, 2020

    3023        Schematics
    3024        Masimo System Design - Rainbow R1 Board
                System Design
    3025        Email from Abdul-Hafiz to Muhsin, Sept. 15,
                2015
    3026        STK Competitive Landscape Feature List, Oct.
                1, 2021
    3027        Email from Lee to Majmudar et al., Sep. 15,
                2020



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196500 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    3028        Masimo Watch (STK) Algorithms / Sensor,
                Oct. 6, 2020
    3029        Email from Wang to DeJong, Oct. 23, 2020
    3030        Air Watch Straps vs. Apple Watch Straps
    3031        STK Competitive Landscape Feature List, Oct.
                1, 2021
    3032        U.S. Patent No. 10,231,670
    3033        Masimo Watch (STK) Algorithms / Sensor
                PowerPoint, Oct. 6, 2020
    3034        VCC Diagram
    3035        WITHDRAWN
    3036        Recommendation letter from Kiani, Sep. 27,
                2006
    3037        Email from Kiani to Lasersohm et al., Dec. 16,
                2013
    3038        Recommendation Letter from Diab, Aug. 22,
                2006
    3039        Email from Lamego to Cook, Oct. 2, 2013
    3040        Letter from Frazier to Lamego, Dec. 20, 2013
    3041        Email from Lamego to Kiani, Jan. 9, 2014
    3042        Email from Frazier to Lamego, Jan. 9, 2014
    3043        Letter from Jensen to Cook, Jan. 24, 2014
    3044        Signed Lamego Intellectual Property                 11/7/2024     11/7/2024
                Agreement, Jan. 3, 2014
    3045        Apple Business Conduct- The way we do
                business worldwide
  3046.01       Email from Hotelling to Lamego, and
                attachment, Jan. 27, 2014
    3047        WITHDRAWN
    3048        Fitness and wellness technology development,
                Jan. 31, 2014
    3049        Email from Lamego to Williams, Apr. 2, 2014

    3050        Email from Lamego to Hotelling, Jul. 1, 2014        11/7/2024     11/7/2024
    3051        Email from Lamego to Perica, Dec. 2, 2014
    3052        Orange County Business Journal, Why We
                Need Our Patent System; Masimo, OC's
                Shining Example, Nov. 17-23, 2014




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196501 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                       Date         Date
                                                                Identified   Admitted
    3053        Patent Review Meeting Invitation from Ross to
                Weber et al., Jun. 22, 2007
    3054        U.S. Patent No. 10,219,754
    3055        Email from Fu to Lamego, Feb. 11, 2014
    3056        Email from Lamego to Perica, Feb. 26, 2014
    3057        WITHDRAWN
    3058        Email from Lamego to Hotelling, Jun. 30, 2014

    3059        Email from Lamego to Lamego, May. 13, 2014

   3060         Email from Cook to Williams, Jan. 30, 2015
   3061         WITHDRAWN
   3062         WITHDRAWN
   3063         WITHDRAWN
   3064         WITHDRAWN
   3065         WITHDRAWN
   3066         WITHDRAWN
   3067         WITHDRAWN
   3068         WITHDRAWN
   3069         WITHDRAWN
   3070         WITHDRAWN
   3071         WITHDRAWN
   3072         WITHDRAWN
   3073         WITHDRAWN
   3074         WITHDRAWN
   3075         WITHDRAWN
   3076         WITHDRAWN
   3077         WITHDRAWN
   3078         WITHDRAWN
   3079         WITHDRAWN
   3080         WITHDRAWN
  3080.01       WITHDRAWN
  3080.02       WITHDRAWN
  3080.03       WITHDRAWN
  3080.04       WITHDRAWN
  3080.05       WITHDRAWN
  3080.06       WITHDRAWN
  3080.07       WITHDRAWN
  3080.08       WITHDRAWN


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                                Page ID #:196502 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
  3080.09       WITHDRAWN
   3080.1       WITHDRAWN
  3080.11       WITHDRAWN
  3080.12       WITHDRAWN
  3080.13       WITHDRAWN
  3080.14       WITHDRAWN
  3080.15       WITHDRAWN
  3080.16       WITHDRAWN
  3080.17       WITHDRAWN
  3080.18       WITHDRAWN
  3080.19       WITHDRAWN
   3080.2       WITHDRAWN
  3080.21       WITHDRAWN
  3080.22       WITHDRAWN
  3080.23       WITHDRAWN
  3080.24       WITHDRAWN
  3080.25       WITHDRAWN
  3080.26       WITHDRAWN
  3080.27       WITHDRAWN
  3080.28       WITHDRAWN
  3080.29       WITHDRAWN
   3080.3       WITHDRAWN
  3080.31       WITHDRAWN
  3080.32       WITHDRAWN
  3080.33       WITHDRAWN
  3080.34       WITHDRAWN
  3080.35       WITHDRAWN
  3080.36       WITHDRAWN
  3080.37       WITHDRAWN
  3080.38       WITHDRAWN
  3080.39       WITHDRAWN
   3080.4       WITHDRAWN
  3080.41       WITHDRAWN
  3080.42       WITHDRAWN
  3080.43       WITHDRAWN
  3080.44       WITHDRAWN
  3080.45       WITHDRAWN
  3080.46       WITHDRAWN
  3080.47       WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196503 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
  3080.48       WITHDRAWN
  3080.49       WITHDRAWN
   3080.5       WITHDRAWN
  3080.51       WITHDRAWN
  3080.52       WITHDRAWN
  3080.53       WITHDRAWN
  3080.54       WITHDRAWN
    3081        WITHDRAWN
    3082        WITHDRAWN
    3083        WITHDRAWN
    3084        WITHDRAWN
    3085        WITHDRAWN
    3086        WITHDRAWN
    3087        WITHDRAWN
    3088        WITHDRAWN
    3089        WITHDRAWN
    3090        WITHDRAWN
  3091.01       WITHDRAWN
  3091.02       WITHDRAWN
  3091.03       WITHDRAWN
  3091.04       WITHDRAWN
  3091.05       WITHDRAWN
  3091.06       WITHDRAWN
  3091.07       WITHDRAWN
  3091.08       WITHDRAWN
  3091.09       WITHDRAWN
   3091.1       WITHDRAWN
  3091.11       WITHDRAWN
  3091.12       WITHDRAWN
  3091.13       WITHDRAWN
  3091.14       WITHDRAWN
  3091.15       WITHDRAWN
  3091.16       WITHDRAWN
  3091.17       WITHDRAWN
  3091.18       WITHDRAWN
  3091.19       WITHDRAWN
   3091.2       WITHDRAWN
  3091.21       WITHDRAWN
    3092        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196504 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3093        WITHDRAWN
    3094        WITHDRAWN
    3095        WITHDRAWN
    3096        WITHDRAWN
    3097        WITHDRAWN
    3098        WITHDRAWN
    3099        WITHDRAWN
    3100        WITHDRAWN
    3101        WITHDRAWN
    3102        WITHDRAWN
    3103        WITHDRAWN
    3104        WITHDRAWN
    3105        WITHDRAWN
    3106        WITHDRAWN
    3107        WITHDRAWN
    3108        WITHDRAWN
    3109        WITHDRAWN
    3110        WITHDRAWN
    3111        WITHDRAWN
    3112        WITHDRAWN
    3113        WITHDRAWN
    3114        WITHDRAWN
    3115        WITHDRAWN
    3116        WITHDRAWN
    3117        WITHDRAWN
    3118        WITHDRAWN
    3119        WITHDRAWN
    3120        WITHDRAWN
    3121        WITHDRAWN
    3122        WITHDRAWN
    3123        WITHDRAWN
    3124        WITHDRAWN
    3125        WITHDRAWN
    3126        WITHDRAWN
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    3128        WITHDRAWN
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    3130        WITHDRAWN
    3131        WITHDRAWN


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   Case 8:20-cv-00048-JVS-JDE Document 2388 Filed 11/27/24 Page 140 of 224
                    CORRECTED JOINT   ADMITED
                                Page ID #:196505 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    3132        Apple Unveils iOS 8, the Biggest Release Since
                the Launch of the App Store, June 2, 2014

    3133        WITHDRAWN
    3134        WITHDRAWN
    3135        WITHDRAWN
    3136        WITHDRAWN
    3137        WITHDRAWN
    3138        WITHDRAWN
    3139        WITHDRAWN
    3140        WITHDRAWN
    3141        Masimo Launches iSpO2 -- Commerically
                Available Pulse Oximeter for iPhone, iPad &
                iPod Touch, Dec. 12, 2012
    3142        WITHDRAWN
    3143        WITHDRAWN
    3144        WITHDRAWN
    3145        WITHDRAWN
    3146        WITHDRAWN
    3147        WITHDRAWN
    3148        WITHDRAWN
    3149        WITHDRAWN
    3150        WITHDRAWN
    3151        WITHDRAWN
    3152        WITHDRAWN
  3153.01       WITHDRAWN
  3153.02       WITHDRAWN
  3153.03       WITHDRAWN
  3153.04       WITHDRAWN
  3153.05       WITHDRAWN
  3153.06       WITHDRAWN
  3153.07       WITHDRAWN
  3153.08       WITHDRAWN
  3153.09       WITHDRAWN
   3153.1       WITHDRAWN
  3153.11       WITHDRAWN
  3153.12       WITHDRAWN
  3153.13       WITHDRAWN
  3153.14       WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196506 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date         Date
                                                                    Identified   Admitted
  3153.15       WITHDRAWN
  3153.16       WITHDRAWN
  3153.17       WITHDRAWN
  3153.18       WITHDRAWN
   3154         WITHDRAWN
   3155         WITHDRAWN
   3156         WITHDRAWN
   3157         WITHDRAWN
   3158         WITHDRAWN
   3159         WITHDRAWN
   3160         WITHDRAWN
   3161         WITHDRAWN
   3162         WITHDRAWN
   3163         WITHDRAWN
   3164         WITHDRAWN
   3165         Apple introduces Apple Watch Series 2, the
                ultimate device for a healthy life, Sept. 7, 2016

    3166        Apple Watch Series 4: Beautifully Redesigned
                with Breakthrough Communication, Fitness and
                Health Capabilities, Apple Newsroom, 2010

    3167        Using Apple Watch for Arrhythmia Detection,
                Dec. 2020
    3168        Apple reveals Apple Watch Series 7, featuring
                a larger, more advanced display, Sept. 14, 2021

    3169        Apple unveils Apple Watch Series 5, Sept. 10,
                2019
    3170        Apple Unveils Apple Watch—Apple’s Most
                Personal Device Ever, Sept. 9, 2014
    3171        Apple Watch (1st Generation) – Technical
                Specifications, 2019
    3172        Apple Watch Buyer, FY21-Q1 Report
    3173        Apple Watch Comparison
    3174        Apple Watch SE: The ultimate combination of
                design, function, and value, Sept. 15, 2020




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   Case 8:20-cv-00048-JVS-JDE Document 2388 Filed 11/27/24 Page 142 of 224
                    CORRECTED JOINT   ADMITED
                                Page ID #:196507 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    3175        Apple Watch Series 3, brings built-in cellurlar
                powerful new health and fitness enhancements,
                Sept. 12, 2017
    3176        Apple Watch Series 6 delivers breakthrough            11/12/2024    11/12/2024
                wellness and fitness capabilities, Sept. 15, 2020

    3177        WITHDRAWN
    3178        Apple, Introducing Apple Watch Ultra, 2022
    3179        Apple, Nike and Apple Team Up to Launch
                Nike+iPod, Apple Newsroom, 2006
    3180        WITHDRAWN
    3181        WITHDRAWN
    3182        WITHDRAWN
    3183        WITHDRAWN
    3184        WITHDRAWN
    3185        WITHDRAWN
    3186        WITHDRAWN
    3187        WITHDRAWN
    3188        WITHDRAWN
    3189        WITHDRAWN
    3190        WITHDRAWN
    3191        WITHDRAWN
    3192        WITHDRAWN
    3193        WITHDRAWN
    3194        WITHDRAWN
    3195        WITHDRAWN
    3196        WITHDRAWN
    3197        WITHDRAWN
    3198        WITHDRAWN
    3199        WITHDRAWN
    3200        WITHDRAWN
    3201        WITHDRAWN
    3202        WITHDRAWN
    3203        WITHDRAWN
    3204        WITHDRAWN
    3205        WITHDRAWN
    3206        WITHDRAWN
    3207        WITHDRAWN
    3208        WITHDRAWN


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   Case 8:20-cv-00048-JVS-JDE Document 2388 Filed 11/27/24 Page 143 of 224
                    CORRECTED JOINT   ADMITED
                                Page ID #:196508 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3209        WITHDRAWN
    3210        WITHDRAWN
    3211        WITHDRAWN
    3212        WITHDRAWN
    3213        WITHDRAWN
    3214        WITHDRAWN
    3215        WITHDRAWN
    3216        WITHDRAWN
    3217        WITHDRAWN
    3218        WITHDRAWN
    3219        WITHDRAWN
    3220        WITHDRAWN
    3221        WITHDRAWN
    3222        WITHDRAWN
    3223        WITHDRAWN
    3224        WITHDRAWN
    3225        WITHDRAWN
    3226        WITHDRAWN
    3227        WITHDRAWN
    3228        WITHDRAWN
    3229        WITHDRAWN
    3230        WITHDRAWN
    3231        WITHDRAWN
    3232        WITHDRAWN
    3233        WITHDRAWN
    3234        WITHDRAWN
    3235        WITHDRAWN
    3236        WITHDRAWN
    3237        WITHDRAWN
    3238        WITHDRAWN
    3239        WITHDRAWN
    3240        WITHDRAWN
    3241        WITHDRAWN
    3242        WITHDRAWN
    3243        WITHDRAWN
    3244        WITHDRAWN
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    3246        WITHDRAWN
    3247        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196509 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3248        WITHDRAWN
    3249        WITHDRAWN
    3250        WITHDRAWN
    3251        WITHDRAWN
    3252        WITHDRAWN
    3253        WITHDRAWN
    3254        WITHDRAWN
    3255        WITHDRAWN
    3256        WITHDRAWN
    3257        WITHDRAWN
    3258        WITHDRAWN
    3259        WITHDRAWN
    3260        WITHDRAWN
    3261        WITHDRAWN
    3262        WITHDRAWN
    3263        WITHDRAWN
    3264        WITHDRAWN
    3265        WITHDRAWN
    3266        WITHDRAWN
    3267        WITHDRAWN
    3268        WITHDRAWN
    3269        WITHDRAWN
    3270        WITHDRAWN
    3271        WITHDRAWN
    3272        WITHDRAWN
    3273        WITHDRAWN
    3274        WITHDRAWN
    3275        WITHDRAWN
    3276        WITHDRAWN
    3277        WITHDRAWN
    3278        WITHDRAWN
    3279        WITHDRAWN
    3280        WITHDRAWN
    3281        WITHDRAWN
    3282        WITHDRAWN
    3283        WITHDRAWN
    3284        WITHDRAWN
    3285        WITHDRAWN
    3286        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196510 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3287        WITHDRAWN
    3288        WITHDRAWN
    3289        WITHDRAWN
    3290        WITHDRAWN
    3291        WITHDRAWN
    3292        WITHDRAWN
    3293        WITHDRAWN
    3294        WITHDRAWN
    3295        WITHDRAWN
    3296        WITHDRAWN
    3297        WITHDRAWN
    3298        WITHDRAWN
    3299        WITHDRAWN
    3300        WITHDRAWN
    3301        WITHDRAWN
    3302        WITHDRAWN
    3303        WITHDRAWN
    3304        WITHDRAWN
    3305        WITHDRAWN
    3306        WITHDRAWN
    3307        WITHDRAWN
    3308        WITHDRAWN
    3309        WITHDRAWN
    3310        WITHDRAWN
    3311        WITHDRAWN
    3312        WITHDRAWN
    3313        WITHDRAWN
    3314        WITHDRAWN
    3315        WITHDRAWN
    3316        WITHDRAWN
    3317        WITHDRAWN
    3318        WITHDRAWN
    3319        WITHDRAWN
    3320        WITHDRAWN
    3321        WITHDRAWN
    3322        WITHDRAWN
    3323        WITHDRAWN
    3324        WITHDRAWN
    3325        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196511 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date         Date
                                                                  Identified   Admitted
   3326         WITHDRAWN
   3327         WITHDRAWN
  3327.01       O’Brien, Masimo iSpO2 Hands-on: Track Your
                Pulse and Blood Oxygen with Your iPhone,
                Engadget, Jan. 6, 2013
    3328        WITHDRAWN
    3329        WITHDRAWN
    3330        WITHDRAWN
    3331        WITHDRAWN
    3332        WITHDRAWN
    3333        WITHDRAWN
    3334        WITHDRAWN
    3335        WITHDRAWN
    3336        WITHDRAWN
    3337        WITHDRAWN
    3338        WITHDRAWN
    3339        WITHDRAWN
    3340        WITHDRAWN
    3341        Perez et al., Large-Scale Assessment of a
                Smartwatch to Identify Atrial Fibrillation, New
                England Journal of Medicine, 381 (20), 2019

    3342        WITHDRAWN
    3343        WITHDRAWN
    3344        WITHDRAWN
    3345        WITHDRAWN
    3346        WITHDRAWN
    3347        WITHDRAWN
    3348        WITHDRAWN
    3349        WITHDRAWN
    3350        WITHDRAWN
    3351        WITHDRAWN
    3352        WITHDRAWN
    3353        WITHDRAWN
    3354        WITHDRAWN
    3355        WITHDRAWN
    3356        WITHDRAWN
    3357        WITHDRAWN
    3358        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196512 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3359        WITHDRAWN
    3360        WITHDRAWN
    3361        WITHDRAWN
    3362        WITHDRAWN
    3363        WITHDRAWN
    3364        WITHDRAWN
    3365        WITHDRAWN
    3366        WITHDRAWN
    3367        WITHDRAWN
    3368        WITHDRAWN
    3369        WITHDRAWN
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    3371        WITHDRAWN
    3372        WITHDRAWN
    3373        WITHDRAWN
    3374        WITHDRAWN
    3375        WITHDRAWN
    3376        WITHDRAWN
    3377        WITHDRAWN
    3378        WITHDRAWN
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    3381        WITHDRAWN
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    3383        WITHDRAWN
    3384        WITHDRAWN
    3385        WITHDRAWN
    3386        WITHDRAWN
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    3388        WITHDRAWN
    3389        WITHDRAWN
    3390        WITHDRAWN
    3391        WITHDRAWN
    3392        WITHDRAWN
    3393        WITHDRAWN
    3394        WITHDRAWN
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    3396        WITHDRAWN
    3397        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196513 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description              Date         Date
                                                      Identified   Admitted
    3398        WITHDRAWN
    3399        WITHDRAWN
    3400        WITHDRAWN
    3401        WITHDRAWN
    3402        WITHDRAWN
    3403        WITHDRAWN
    3404        WITHDRAWN
    3405        WITHDRAWN
    3406        WITHDRAWN
    3407        WITHDRAWN
    3408        WITHDRAWN
    3409        WITHDRAWN
    3410        WITHDRAWN
    3411        WITHDRAWN
    3412        WITHDRAWN
    3413        WITHDRAWN
    3414        WITHDRAWN
    3415        WITHDRAWN
    3416        WITHDRAWN
    3417        WITHDRAWN
    3418        WITHDRAWN
    3419        WITHDRAWN
    3420        WITHDRAWN
    3421        WITHDRAWN
    3422        WITHDRAWN
    3423        WITHDRAWN
    3424        WITHDRAWN
    3425        WITHDRAWN
    3426        WITHDRAWN
    3427        WITHDRAWN
    3428        WITHDRAWN
    3429        WITHDRAWN
    3430        WITHDRAWN
    3431        WITHDRAWN
    3432        WITHDRAWN
    3433        WITHDRAWN
    3434        WITHDRAWN
    3435        Watch, Apple
    3436        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196514 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    3437        WITHDRAWN
    3438        WITHDRAWN
    3439        WITHDRAWN
    3440        WITHDRAWN
    3441        What you need to know about Apple Watch and
                the Blood Oxygen app
    3442        WITHDRAWN
    3443        WITHDRAWN
    3444        WITHDRAWN
    3445        WITHDRAWN
    3446        WITHDRAWN
    3447        WITHDRAWN
    3448        WITHDRAWN
    3449        WITHDRAWN
    3450        WITHDRAWN
    3451        WITHDRAWN
    3452        WITHDRAWN
    3453        WITHDRAWN
    3454        WITHDRAWN
    3455        WITHDRAWN
    3456        WITHDRAWN
    3457        WITHDRAWN
    3458        WITHDRAWN
    3459        WITHDRAWN
    3460        WITHDRAWN
    3461        WITHDRAWN
    3462        WITHDRAWN
    3463        WITHDRAWN
    3464        WITHDRAWN
    3465        WITHDRAWN
    3466        WITHDRAWN
    3467        WITHDRAWN
    3468        WITHDRAWN
    3469        WITHDRAWN
    3470        WITHDRAWN
    3471        WITHDRAWN
    3472        WITHDRAWN
    3473        WITHDRAWN
    3474        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196515 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3475        WITHDRAWN
    3476        WITHDRAWN
    3477        WITHDRAWN
    3478        WITHDRAWN
    3479        WITHDRAWN
    3480        WITHDRAWN
    3481        WITHDRAWN
    3482        WITHDRAWN
    3483        WITHDRAWN
    3484        WITHDRAWN
    3485        WITHDRAWN
    3486        WITHDRAWN
    3487        WITHDRAWN
    3488        WITHDRAWN
    3489        WITHDRAWN
    3490        WITHDRAWN
    3491        WITHDRAWN
    3492        WITHDRAWN
    3493        WITHDRAWN
    3494        WITHDRAWN
    3495        WITHDRAWN
    3496        WITHDRAWN
    3497        WITHDRAWN
    3498        WITHDRAWN
    3499        WITHDRAWN
    3500        WITHDRAWN
    3501        WITHDRAWN
    3502        WITHDRAWN
    3503        WITHDRAWN
    3504        WITHDRAWN
    3505        WITHDRAWN
    3506        WITHDRAWN
    3507        WITHDRAWN
    3508        WITHDRAWN
    3509        WITHDRAWN
    3510        WITHDRAWN
    3511        WITHDRAWN
    3512        WITHDRAWN
    3513        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196516 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.               Description              Date         Date
                                                   Identified   Admitted
    3514        WITHDRAWN
    3515        WITHDRAWN
    3516        WITHDRAWN
    3517        WITHDRAWN
    3518        WITHDRAWN
    3519        WITHDRAWN
    3520        WITHDRAWN
    3521        WITHDRAWN
    3522        WITHDRAWN
    3523        WITHDRAWN
    3524        WITHDRAWN
    3525        WITHDRAWN
    3526        WITHDRAWN
    3527        WITHDRAWN
    3528        WITHDRAWN
    3529        WITHDRAWN
    3530        WITHDRAWN
    3531        WITHDRAWN
    3532        WITHDRAWN
    3533        WITHDRAWN
    3534        WITHDRAWN
    3535        WITHDRAWN
    3536        WITHDRAWN
    3537        WITHDRAWN
    3538        WITHDRAWN
    3539        WITHDRAWN
    3540        WITHDRAWN
    3541        WITHDRAWN
    3542        WITHDRAWN
    3543        WITHDRAWN
    3544        WITHDRAWN
    3545        WITHDRAWN
    3546        WITHDRAWN
    3547        WITHDRAWN
    3548        WITHDRAWN
    3549        WITHDRAWN
    3550        WITHDRAWN
    3551        WITHDRAWN
    3552        WITHDRAWN


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196517 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    3553        WITHDRAWN
    3554        WITHDRAWN
    3555        WITHDRAWN
    3556        WITHDRAWN
    3557        WITHDRAWN
    3558        WITHDRAWN
    3559        WITHDRAWN
    3560        WITHDRAWN
    3561        WITHDRAWN
    3562        WITHDRAWN
    3563        WITHDRAWN
    3564        Japanese Patent No. JP2004337605A, Yamada
                605
    3565        Kastle, A New Family of Sensors for Pulse
                Oximetry, ("Kastle"), Feb. 1997
    3566        Lathi, Signal Processing and Linear Systems
                ("Lathi 1998"), 1998
    3567        Mendelson, Invasive and Noninvasive Blood
                Gas Monitoring, ("Mendelson 1991"), 1991
    3568        MIT Fall 2010 EECS II Slides, 6.02 Fall 2010
                Lecture #16, Introduction to EECS II, Digital
                Communication Systems
    3569        R.E. Crochiere & L.R. Rabiner, Multirate
                Digital Signal Processing (1983) (“Crochiere &
                Rabiner 1983”)
    3570        WITHDRAWN
    3571        U.S. Patent Application Publication No.            11/12/2024    11/12/2024
                2011/0237911 ("Lamego 2011")
    3572        U.S. Patent No. 5,259,381 ("Cheung")
    3573        U.S. Patent No. 5,349,952 ("McCarthy")              11/5/2024     11/5/2024
    3574        U.S. Patent No. 5,368,224 ("Richardson 1994")

    3575        U.S. Patent No. 5,800,348 to Kaestle
    3576        U.S. Patent No. 5,919,134 ("Diab 1999")
    3577        U.S. Patent No. 5,995,858 ("Kinast 1999")
    3578        U.S. Patent No. 6,229,856 ("Diab 2001")
    3579        U.S. Patent No. 6,253,097 ("Aronow")
    3580        U.S. Patent No. 6,778,923 ("Norris 2003")
    3581        U.S. Patent No. 7,003,338 ("Weber 2005")           11/12/2024    11/12/2024


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196518 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
    3582        U.S. Patent No. 8,358,075 ("Sejkora 2010")
    3583        U.S. Patent No. 8,471,713 ("Poeze 2011")         11/6/2024     11/6/2024
    3584        U.S. Patent No. 9,861,305 ("Weber 2018")        11/12/2024    11/12/2024
    3585        ASIC Engineering Requirements Specification     11/12/2024    11/12/2024


    3586        Series 5 Visual BOM
    3587        Series 6 Visual BOM Risk Ramp
    3588        Apple Watch Then and Now
    3589        Citrine ASIC Engineering Requirements
                Specification, Oct. 31, 2014
    3590        Citrine ASIC Engineering Requirements
                Specification, Mar. 16, 2015
    3591        Citrine ASIC Engineering Requirements
                Specification, Mar. 16, 2015
    3592        Citrine ASIC Engineering Requirements
                Specification, July 14, 2014
    3593        Citrine ASIC Engineering Requirements
                Specification, July 21, 2014
    3594        Citrine ASIC Engineering Requirements
                Specification, Aug. 1, 2014
    3595        Citrine ASIC Engineering Requirements
                Specification, Aug. 4, 2014
    3596        Citrine ASIC Engineering Requirements
                Specification, Aug. 5, 2014
    3597        Citrine ASIC Engineering Requirements
                Specification, Aug. 6, 2014
    3598        Citrine ASIC Engineering Requirements
                Specification, Aug. 11, 2014
    3599        Citrine ASIC Engineering Requirements
                Specification, Aug. 14, 2014
    3600        Citrine ASIC Engineering Requirements
                Specification, Aug. 14, 2014
    3601        Citrine ASIC Engineering Requirements
                Specification, Aug. 18, 2014
    3602        Citrine ASIC Engineering Requirements
                Specification, Aug. 20, 2014
    3603        Citrine ASIC Engineering Requirements
                Specification, Aug. 22, 2014



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196519 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date         Date
                                                              Identified   Admitted
    3604        Citrine ASIC Engineering Requirements
                Specification, Sept. 4, 2014
    3605        Citrine ASIC Engineering Requirements
                Specification, Sept. 5, 2014
    3606        Citrine ASIC Engineering Requirements
                Specification, Sept. 12, 2014
    3607        Citrine ASIC Engineering Requirements
                Specification, Sept. 17, 2014
    3608        Citrine ASIC Engineering Requirements
                Specification, Sept. 24, 2014
    3609        Citrine ASIC Engineering Requirements
                Specification, Sept. 24, 2014
    3610        Citrine ASIC Engineering Requirements
                Specification, Oct. 3, 2014
    3611        Citrine ASIC Engineering Requirements
                Specification, Oct. 3, 2014
    3612        Citrine ASIC Engineering Requirements
                Specification, Oct. 16, 2014
    3613        Citrine ASIC Engineering Requirements
                Specification, Oct. 24, 2014
    3614        Citrine ASIC Engineering Requirements
                Specification, Nov. 7, 2014
    3615        Citrine ASIC Engineering Requirements
                Specification, Nov. 13, 2014
    3616        Citrine ASIC Engineering Requirements
                Specification, Nov. 20, 2014
    3617        Citrine ASIC Engineering Requirements
                Specification, Mar. 16, 2015
    3618        Citrine Engineering Requirements
                Specification, June 9, 2014
    3619        Citrine Engineering Requirements
                Specification, June 13, 2014
    3620        ASIC Engineering Requirements Specification

    3621        ASIC Engineering Requirements Specification

    3622        Algorithm ERS, Aug. 20 2015
    3623        ASIC Engineering Requirements Specification



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196520 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                          Date         Date
                                                                     Identified   Admitted
    3910        Masimo Corporation Research Tax Credit
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    3911        Assembly Design Specification
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    3941        Forehead Sensor Protocol/Test Procedure
    3942        Experiment test


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                                                                   Identified   Admitted
    3943        Plaintiffs’ 3DFD Files
    3944        Plaintiffs’ 3DFD Files
    3945        Plaintiffs’ 3DFD Files
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    3950        Masimo’s OEM Partners
    3951        Rainbow Single Patient Adhesive Sensor, Test
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    3953        Masimo W-1 Website
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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    3965        Culver et al., Diffuse optical tomography of
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                                Page ID #:196537 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
    3978        Apple Watch Series 5 Technical Specifications

   3979         Marcelo Lamego Offer, Jan. 3, 2014                  11/7/2024     11/7/2024
  3980.01       WITHDRAWN
  3980.02       WITHDRAWN
  3980.03       Michael O'Reilly Curriculum Vitae
  3980.04       WITHDRAWN
   3981         Compare Apple Watch Series 6 and Apple
                Watch SE, Aug. 2020
    3982        Line of Business Report – Watch Spreadsheet
    3983        Apple Watch Series 4
    3984        Apple Watch Series 3 Reviewers Guide, Sept.
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    3985        HID Apple Watch Hunter Plan, Dec. 2019
    3986        Email from Adrian Perica to Paul Jansen, Mar.       11/8/2024     11/8/2024
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    3991        Edited Transcript of Masimo Corp at Deutsche
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                           FOR NOVEMBER 2024 TRIAL
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    3998        Apple Watch Series 1 - Technical
                Specifications
    3999        Apple Watch Series 2 - Technical
                Specifications
    4000        Apple reveals Apple Watch Series 8 and the
                new Apple Watch SE, Sept. 7, 2022
    4001        Apple Watch - Compare Models - Apple
    4002        Masimo Corporation NasdaqGS: MASI, FQ4
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    4003        Plaintiffs’ First Supplemental Responses to
                Apple’s First Set of Interrogatories (Nos. 1-2),
                June 19, 2020
    4004        Plaintiffs’ Supplemental Response to Apple’s
                First Set of Interrogatories (Nos. 2, 4-13, 16 &
                17), Aug. 14, 2020
    4005        Plaintiffs’ Responses to Apple’s First Set of
                Interrogatories (1-17), May 14, 2020
    4006        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 4-5), Sept. 6, 2022
    4007        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 6), Sept. 29, 2022
    4008        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 7), Sept. 29, 2022
    4009        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 8), Sept. 29, 2022
    4010        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 9), Sept. 29, 2022
    4011        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 10), Sept. 29, 2022
    4012        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 11), Sept. 6, 2022
    4013        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 12), Sept. 6, 2022
    4014        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 13), Sept. 6, 2022
    4015        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 14-16), Dec. 30, 2020



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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                       Date         Date
                                                                  Identified   Admitted
    4016        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 17), Jan. 6, 2023
    4017        Plaintiffs’ Responses to Interrogatories (Nos.
                18-22), Oct. 5, 2020
    4018        Plaintiffs’ Responses to Interrogatories (No.
                23), Nov. 5, 2020
    4019        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 24), Sept. 6, 2022
    4020        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 24-25), Apr. 27, 2021
    4021        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 26), Dec. 23, 2022
    4022        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 27), Sept. 29, 2022
    4023        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 28), Sept. 6, 2022
    4024        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 4-6, 26 and 29), Feb. 10,
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    4025        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 30), Sept. 29, 2022
    4026        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 31), Sept. 6, 2022
    4027        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 31-35), June 15, 2022
    4028        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 33), Nov. 23, 2022
    4029        Plaintiffs’ Supplemental Responses to
                Interrogatories (No. 34), Sept. 6, 2022
    4030        Plaintiffs’ Supplemental Responses to
                Interrogatories (Nos. 36-41), Jan. 6, 2023
    4031        Plaintiffs’ Objections and Responses to First
                Set of Requests for Admissions (Nos. 1-37),
                Mar. 7, 2022
    4032        Plaintiffs’ Amended Objections and Responses
                to First Set of Requests for Admissions (Nos.
                13, 18-23, 27, 29, 33-35), June 17, 2022




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                                Page ID #:196540 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    4033        Plaintiffs’ Objections and Responses to Second
                Set of Requests for Admissions (Nos. 38-49),
                Aug. 15, 2022
    4034        Plaintiffs’ Objections and Responses to Third
                Set of Requests for Admissions (Nos. 50-54),
                Jan. 6, 2023
    4035        Email from Brandon Strand to Paul Jansen,
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    4036        Cercacor RING Project Update, July 24, 2017

    4037        Engineering Roadmap, July 2017
    4038        Engineering Roadmap, July 2017
    4039        Email from Sean Guyer to David Dalke, Oct.
                16, 2018
    4040        Email from David Dalke to Sean Guyer, Oct.
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    4041        Cercacor RING Project Update, July 24, 2017

    4042        Email from Stephen Monfre to Abe Kiani, July
                24, 2017
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    4044        Email from Stephen Monfre to Gerry
                Hammarth et al., July 23, 2017
    4045        Email from Mathew Paul to Cristiano Dalvi et
                al., July 21, 2017
    4046        Engineering Roadmap, July 2017
    4047        Email from Mathew Paul to Cristiano Dalvi et
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   4048         WITHDRAWN
  4049.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
   4050         WITHDRAWN
  4051.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
   4052         WITHDRAWN
  4053.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
    4054        WITHDRAWN


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                                Page ID #:196541 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date         Date
                                                                  Identified   Admitted
  4055.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
   4056         WITHDRAWN
  4057.01       Email from Kesu Wang to Chad DeJong, and
                attachment, July 30, 2020
   4058         WITHDRAWN
   4059         WITHDRAWN
  4060.01       Email from Chad DeJong to Ammar Al-Ali,
                and attachments, July 31, 2020
    4061        Intellectual Property Agreement (O'Reilly)**
    4062        Business Conduct Policy
    4063        Confidentiality and Intellectual Property
                Agreement
    4064        Email from Youngs to Hotelling, William,
                Roley, Dec. 5, 2013
    4065        Email from Lamego to Williams, Youngs,
                Cook, Riccio, June 30, 2014
    4066        Email from Hotelling to Lamego, Jul 1, 2014
    4067        Email from Hotelling to Lamego, Jul 1, 2014
    4068        Email from Hotelling to Cerny, Jul 1, 2014
    4069        Email from Youngs to Riccio, July 1, 2014
    4070        Email from Riccio to Youngs, July 1, 2014
    4071        New Hire Onboarding, Marcelo Lamego
    4072        Series 3 Visual BOM
    4073        Series 4 Visual BOM
    4074        Series 4 Materials BOM
    4075        Prosecution History - U.S. Patent No. 9,723,997

    4076        iPhone Medical Device; Feb. 4, 2014
    4077        iPhone Medical Device Presentation; Jan. 31,
                2014
    4078        Email from S. Hotelling; Feb. 3, 2014
    4079        Apple helps medical facilities distinguish
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    4080        Apple Releases iOS 8 SDK With Over 4,000
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                                Page ID #:196542 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date         Date
                                                                    Identified   Admitted
    4081        Apple Announces iOS 8 Available September
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    4082        Med City News - Heart patient: Apple Watch
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    4083        Apple Watch Saves Man's Life; Forbes
    4084        MacWorld, How My Apple Watch's Heart-Rate
                Monitoring Saved My Life; July 24, 2016

    4085        WITHDRAWN
    4086        WITHDRAWN
    4087        WITHDRAWN
    4088        Scandium Algorithm ERS, Rev. 1.0, Nov. 9,
                2020
    4089        N157/N158 Core Modules Scandium Update
    4090        Iris Updates for Scandium
    4091        Scandium Update, Apr. 28, 2019
    4092        Scandium POC Review, No.2019
    4093        Scandium Block Diagram
    4094        Board of Directors Update - Health (Nov. 28,
                2016)
    4095        Apps Targeting - Apr. 2013
    4096        U.S. Patent No. 9,877,650
    4097        Email from J. Poole to P. Russell-Clarke re
                Future Watch Housing Material Investigations
                Update
   4098         WITHDRAWN
  4099.01       Email re 2016-2019 Watch Roadmap, and
                attachment, Sept. 16, 2016
    4100        Source Code
    4101        Source Code
    4102        Source Code
    4103        Source Code
    4104        Optical tomography usinf the time-independent
                equation of radiative transfer--Part2: inverse
                model
    4105        Wrist-Based Technologies - Blue Sky
    4106        Technical Drawing


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                                Page ID #:196543 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                    Date         Date
                                                             Identified   Admitted
    4107        Technical Drawing
    4108        Technical Drawing
    4109        Technical Drawing
    4110        Technical Drawing
    4111        Technical Drawing
    4112        Technical Drawing
    4113        Technical Drawing
    4114        Technical Drawing
    4115        Technical Drawing
    4116        Technical Drawing
    4117        Technical Drawing
    4118        N131/141 | Visual BOM: Back Crystal
                Assembly
    4119        Technical Drawing
    4120        Technical Drawing
    4121        Technical Drawing
    4122        Technical Drawing
    4123        Technical Drawing
    4124        Technical Drawing
    4125        Technical Drawing
    4126        Technical Drawing
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    4128        Technical Presentation
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    4130        Technical Presentation
    4131        Technical Presentation
    4132        Technical Presentation
    4133        Technical Presentation
    4134        Technical Presentation
    4135        Overview of Platinum architecture for N131
    4136        N131/N141 | BC Layout: Baseline
    4137        N157/N158 | Core Module - Scandium
    4138        Low-Cost Optical Architecture for N140+
    4139        N157/N158 | Core Module Review - Scandium

    4140        Technical Presentation
    4141        N157/N158 | Core Module - Scandium
    4142        Optical Architecture for N140+



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                                                                Identified   Admitted
    4143        N131/141 Platinum/Osmium | LED Fresnel
                Lens Design
    4144        N157/N158 Osmium Optical ERS
    4145        Technical Presentation
    4146        Technical Presentation
    4147        N131/141 BC | OK2Ramp
    4148        N157 N158 P2: Platinum
    4149        N157/158 | Onyx-Onyx BC | Preliminary
                crosstalk assessment
    4150        Platinum-Osmium Algorithms-Optics Sync
    4151        Surface Reflection Impact on Prox Curve Shape

    4152        Orb| Meeting Efficiencies - Move to AP
    4153        Optical ERS
    4154        Technical Presentation
    4155        Technical Presentation
    4156        Technical Presentation
    4157        Technical Presentation
    4158        Technical Presentation
    4159        N157 | Folsom Module Concepts | Overview
    4160        N157 Scandium LED calibration & traceability
                MP plan
    4161        Watch | Platinum
    4162        N157 | BC xTalk Result: Sensor Board Type
    4163        N157 / N158 HW Architecture Review
    4164        N157/158 | Scandium BC Architecture and
                Proposed Assembly Flow
    4165        N157 Platinum | Architecture Update
    4166        N157 | Platinum | System Performance with
                Different Architectures
    4167        N157/158 Folsom Red-IR separation evaluation

    4168        N157/158 | P1 Cross-Talk FA - Short Path
                Failure Mechanisms
    4169        N157 | Folsom: D2 Schedule
    4170        N157 | Folsom: P1 Schedule
    4171        N157 | Folsom Module Concepts | Overview
    4172        N157/N158 Proto2 DMR | Platinum: Top Issues



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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    4173        N157/N158 | Optical Architecture Checkpoint
    4174        Health Sensing HW Roadmap Priorities
    4175        Platinum: Optical Architecture Technology
                Review
    4176        docx/PDF: is final format for documentation
    4177        Technical Presentation
    4178        Hotelling Org Plan - N27A
    4179        Hotelling Org Plan: 2012-09-30
    4180        Hotelling Resource Plan (Updated: 10/7/16)
    4181        Apple Business Conduct Policy Dec. 2012           11/8/2024     11/8/2024
    4182        Apple Business Conduct Policy Aug. 2014
    4183        Apple Business Conduct Policy October 2014

    4184        Apple Business Conduct Policy October 2015

    4185        Apple Business Conduct Policy October 2020

    4186        Apple Unsolicited Ideas Submission Policy
    4187        Apple Worldwide Business Conduct Policy
                Training 2019
    4188        Apple-Masimo Confidentiality Agreement
    4189        What you need to know about Apple Watch,
                ECG
    4190        N27A Platinum Optical ERS
    4191        JH1 Optical Sensors Subassembly External HW
                ERS
    4192        Email from Priddell to Al-Ali, June 23, 2020
    4193        Leaving a Competitor
    4194        Apple Watch Buyer Survey Report, FY2021 Q2        11/8/2024     11/8/2024


    4195        Apple Watch Buyer Survey Report, FY2021 Q3       11/12/2024    11/12/2024


    4196        Apple Watch Buyer Survey Report, FY2021 Q4       11/12/2024    11/12/2024


    4197        Apple Watch Buyer Survey Report, FY2022 Q1       11/12/2024    11/12/2024


    4198        Apple Watch Buyer Survey Report, FY2022 Q2       11/12/2024    11/12/2024




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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date           Date
                                                               Identified     Admitted
    4199        Email from Ian Shapiro to Platinum Alg Core       11/8/2024     11/8/2024
                Team, Apr. 14, 2014
    4200        Rebuttal Report of Shirley Webster, Schedule
                1, Nov. 17, 2023
   4201         WITHDRAWN
  4201.01       Rebuttal Report of Shirley Webster, Schedule     11/12/2024    11/12/2024
                2, Nov. 17, 2023
   4202         WITHDRAWN
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                3, Nov. 17, 2023
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    4205        Rebuttal Report of Shirley Webster, Schedule
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    4209        Rebuttal Report of Shirley Webster, Schedule
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                                Page ID #:196547 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
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    4221        Image of MASITC_P_065 (ITC Ex. No. CPX-
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    4222        Image of MASITC_P_019 (ITC Ex. No. CPX-
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    4223        Image of MASITC_P_020 (ITC Ex. No. CPX-
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    4224        Image of MASITC_P_021 (ITC Ex. No. CPX-
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    4225        Image of MASITC_P_029 (ITC Ex. No. CPX-
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Trial Ex. No.                    Description                      Date         Date
                                                                Identified   Admitted
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    4244        AppleRTPFirmware Source Code unmodified

    4245        ASIC Engineering Requirements Specification

    4246        ASIC Specifications and Requirements
    4247        Photographs of Warren's Measurements re
                Masimo W1 Watch
    4248        Photographs of Warren's Measurements re
                Samsung Galaxy Watch3
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                Apple Watch Series 7 with Shunt Switch
    4250        Photographs of Warren's Measurements re
                Apple Watch Series 7 without Shunt Switch
    4251        Photographs of Warren's Measurements re
                Apple Series 7 commercially available off the
                shelf
    4252        Information Disclosure Statement - Advanced
                Pulse Oximetry Sensor
    4253        Information Disclosure Statement - Multi-
                Steam Data Collection System
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                Steam Data Collection System
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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
  4355.01       Email from Perica to Williams, and attachment,      11/8/2024     11/8/2024
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                                Page ID #:196554 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
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    4399        Take an ECG with the ECG app on Apple
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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date         Date
                                                                  Identified   Admitted
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                International CES; Reveals Design of Web
                Dashboard”,
                Cision, Jan. 9, 2012
    4493        “Samsung Gear Fit hands-on review – curved
                display + heart-rate sensor = fitness band gold”,
                Stuff,
                Feb. 24, 2014
    4494        Galaxy S5 Explained: the Heart Rate Sensor
                and S Health 3.0, Samsung Newsroom, May 6,
                2014
    4495        “Garmin Forerunner 230 & 235 In-Depth
                Review”, DC RAINMAKER, November 25,
                2015
    4496        “Microsoft Band 2 review”, Wearable,
                November 27, 2015
    4497        “About VO2 Max. Estimates, Garmin
    4498        “Suunto Spartan Sport Wrist HR In-Depth
                Review”, DC RAINMAKER, May 12, 2017
    4499        “Garmin debuts the fenix 5 Plus, adds maps,
                music, Garmin Pay and wrist-based Pulse Ox to
                its premium
                multisport GPS watch series,” Garmin, June 18,
                2018


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196560 EXHIBIT LIST
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Trial Ex. No.                     Description                        Date         Date
                                                                   Identified   Admitted
    4500        “Fitbit Charge 2 review: Sports tracking for the
                masses”, Wearable, Sept. 12, 2017
    4501        “The Huawei Watch 2: Strava, VO2 max and
                WiFi”, bikeradar, Mar. 5, 2017
    4502        “Huami reveals Amazfit Pace 2 smartwatch”,
                Gadgets & Wearables, Dec. 12, 2017
    4503        Fitbit Introduces Fitbit Versa, the Smartwatch
                for All, Business Wire, Mar. 13, 2018
    4504        “Garmin Fenix 5/5S/5X Plus In-Depth Review
                (with Maps, Music, Payments)”, DC
                RAINMAKER, June
                18, 2018
    4505        “Fitbit enables blood oxygen sensor in Ionic,
                Charge 3
                and Versa”, Trusted Reviews, Jan. 16, 2020
    4506        “COROS VERTIX Adventure GPS Watch:
                Hands-on with their new premium watch”, DC
                RAINMAKER,
                May 14, 2019
    4507        “Huawei Band 4 Pro comes with an SpO2
                sensor, GPS and NFC”, Gadgets & Wearables,
                Dec. 6,
                2019
    4508        “Galaxy Watch 3 review: A stunning
                smartwatch with SpO2 tracking and ECG”,
                CNET, Sept. 24,
                2020
    4509        Introducing Fitbit Sense: The Advanced Health
                Smartwatch Featuring Innovation in Stress
                Management,
                Heart Health, and Wellness, Fitbit News, Aug.
                25, 2020
    4510        “Maxim Unveils First Wrist-Worn Platform for
                Monitoring ECG, Heart Rate and
                Temperature”, Maxim
                Integrated, Sept. 25, 2018
    4511        “CES 2019: The Withings Move fitness watch
                has ECG for $130”, CNET, Jan. 7, 2019



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                                Page ID #:196561 EXHIBIT LIST
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Trial Ex. No.                     Description                          Date         Date
                                                                     Identified   Admitted
    4512        “Fitbit’s new Sense smartwatch can take your
                skin’s temperature to help you manage stress”,
                The Verge,
                Aug. 25, 2020
    4513        “Best Smartwatch with Temperature Sensor for
                2022”, Digital Health Central, Oct. 18, 2021

    4514        “Best Smartwatches with Fall Detection in
                2022”, Deal N Tech, July 26, 2022
    4515        “Best Smartwatches With Menstrual Tracker”,
                TechThirsty, Mar. 15, 2021
    4516        “Samsung Gear Fit 2: The best, and least
                expensive, GPS music playing activity band
                available”, ZD Net,
                July 27, 2016
    4517        “Fitbit Ionic review: not iconic, but still pretty
                good”, The Verge, Oct. 2, 2017
    4518        “Garmin's new Forerunner GPS smartwatch
                adds music and payments”, CNET, Jan. 8, 2018

    4519        “Fitbit Ionic review: Good fitness tracker,
                passable smartwatch”, Engadget, Oct. 22, 2017

    4520        “Introducing Garmin® vívoactive® 4 and 4S
                GPS smartwatches with enhanced health
                monitoring and new
                animated on-screen workouts”, Garmin, Sept. 5,
                2019
    4521        “Stay Connected No Matter Where You Are
                with the New Samsung Galaxy Watch”,
                Samsung Newsroom,
                Aug. 10, 2018
    4522        “Garmin introduces its first LTE-enabled
                smartwatch”, The Verge, Jan. 7, 2019
    4523        “Best smartwatch with LTE 2022”, Android
                Central, Aug. 10, 2022




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196562 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
    4524        “Smartwatch Market Size Will Achieve USD
                156.3 Billion by 2030 growing at 20.1% CAGR
                - Exclusive
                Report by Acumen Research and Consulting”,
                Globe Newswire, Aug. 29, 2022
    4525        “Wearables Market Sees First Decline at
                Beginning of 2022 as Demand Normalizes,
                According to IDC”,
                IDC, June 7, 2022
    4526        “Medical Monitoring Pioneer Announces the
                Limited Market Release of the Masimo W1™
                Watch for
                Consumers”, Masimo, May 2, 2022
    4527        Masimo Corporation FQ3 2022 Earnings Call
                Transcripts, November 9, 2022
    4528        Email between Robert Mansfield and David
                Affourtit, Jan. 8, 2013
    4529        Picture of Masimo sensor module
                MASA_P_096
    4530        Picture of Apple Watch Series 7, 45mm
    4531        Picture of Masimo W1
    4532        Picture of Masimo W1 – Depth Measurement
    4533        Picture of Apple Watch Series 7, 45mm –
                Depth Measurement
    4534        Picture of Apple Watch Series 7, 45mm
    4535        Picture of Apple Watch Series 7, 45mm – Back
                Crystal Measurement
    4536        Zacks Equity Research, Yahoo!news, Masimo
                Launches MightySat Pulse Oximeter for
                Personal Use –
                Analyst Blog, Jan. 6, 2015
    4537        Masimo, Patents
    4538        Masimo Corporation SEC Form 10-Q for the
                quarterly period ended July 2, 2022
    4539        Masimo Corporation SEC Form 10-Q for the
                quarterly period
                ended October 1, 2022
    4540        Apple Health Information



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Trial Ex. No.                    Description                     Date           Date
                                                               Identified     Admitted
    4541        Q3 FY 2015 to Q2 FY 2022: Apple Inc.
                Worldwide Apple Watch Sales Data, FY15Q3-
                FY22Q2
    4542        Q3 2022: Apple Inc. Worldwide Apple Watch
                Sales Data, FY22Q3
    4543        Empowering people to live a healthier day,
                Apple, July 2022
    4544        Wavelength Tracking ERS
    4545        N187 Scandium PD Notebook
    4546        N27A Platinum Optical ERS rev 0.1
    4547        N27A Platinum Optical ERS rev 0.8
    4548        N187 Visual BOM
    4549        Plaintiffs' Second Amended Complaint
    4550        Plaintiffs' Second Amended Complaint
                (redacted excerpt for D9)
    4551        Declaration of Jeroen Poeze in Support of
                Plaintiffs Masimo Corporation and Cercacor
                Laboratories Inc.'s Motion for Preliminary
                Injunction
    4552        Track your nightly wrist temperature changes
                with Apple Watch
    4553        N41 Prox Proto 2 Build Report                    11/12/2024    11/12/2024
    4554        Testing Results                                  11/12/2024    11/12/2024
    4555        U.S. Patent Application Publication No.
                2014/0276119 (“Fitbit”)
    4556        U.S. Patent Application Publication No.
                2009/0259116 (“Wasserman”)
    4557        Photograph from Inspection of Masimo Devices

    4558        Photograph from Inspection of Masimo Devices

    4559        Apple Watch Series 7 Photograph
    4560        Apple Watch Series 7 Photograph
    4561        Photograph from Inspection of Masimo Devices

    4562        Apple Watch Series 4 (GPS + Cellular) First
                Look
    4563        Testing Data
    4564        Testing Data


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Trial Ex. No.                  Description              Date         Date
                                                      Identified   Admitted
    4565        Testing Data
    4566        Testing Data
    4567        Testing Data
    4568        Testing Data
    4569        Testing Data
    4570        Testing Data
    4571        Testing Data
    4572        Testing Data
    4573        Testing Data
    4574        Testing Data
    4575        Testing Data
    4576        Testing Data
    4577        Testing Data
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    4579        Testing Data
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    4581        Testing Data
    4582        Testing Data
    4583        Testing Data
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    4587        Testing Data
    4588        Testing Data
    4589        Testing Data
    4590        Testing Data
    4591        Testing Data
    4592        Testing Data
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    4594        Testing Data
    4595        Testing Data
    4596        Testing Data
    4597        Testing Data
    4598        Testing Data
    4599        Testing Data
    4600        Testing Data
    4601        Testing Data
    4602        Testing Data
    4603        Testing Data


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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date         Date
                                                                 Identified   Admitted
    4604        Testing Data
    4605        Intellectual Property Agreement
    4606        Hello Again now.png
    4607        Hello Again SteveiMac-HiRes.jpg
    4608        Hello Again then.png
    4609        iPod Silhouette Advertisement Orange
    4610        iPod Silhouette Advertisement Green
    4611        iPod Silhouette Advertisement Purple Billboard

    4612        iPod Silhouette Advertisement Street
    4613        iPod Silhouette Advertisement Pink
    4614        Think Different
    4615        Think Different Aldrin
    4616        Think Different Einstein
    4617        Think Different Graham
    4618        1984 Apple Macintosh Commercial
    4619        Apple Think Different Commercial
    4620        Apple Misunderstood Commercial
    4621        Apple Skateboard Commercial
    4622        Outstanding Commercial Nominees 1998
                Emmy Awards
    4623        Winner Outstanding Commercial 1998 Emmy
                Awards
    4624        Outstanding Commercial Nominees 2014
                Emmy Awards
    4625        Winner Outstanding Commercial 2014 Emmy
                Awards
    4626        Apple 911 Commercial
    4627        D&AD Graphite Pencil Award Apple 911
    4628        The One Show Silver Pencil Award Apple 911

    4629        Apple 911 Commercial Series 7
    4630        75th Annual DGA Awards Nominees Apple
                Hard Knocks
    4631        Outstanding Commercial Nominees 2021
                Emmy Awards
    4632        DGA 2021 Nominees Apple ECG and Sleep
    4633        Apple Sleep Commercial
    4634        Apple Hard Knocks Commercial


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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                      Date           Date
                                                                Identified     Admitted
    4635        Apple It Already Does That Commercial
    4636        BusinessWire, Masimo Announces FDA
                Clearance for Home Use of Rad-97, Jan. 9,
                2018
    4637        U.S Patent No. 5,782,757                           11/5/2024     11/5/2024
    4638        WITHDRAWN
    4639        WITHDRAWN
   4639.1       WITHDRAWN
   4639.2       WITHDRAWN
   4639.3       WITHDRAWN
    4640        WITHDRAWN
   4640.1       WITHDRAWN
    4641        WITHDRAWN
    4642        Email from Shanti Vasudevan to Platinum            11/8/2024     11/8/2024
                Algorithm Sync, July 26, 2013
    4643        Platinum Algorithms, Version 0.1, May 16,          11/8/2024     11/8/2024
                2014
    4644        N27A Ambient Light Variability Impact              11/8/2024     11/8/2024
                Assessment, Ambient Light Variation / Subject
                Motion Study, Nov. 13, 2013
    4645        Email from Shanti Vasudevan to Platinum
                Algorithm Sync, July 31, 2013
    4646        Email from Daniel Culbert to Travis McQueen        11/8/2024     11/8/2024
                et al, Sept 30, 2013
    4647        N27A P1401F.0 - Outdoor Pilot Study, Feb 26,
                2014
    4648        N27A Libra Flex / Opal DC: Benchtop
                Ambient Rejection Experiments Using 1- and 2-
                Sided DCS
    4649        Email from Hotelling to Land and others, with
                attachment N38 Sensor Candidates
                Presentation, Sept. 4, 2012
    4650        N38 Offsite Presentation
    4651        Email from Kong to Wynn and others, with
                attachment N27A Platinum, BRR Follow Up,
                Mar. 2, 2014,
    4652        X177, System FA Guide (Back Sensor Cal)
                Presentation



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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
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    4653        Email from Waydo to Platinum-Alg-Core-Team
                and others, February 26, 2014, with attachment
                N27A P1401F.0 - Outdoor Pilot Study

    4654        N27 Ambient Light Variability Impact
                Assessment Ambient Light Variation / Subject
                Motion Study Presentation
    4655        N27 Simulated Impact of 1- and 2-Sided DCS
                on avgHR Performance with Ambient Light
                Intrusion— Assuming Perfect Sensor Linearity
                Presentation
    4656        Platinum Chipset Development Presentation
    4657        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 31, 2013
    4658        Platinum Ambient Light - Problem Statement
                Presentation
    4659        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 25, 2013
    4660        Email from Vasudevan to Platinum-Algorithm-
                Sync, July 25, 2013
    4661        Email from Kanaris to Land and others, July 31,
                2013
    4662        Email from Waydo to Vulbert and others, Nov.
                2, 2013
    4663        N38 Manager Meeting
    4664        N27A Platinum Asymmetrical Configs: Test
                Results and Down-Select
    4665        N27A Platinum Asymmetrical Configs: Test
                Results and Down-Select
    4666        N27A Platinum Status
    4667        N27a/N28a Platinum Deep Dive, Apr. 16, 2014         11/12/2024    11/12/2024


    4668        N27 Architecture Overview Slide Deck
    4669        N27A Platinum: Executive Status Agenda, Jan.        11/12/2024    11/12/2024
                21, 2014
    4670        Visual BOM
    4671        Apple Schematic, Drawing Number 613-00101,
                Rev. 04, Nov. 21, 2013
    4672        N38 Sensors Slide Deck


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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    4673        Apple Schematic, Drawing Number 816-00019,
                Rev. 01, Nov. 21, 2013
    4674        N38 P0 Demo Slide Deck
    4675        N131/N141 Platinum/Osmium Design                    11/12/2024    11/12/2024
                Checkpoint, Feb. 15, 2016
    4676        N27a Sensor Design Targets Overview Slide
                Deck
    4677        Emai from Brian Land to Fletcher Rothkopf,          11/12/2024    11/12/2024
                June 13, 2013
    4678        Email from Adrian Perica to Steve Smith, Jan.
                19, 2003
    4679        N27A Platinum Compact Asymmetric
                Diffusive Optics, Sept. 6, 2013
    4680        N38 Offsite, Jan. 18, 2013                           11/8/2024     11/8/2024
    4681        N14 Prox Module External ERS
    4682        Email from Jennifer Kong to Chinsan Han,            11/12/2024    11/12/2024
                Dec. 20, 2013
    4683        N27A Platinum Brainstorm Meeting Notes              11/12/2024    11/12/2024
    4684        Curriculum Vitae of Shirley Webster                 11/12/2024    11/12/2024
    4685        Curriculum Vitae of Majid Sarrafzadeh               11/12/2024    11/12/2024
    4686        Curriculum Vitae of Steve Warren                    11/13/2024    11/13/2024
    4687        Apple Inc., Q2 Earnings Call, May 2, 2024           11/12/2024    11/12/2024
    4688        Updated Rebuttal Schedule 1 of Shirley              11/12/2024    11/12/2024
                Webster (Appendix C)
    4689        Updated Rebuttal Schedule 2 of Shirley              11/12/2024    11/12/2024
                Webster (Appendix C)
    4690        Updated Rebuttal Schedule 3 of Shirley              11/12/2024    11/12/2024
                Webster (Appendix C)
    4691        Updated Rebuttal Schedule 4 of Shirley              11/12/2024    11/12/2024
                Webster (Appendix C)
    4692        U.S. Patent No. 6,792,300                            11/5/2024     11/5/2024
    5000        5/3/2013 Email from Steve Hotelling to Steve         11/8/2024     11/8/2024
                Smith, et al., re Masimo Notes with attachments




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                           FOR NOVEMBER 2024 TRIAL
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    5001

                For the First Time, DoubleTree by Hilton
                Reveals Official Chocolate Chip Cookie Recipe
                so Bakers Can Create the Warm, Welcoming
                Treat at Home, Hilton Food & Beverage, April
                9, 2020, https://stories.hilton.com/food-
                beverage/static-doubletree-reveals-cookie-
                recipe (accessed April 16, 2023)
   5001.1       8/8/2024 Email from Jessica Batista to Sindura
                Penubarthi re K240229/S002 Review Complete
                with attachments
    5002        10/14/2018 Text Message from Michael
                O'Reilly to Joe Kiani
   5002.1       Jeffrey Kinrich Updated Expert Report               11/7/2024     11/7/2024
                Appendix A - Kinrich CV
    5003        N4 l Prox Module External ERS
   5003.1       Jeffrey Kinrich Updated Expert Report
                Appendix B Materials Considered
    5004        Jeffrey Kinrich Updated Expert Report Exhibit
                1A - Apple's Gross Profits Realted to Masimo's
                Trade Secrets - U.S. Q4 Fy 2020-January 17,
                2024
    5005        Jeffrey Kinrich Updated Expert Report Exhibit
                1B - Apple's Gross Profits Realted to Masimo's
                Trade Secrets - Worldwide Q4 Fy 2020-January
                17, 2024
    5006        Jeffrey Kinrich Updated Expert Report Exhibit
                1C - Apportionment of Apple Profits to
                Masimo Trade Secrets
    5007        Jeffrey Kinrich Updated Expert Report Exhibit
                1D - APPLE'S GROSS PROFITS RELATED
                TO MASIMO'S TRADE SECRETS
                INCLUDING VALUE OF SERIES 6 APPLE
                WATCH CHIP U.S. Q4 FY 2020 − JANUARY
                17, 2024




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    5008        Jeffrey Kinrich Updated Expert Report Exhibit
                1E - APPLE'S GROSS PROFITS RELATED
                TO MASIMO'S TRADE SECRETS
                INCLUDING VALUE OF SERIES 6 APPLE
                WATCH CHIP Worldwide Q4 FY 2020 −
                JANUARY 17, 2024
    5009        Jeffrey Kinrich Updated Expert Report Exhibit
                1F - APPORTIONMENT OF APPLE
                PROFITS TO MASIMO TRADE SECRETS
                INCLUDING VALUE OF SERIES 6 APPLE
                WATCH CHIP
    5010        Jeffrey Kinrich Updated Expert Report Exhibit
                2A - APPLE WATCH SALES U.S. Q3 FY
                2015 – Q2 FY 2024
    5011        Jeffrey Kinrich Updated Expert Report Exhibit
                2B - APPLE WATCH SALES WORLDWIDE
                Q3 FY 2015 – Q2 FY 2024
    5012        Jeffrey Kinrich Updated Expert Report Exhibit
                3A - APPLE WATCH AVERAGE SELLING
                PRICE, STANDARD PROFIT PER UNIT,
                AND GROSS PROFIT PER UNIT U.S. Q3 FY
                2015 – Q2 FY 2024
    5013        Jeffrey Kinrich Updated Expert Report Exhibit
                3B - APPLE WATCH AVERAGE SELLING
                PRICE, STANDARD PROFIT PER UNIT,
                AND GROSS PROFIT PER UNIT WW Q3 FY
                2015 – Q2 FY 2024
    5014        Jeffrey Kinrich Updated Expert Report Exhibit
                4A - U.S. APPLE WATCH BUYER SURVEY
                RESPONSES - RESPONSES TO Q. 171
                "FOR WHICH OF THESE PURPOSES DID
                YOU DECIDE TO GET AN APPLE
                WATCH?" Q1 FY 2019 – Q2 FY 2024




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                           FOR NOVEMBER 2024 TRIAL
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                                                                Identified   Admitted
    5015        Jeffrey Kinrich Updated Expert Report Exhibit
                4B - U.S. APPLE WATCH BUYER SURVEY
                RESPONSES - RESPONSES TO Q. 172 "AND
                WHICH OF THESE WAS THE MOST
                IMPORTANT PURPOSE WHY YOU
                DECIDED TO GET AN APPLE WATCH?"
                Q1 FY 2019 – Q2 FY 2024

    5016        Jeffrey Kinrich Updated Expert Report Exhibit
                4C - U.S. APPLE WATCH BUYER SURVEY
                RESPONSES - RESPONSES TO Q. 173
                "WHICH OF THESE NEW FEATURES, IF
                ANY, WERE MOST INFLUENTIAL IN
                YOUR DECISION TO GET THE APPLE
                WATCH?" Q1 FY 2019 – Q2 FY 2024


    5017        Jeffrey Kinrich Updated Expert Report Exhibit
                5 - APPLE WATCH LINE OF BUSINESS
                REPORT WORLDWIDE Q3 FY 2015 – Q2 FY
                2024
    5018        Jeffrey Kinrich Updated Expert Report Exhibit
                6-
                APPLE WATCH FEATURE COMPARISON
                1ST GENERATION/SERIES 0 THROUGH
                ULTRA 2
    5019        Promoted features for the Series 6 identified
                from https:??ww.applecom/apple-watch-series-
                6/ (accessed May 4, 2021)
    5020        Promoted features for the Series 7 identified
                from
                https://web.archive.org/web/20220116155822/h
                ttps:/www.apple.com/watch/compare/ (accessed
                August 8, 2024)
    5021        Promoted features for the Series 8 and Ultra
                identified from
                https://web.archive.org/web/20221225070339/h
                ttps:/www.apple.com/watch/compare/ (accessed
                August 8, 2024)
    5022        Withdrawn



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                                                                 Identified     Admitted
    5023        Promoted features for the Series 9 and Ultra 2
                identified from
                https://www.apple.com/watch/compare/
                (accessed August 8, 2024)
    5024        Withdrawn
    5025        Form 10-K Apple Inc.FY End Sept. 28, 2019
    5026        Presentation - Apple Watch Buyer - FY23-Q1
                Report
    5027        Presentation - Apple Watch Buyer - FY22-Q3
                Report
    5028        Presentation - Apple Watch Buyer - FY22-Q4
                Report
    5029        Presentation - Apple Watch Buyer - FY23-Q2
                Report
   5029.1       5/13/2023 Email from Elise Macdonald re
                Apple Watch Buyer Survey - FY23-Q2 Report
                (with attachment)
    5030        Presentation - Apple Watch Buyer - FY23-Q3
                Report
    5031        Presentation - Apple Watch Buyer Survey -          11/12/2024    11/12/2024
                FY19-Q4 Report
    5032        Presentation - Apple Watch Buyer Survey -          11/12/2024    11/12/2024
                FY19-Q3 Report
    5033        Presentation - Apple Watch Buyer Survey -
                FY20-Q1 Report
    5034        Presentation - Apple Watch Buyer Survey -
                FY20-Q4 Report
    5035        Presentation - Apple Watch Buyer Survey -          11/12/2024    11/12/2024
                FY19-Q1 Report
    5036        Presentation - Apple Watch Buyer - FY20-Q2
                Report
    5037        Presentation - Apple Watch Buyer - FY20-Q3
                Report
    5038        Presentation - Apple Watch Buyer - FY21-Q1
                Report
    5039        Presentation - Apple Watch Buyer Survey -          11/12/2024    11/12/2024
                FY19-Q2 Report
    5040        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY15-Q2FY22


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                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                     Date           Date
                                                                Identified     Admitted
    5041        Presentation - Apple Watch Buyer - FY21-Q2
                Report
    5042        Presentation - Apple Watch Buyer - FY21-Q4
                Report
   5042.1       1/19/2022 Email from Deidre Caldbeck Dane
                Johnson re Fwd: Apple Watch Buyer Survey -
                FY21 -Q4 KPIs (with attachment)
    5043        Presentation - Apple Watch Buyer - FY22-Q2
                Report
    5044        Presentation - Apple Watch Buyer - FY21-Q3
                Report
    5045        Presentation - Apple Watch Buyer - FY22-Q1
                Report
    5046        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q4FY23-Q1FY24
    5047        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY22-Q3FY23
   5047.1       Native - Excel - Apple Inc. Line of Business
                Report - Watch Q3FY22-Q3FY23
    5048        Native - Excel - Apple Inc. Line of Business
                Report - Watch Q2FY24
    5049        Presentation - Apple Watch Ultra, Apple Watch
                Series 8, Apple Watch SE early buyer, October
                2022
    5050        Presentation - Apple Watch Buyer, FY23-Q4
                Report
    5051        Presentation - Apple Watch Buyer, FY24-Q2
                Report
    5052        Presentation - Apple Watch Buyer, FY24-Q1
                Report
    5053        Presentation - Apple Watch Ultra 2 and Apple
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    5054        Apple Watch SE (2nd Generation) Tech Specs,        11/7/2024     11/7/2024
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   Case 8:20-cv-00048-JVS-JDE Document 2388 Filed 11/27/24 Page 209 of 224
                    CORRECTED JOINT   ADMITED
                                Page ID #:196574 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date         Date
                                                                    Identified   Admitted
    5056        https://support.apple.com/en-us/112009
                (accessed June 6, 2024)
   5056.1       https://www.apple.com/newsroom/2014/09/09A
                pple-Unveils-Apple-Watch-Apples-Most-
                Personal-Device-Ever/ (accessed May 17,
                2024);
    5057        https://www.apple.com/newsroom/2015/03/09A
                pple-Watch-Available-in-Nine-Countries-on-
                April-24/ (accessed May 17, 2024).
    5058        https://www.dimensions.com/element/apple-
                watch-series-0-1st-gen (accessed June 6, 2024).

    5059        https://www.apple.com/watch/compare/
                (accessed May 16, 2024).
    5060        https://support.apple.com/en-us/111985
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    5061        https://www.apple.com/newsroom/2016/09/app
                le-introduces-apple-watch-series-2/ (accessed
                May 17, 2024)
    5062        Withdrawn
    5063        https://support.apple.com/en-us/112022
                (accessed June 6, 2024)
    5064        Withdrawn
    5065        https://support.apple.com/en-us/111891
                (accessed June 6, 2024)
    5066        https://www.apple.com/newsroom/2017/09/app
                le-watch-series-3-features-built-in-cellular-and-
                more/ (accessed May 17, 2024).
    5067        https://www.apple.com/newsroom/2018/09/red
                esigned-apple-watch-series-4-revolutionizes-
                communication-fitness-and-health/ (accessed
                July 10, 2024)
    5068        https://support.apple.com/en-us/111984
                (accessed July 10, 2024).
    5069        https://www.apple.com/newsroom/2023/09/app
                le-unveils-apple-watch-ultra-2/ (accessed May
                16, 2024)
    5070        https://support.apple.com/en-us/111832
                (accessed May 16, 2024).


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196575 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                        Date           Date
                                                                  Identified     Admitted
    5071        Forbes, “Ban on Apples Watch Sales Paused by         11/7/2024     11/7/2024
                Appeals Court,” available at
                https://www.forbes.com/sites/zacharyfolk/2023/
                12/27/ban-on-apple-watch-sales-paused-by-
                appeals-court/?sh=295696d94555 (accessed
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    5072        Appellant Apple Inc.’s Motion to Expedite Oral       11/7/2024     11/7/2024
                Argument, August 7, 2024,
    5073        Gurman, Mark, “The Late-Night Email to Tim
                Cook that Set the Apple Watch Saga in
                Motion,” Bloomberg, December 27, 2023,
                available at:
                https://www.bloomberg.com/news/articles/2023-
                12-27/what-started-the-apple-watch-ban-saga-a-
                late-night-email-to-ceo-tim-cook (accessed July
                10, 2024).

    5074        Excel Spreadsheet - Apple Watch Sales - Q4
                2022 - Q1 2023
   5074.1       Excel Spreadsheet - Apple Watch Sales - Q4
                2022 - Q1 2023
    5075        Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
   5075.1       Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
    5076        Excel Spreadsheet - Apple Watch Sales - Q2
                2023 - Q3 2023
    5077        Excel Spreadsheet - Apple Watch Sales - Q4
                2023 - Q1 2024
    5078        Excel Spreadsheet - Apple Watch Sales - Q2
                2024
    5079        Radar
    5080        ASIC Specifications and Requirements
    5081        ASIC Specifications and Requirements
    5082        Radar, "CBTL1603A0 - Custom LED
                Transmitter Multiplexer ASIC" - Rev 0.1 -
                December 14, 2018
    5083        Radar, "CBTL1603B0 - Custom LED
                Transmitter Multiplexer ASIC" - Rev. 1.0 - July
                2, 2020


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196576 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                    Date           Date
                                                              Identified     Admitted
    5084        Apple Watch S8 45 CEL Details and BOM            11/6/2024     11/6/2024
    5085        Apple Watch Ultra 49 Details and BOM             11/6/2024     11/6/2024
    5086        Apple Watch S8 45 GPS Details and BOM            11/6/2024     11/6/2024
    5087        User Guide
    5088        Validation Plan
    5089        Engineering Requirements Specification
    5090        Engineering Requirements Specification           11/6/2024     11/6/2024
    5091        Engineering Requirements Specification           11/4/2024     11/4/2024
    5092        Engineering Requirements Specification
    5093        Engineering Requirements Specification
    5094        Engineering Requirements Specification
    5095        N20x N210 Platinum Chipset ERS Rev. 1.3
    5096        Withdrawn
    5097        Withdrawn
    5098        Withdrawn
    5099        Withdrawn
    5100        Withdrawn
    5101        Email regarding chipset review
    5102        Engineering Requirements Specification
    5103        Engineering Requirements Specification
    5104        General Sensor Qualification Procedures 0.8
                Bending
    5105        Engineering Requirements Specification
    5106        Engineering Requirements Specification
    5107        Email regarding chipset review
    5108        Engineering Requirements Specification
    5109        General Sensor Qualification Procedures 0.8
                Bending
    5110        Engineering Requirements Specification
    5111        Engineering Requirements Specification
    5112        Engineering Requirements Specification
    5113        Apple Watch Ultra 2 49 Details and BOM
    5114        Apple Watch S9 45 GPS Details and BOM
    5115        Apple Watch S9 45 CEL Details and BOM
    5116        Validation Plan
    5117        Validation Status




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196577 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                      Date           Date
                                                                 Identified     Admitted
    5118        Declaration of Custodian of Records of              11/7/2024     11/7/2024
                Samsung Electronic's America, Inc. (Apple Inc.
                v. Masimo Corporation, C.A. 1:22-cv-01377-
                MN (D. Del.))
    5119        Email from Stephen Waydo to Marcelo
                Lamego, April 14, 2014
    5120        ANSip: Citrine A0 TapeOut Readiness Review

    5121        Email from Ian Shapiro to Dong Zheng, April
                18, 2014
    5122        Email from Alex Chan to Ravi Narasimhan,
                August 21, 2014, and attachment
    5123        N27A Architecture Offsite
    5124        Email from Jason Sauers to Matt Kenny et al.,
                January 8, 2015, and attachment
    5125        Email from Justin Schwab to Jason Sauers,
                January 8, 2015
    5126        Email from Erno Klaasen to Mike O'Reilly,
                August 10, 2015
    5127        Scandium Marketing Risks
    5128        Zoomed in image of APL-MAS_02997659-61

    5129        Email from Steve Gipstein to Afshad Mistri,
                April 18, 2018
    5130        Email from Brian Land to Lynn Youngs et al.,
                April 20, 2016, and attachment
    5131        Email from Saahil Mehra to Paul Mannheimer,
                August 30, 2019
    5132        X2012, BC, Window, CNC, LG spec images
    5133        Assembly, Folsom 2, ring magnet, ASE,               11/4/2024     11/4/2024
                X2066, spec images
    5134        Barnum, "Novel Pulse Oximetry Technology            11/5/2024     11/5/2024
                Capable of Reliable Bradycardia Monitoring in
                the Neonate" Respir Care 1997.pdf
    5135        Masimo 1998 Press Release                           11/5/2024     11/5/2024
    5136        Masimo 1999 Press Release                           11/5/2024     11/5/2024
    5137        Masimo 2000 Press Release                           11/5/2024     11/5/2024
    5138        1/20/2011 Email from Marcelo Lamego to
                Kiani, CC: Merritt, RE: letter of resignation


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196578 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    5139        encoders.jpg                                           11/5/2024     11/5/2024
    5140        9/2013 Pronto-7 project manager.pptx                   11/5/2024     11/5/2024
    5141        Bill Clinton Picture, picture.jpg                      11/5/2024     11/5/2024
    5142        California Legislature Recognition of Lifetime         11/5/2024     11/5/2024
                of Achievement to Joe Kiani
    5143        12/2016 Patient Safety Movement Award                  11/5/2024     11/5/2024
    5144        Chapman University 2017 Honorary Doctor of             11/5/2024     11/5/2024
                Science Degree
    5145        OCBJ_2016 OC 50th Annual Inventory of                  11/5/2024     11/5/2024
                Influence
    5146        Frost & Sullivan North American Pulse                  11/5/2024     11/5/2024
                Oximetry Technology Leadership Award_2009

    5147        GIPC_2015 Intellectual Property Champion               11/5/2024     11/5/2024
    5148        Intellectual Property Owners Education                 11/5/2024     11/5/2024
                Foundation_2018 IP Champion
    5149        OCBJ_2015 Innovator of the Year Nomination             11/5/2024     11/5/2024


    5150        OCBJ_2017 Innovator of the Year                        11/5/2024     11/5/2024
    5151        Patient Blood Management Platinum Award                11/5/2024     11/5/2024
    5152        log record
    5153        log record
    5154        log record
    5155        log record
    5156        log record
    5157        log record
    5158        log record
    5159        Engineering Requirements Specification                 11/6/2024     11/6/2024
    5160        Apple, Introducing Apple Watch Ultra.pdf,
                http://www.apple.com/newsroom/2022/09/intro
                ducing apple watch ultra (accessed May 21,
                2024)
    5161
                Apple, Apple Watch Ultra - Technical
                Specifications.pdf, https://support.apple.com/en-
                us/111852 (accessed May 15, 2024)
    5162        Apple, Apple Watch Series 9.pdf,
                https://www.apple.com/apple-watch-series-
                9/specs/ (accessed May 16, 2024)


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196579 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                     Description                         Date           Date
                                                                    Identified     Admitted
    5163
                Apple, Apple Watch Series 8 - Technical
                Specifications.pdf, https://support.apple.com/en-
                us/111848 (accessed May 16, 2024)
    5164                                                               11/7/2024     11/7/2024
                Apple, Apple Watch Series 7 orders start
                Friday, October 8, with availability beginning
                Friday, October 15.pdf,
                https://www.apple.com/newsroom/2021/10/app
                le-watch-series-7-orders-start-friday-october-8/
                (accessed July 10, 2024)
    5165                                                               11/7/2024     11/7/2024
                Apple, Apple Watch Series 7 - Technical
                Specifications.pdf, https://support.apple.com/en-
                us/111909 (accessed July 10, 2024)
    5166
                Apple, Apple Watch Series 6 delivers
                breakthrough wellness and fitness
                capabilities.pdf,
                https://www.apple.com/newsroom/2020/09/app
                le-watch-series-6-delivers-breakthrough-
                wellness-and-fitness-capabilities/ (accessed
                July 10, 2024)
    5167                                                               11/7/2024     11/7/2024
                Apple, Apple Watch Series 6 - Technical
                Specifications.pdf, https://support.apple.com/en-
                us/111918 (accessed July 10, 2024)
    5168                                                               11/7/2024     11/7/2024
                Apple, Apple Watch Series 5 - Technical
                Specifications.pdf, https://support.apple.com/en-
                us/118453 (July 10, 2024)
    5169                                                               11/7/2024     11/7/2024
                Apple, Apple Watch SE The Ultimate
                Combination of Design, Function, and
                Value.pdf, https //www apple
                com/newsroom/2020/09/apple watch se the
                ultimate combination of design function and
                value/ (accessed May 20, 2024)
    5170                                                               11/7/2024     11/7/2024
                Apple, Apple Watch SE (1st generation) -
                Technical Specifications.pdf,
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                    CORRECTED JOINT   ADMITED
                                Page ID #:196580 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
    5171        Apple, Apple Unveils Apple Watch Series             11/7/2024     11/7/2024
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                com/newsroom/2019/09/apple unveils apple
                watch series 5/ (accessed May 20, 2024)
    5172
                Apple, Apple reveals Apple Watch Series 8 and
                the new Apple Watch SE.pdf,
                https://www.apple.com/newsroom/2022/09/app
                le-reveals-apple-watch-series-8-and-the-new-
                apple-watch-se/ (accessed May 16, 2024)
    5173                                                            11/7/2024     11/7/2024

                Apple, Apple Reveals Apple Watch Series 7
                Featuring the Largest Most Advanced
                Display.pdf,
                https://www.apple.com/newsroom/2021/09/app
                le-reveals-apple-watch-series-7-featuring-the-
                largest-most-advanced-display/ (July 5, 2024)
    5174
                Apple, Apple Introduces the Advanced New
                Apple Watch Series 9.pdf,
                https://www.apple.com/newsroom/2023/09/app
                le-introduces-the-advanced-new-apple-watch-
                series-9/ (accessed May 16, 2024)
    5175        APSF Newsletter Spring-Summer 2012,                 11/5/2024     11/5/2024
                Postoperative Monitoring-The Dartmouth
                Experience
    5176        Press Release, March 25, 2020, Study Finds          11/5/2024     11/5/2024
                Zero Patient Deaths from Opioid-Induce
                Respiratory Depression Over 10 Years with
                Masimo SET
    5177        JAMA, Remote Patient Monitoring During
                COVID-19, March 22, 2022
    5178        Masimo W1 Whitepaper                                11/5/2024     11/5/2024
    5179        1/26/2021 Email from Diego Jimenez to Stan
                Ng, et al., re Apple Watch Series 6 and Apple
                Watch SE launch survey report (with
                attachment)




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                    CORRECTED JOINT   ADMITED
                                Page ID #:196581 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                          Date           Date
                                                                      Identified     Admitted
    5180        9/1/2023 Masimo Corporation, Sound United,
                LLC, and Cercacor Labs., Inc.'s Deposition
                Notice to Apple Pursuant to
                Fed.R.Civ.P.30(B)(6)
    5181        Press Release, Study Demonstrates Reduction              11/5/2024     11/5/2024
                in Mortality using SpHb
    5182        Continuous hemoglobin and plethysmography                11/5/2024     11/5/2024
                variability index monitoring can modify blood
                transfusion practice and is associated with
                lower mortality, Journal of Clinical Monitoring
                and Computing
    5183        JAMA, Remote Patient Monitoring During                   11/5/2024     11/5/2024
                COVID-19, An Unexpected Patient Safety
                Benefit
    5184        New York Times Article, The New Apple                    11/7/2024     11/7/2024
                Watch Measures Your Blood Oxygen. Now
                What?
    5185        02/09/2023 Email from Catherine Chang to
                Martin Grunthaner et al. re Health Sensing -
                Eng/GSM/Ops Sync
    5186        Health Sensing Eng/GSM/Ops Sync
    5187        Cercacor - Plan of Conversion DE Corp to NV Corp         11/6/2024     11/6/2024
                (Executed) 2023.12.18
    5188        Cercacor (DE) Certificate of Conversion DE to a          11/6/2024     11/6/2024
                NV Corp (Filed) 2024.01.17
    5189        Cercacor (NV) Articles of Conversion DE to NV            11/6/2024     11/6/2024
                Corp (Filed) 2024.01.18
    5190        Willow Laboratories_ Inc. (NV) Formation Profit          11/6/2024     11/6/2024
                Corp (Filed) 2024.01.18
    5191        Masimo W1™ Medical Watch Receives FDA                    11/5/2024     11/5/2024
                510(k) Clearance for Over-the-Counter and
                Prescription Use _ Business Wire.pdf
    5192        K232512 Letter, Premarket notification approval          11/5/2024     11/5/2024
    5193        Masimo Announces FDA 510(k) Clearance for                11/5/2024     11/5/2024
                Mighty Sat
    5194        Masimo Press Release, Masimo Announces FDA               11/5/2024     11/5/2024
                Clearance of Radius PPG
    5195        File History of U.S. Provisional Patent Application      11/6/2024     11/6/2024
                60/657596
    5196        File History of U.S. Provisional Patent Application      11/6/2024     11/6/2024
                60/657281



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                    CORRECTED JOINT   ADMITED
                                Page ID #:196582 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                      Description                          Date           Date
                                                                      Identified     Admitted
       5197     File History of U.S. Provisional Patent Application      11/6/2024     11/6/2024
                60/657268
       5198     File History of U.S. Provisional Patent Application      11/6/2024     11/6/2024
                60/657759
   5199.1       Source Code (slipsheet)                                  11/6/2024     11/6/2024
   5200.1       Source Code (slipsheet)                                  11/6/2024     11/6/2024
    5201        January 12, 2023 Declaration of Russell-Clarke           11/7/2024     11/7/2024


       5202     6/3/2014 Email from Estoesta to Perica, et al. re       11/8/2024     11/8/2024
                Rover, 6/3
       5203     10/15/2013 Email from Tom to Hotelling re               11/8/2024     11/8/2024
                Marcelo Lamego
       5204     10/17/2013 Email from Hotelling to Simon, et            11/8/2024     11/8/2024
                al. re Project Everest
       5205     10/18/2013 Email from Hotelling to Rice, et al.         11/8/2024     11/8/2024
                re Recruiting from Masimo
       5206     Presentation: Proto2 FA! Trevor 7.30.04                 11/8/2024     11/8/2024
5207            Public Interest Letter from Adam Waddell, In            11/12/2024    11/12/2024
                the Matter of Certain Light-Based Physiological
                Measurement Devices, ITC Inv. No. 337-TA-
                1276
5208            Public Interest Letter from Kevin R. Ward, In           11/12/2024    11/12/2024
                the Matter of Certain Light-Based Physiological
                Measurement Devices, ITC Inv. No. 337-TA-
                1276
5209            Public Interest Statement of Non-Party Peter            11/12/2024    11/12/2024
                Pronovost, MD, In the Matter of Certain Light-
                Based Physiological Measurement Devices,
                ITC Inv. No. 337-TA-1276
5210            Public Interest Statement of Non-Party Mitchell         11/12/2024    11/12/2024
                Golstein, MD, In the Matter of Certain Light-
                Based Physiological Measurement Devices,
                ITC Inv. No. 337-TA-1276


5211            Apple's Supplemental Objections and                     11/12/2024    11/12/2024
                Responses to Plaintiffs Masimo Corporation
                and Cercacor Laboratories, Inc.'s Eighth Set of
                Interrogatories to Defendant Apple Inc. (No.
                32)
5212            11/29/2014 Email from Mu to Nangia                      11/13/2024    11/13/2024


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                     CORRECTED JOINT   ADMITED
                                 Page ID #:196583 EXHIBIT LIST
                            FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                   Date           Date
                                                             Identified     Admitted
5213            U.S. Patent No. 6,920,345                       11/4/2024     11/4/2024
   P-0001       Physical - Radius PPG Neo sensor                11/5/2024     11/5/2024
   P-0002       Physical - Radius PPG reusable chip             11/5/2024     11/5/2024
   P-0003       Physical - Radius PPG Neo sensor
   P-0004       Physical - Radius PPG reusable chip
   P-0005       Physical - TF-I (Ref. No. 4055) (Current)       11/5/2024     11/5/2024
   P-0005p      Physical - TF-I (Ref. No. 4055) (Current)       11/5/2024     11/5/2024
   P-0006       Physical - TF-I (Ref. No. 4055) (Current)
   P-0007       Physical - TF-I (Ref. No. 4055) (Current)
   P-0008       Physical - TF-I (Ref. No. 4055) (Current)
   P-0009       Physical - TF-I (Ref. No. 4055) (Current)
   P-0010       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0011       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0012       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0013       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0014       Physical - TFA-1 (Ref. No. 4016) (Current)
   P-0015       Physical - Masimo MightySat Lanyard, bag,
                and batteries
   P-0016       Physical - TI eZ430 Watch
   P-0017       Physical - iSpO2, Android (microUSB)
   P-0018       Physical - iSpO2, iOS (30 pin)                  11/5/2024     11/5/2024
   P-0019       Physical - iSpO2, Android (microUSB)
   P-0020       Physical - iSpO2, iOS (30 pin)
   P-0021       Physical - iSpO2, microUSB
   P-0022       Physical - MightySat Rx (2017)                  11/5/2024     11/5/2024
   P-0023       Physical - MightySat Rx (2019)                  11/6/2024     11/6/2024
   P-0024       Physical - W1, Air Watch P#003
   P-0025       Physical - W1, Identifying Number:
                2052700011
   P-0026       Physical - W1, Identifying Number:
                2111700027
   P-0027       Physical - W1, Air Watch P#004
   P-0028       Physical - W1, Air Watch P#005
   P-0029       Physical - W1, Air Watch P#006
   P-0030       Physical - W1, Identifying Number: 7
   P-0031       Physical - W1, Identifying Number: 8
   P-0032       Physical - W1, Identifying Number: 9
   P-0033       Physical - W1, Identifying Number: 11
   P-0034       Physical - W1, Identifying Number: 12


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196584 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                   Date         Date
                                                            Identified   Admitted
   P-0035       Physical - W1, Identifying Number: 15
   P-0036       Physical - W1, Identifying Number: 16
   P-0037       Physical - W1, Identifying Number: 17
   P-0038       Physical - W1, Identifying Number: 19
   P-0039       Physical - W1, Identifying Number: 20
   P-0040       Physical - W1, Identifying Number: 21
   P-0041       Physical - W1, Identifying Number: 22
   P-0042       Physical - W1, Identifying Number: 24
   P-0043       Physical - W1, Identifying Number: 25
   P-0044       Physical - W1, Identifying Number: 27
   P-0045       Physical - W1, Identifying Number: 28
   P-0046       Physical - W1, Identifying Number: 29
   P-0047       Physical - W1, Identifying Number: 31
   P-0048       Physical - W1, Identifying Number: 32
   P-0049       Physical - W1, Identifying Number: 33
   P-0050       Physical - W1, Identifying Number: 34
   P-0051       Physical - W1, Identifying Number: 35
   P-0052       Physical - W1, Identifying Number: 38
   P-0053       Physical - W1, Identifying Number: 42
   P-0054       Physical - W1, Identifying Number:
                2000000004
   P-0055       Physical - W1, Identifying Number:
                2000000010
   P-0056       Physical - W1, Identifying Number: 88564A
   P-0057       Physical - W1, Identifying Number:
                2052700003
   P-0058       Physical - W1, Identifying Number:
                2052700019
   P-0059       Physical - W1, Identifying Number:
                2116700010
   P-0060       Physical - W1, Identifying Number:
                2116700020
   P-0061       Physical - W1, Identifying Number:
                2116700031
   P-0062       Physical - W1, Identifying Number: OE-
                1911741
   P-0063       Physical - W1, Identifying Number:
                2000000012



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                                Page ID #:196585 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                      Date         Date
                                                               Identified   Admitted
   P-0064       Physical - W1, Identifying Number:
                2000000013
   P-0065       Physical - W1, Air Watch Carrier 01
   P-0066       Physical - W1, Identifying Number: 211700003

   P-0067       Physical - W1, Identifying Number: 211700013

   P-0068       Physical - W1, Identifying Number: 211700017

   P-0069       Physical - W1, Identifying Number: 211700018

   P-0070       Physical - W1, Identifying Number: 211700025

   P-0071       Physical - Radius PPG, RC00000848
   P-0072       Physical - Radius PPG Sensor Lot E19GWA
   P-0073       Physical - W1, Identifying Number: 301034A
   P-0074       Physical - W1, Identifying Number: 28089A1
   P-0075       Physical - W1, Identifying Number: 28089C
   P-0076       Physical - W1, Identifying Number: 28089E1
   P-0077       Physical - Masimo Radius-7 screen
   P-0078       Physical - Masimo Radius-7
   P-0079       Physical - Masimo Radius-7 Cuff
   P-0080       Physical - Masimo Radius-7 Cuff (Ref. No.
                38879)
   P-0081       Physical - Cercacor Prototype
   P-0082       Physical - Masimo Pronto 7
   P-0083       Physical - Masimo Pronto 7 Sensor
   P-0084       Physical - Withings ScanWatch
   P-0085       Physical - Amazfit GTR 2e
   P-0086       Physical - Apple Watch Series 0
   P-0087       Physical - Steve Jobs: The Lost Interview,
                DVD
   P-0089       Physical - Cercacor Ember
   P-0090       Physical - OxiMax OxiCliq-A, Adult Oxygen
                Sensor
   P-0091       Physical - OxiMax OxiCliq-P, Pediatric
                Oxygen Sensor
   P-0092       Physical - Nellcor Oxisensor II D-25, Adult
                Oxygen Sensor


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196586 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                    Description                       Date           Date
                                                                 Identified     Admitted
   P-0093       Physical - Masimo LNOP Adt (Ref 1001)
   P-0094       Physical - Masimo W1 Watch (Current)
   P-0095       Physical - Masimo W1 Watch Charger
                (Current)
   P-0096       Physical - Masimo Health Module (Current)
   P-0097       Physical - Masimo Health Module Back Lens
                (Current)
   P-0098       Physical - Masimo Health Module Board               11/5/2024     11/5/2024
                (Current)
   P-0099       Physical - Masimo Health Module Boards,             11/5/2024     11/5/2024
                Group of 2 (Current)
   P-0100       Physical - Masimo W1 Freedom Prototype
   P-0101       Physical - Fitbit Sense
   P-0102       Physical - Fitbit Versa 2
   P-0103       Physical - Stepfly Smart Watch
   P-0104       Physical - Fitness Tracker Smart Watch
   P-0105       Physical - Kalinco Smart Watch
   P-0106       Physical - Pautios Smart Watch
   P-0107       Physical - Kospet Smart Watch
   P-0108       Physical - IPS Smart Watch
   P-0109       Physical - Smart Watch
   P-0110       Physical - Masimo W1                                11/5/2024     11/5/2024
   P-0111       Physical - Masimo Health Module Board
                (Current)
   P-0112       Physical Exhibit - ABBY Award
   P-0113       Physical Exhibit - Frost and Sullivan 2003 New
                Standard of Care in Patient Monitoring Award

   P-0114       Physical Exhibit - 2012 Ernst & Young
                Entrepreneur of the Year - Joe Kiani
   P-0115       INTENTIONALLY OMITTED
   P-0116       Physical: Source Code Computer with Masimo
                Source Code Made Available for Inspection

  P-0116.1      Directory printouts from Source Code
                Computer with Masimo Source Code
   P-0117       Physical: rainbow® sensors
   P-0118       Physical - Diab's Notebook (1994-1996)
   P-0119       Physical - Apple Watch Series 0


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                                Page ID #:196587 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
   P-0120       Physical - Apple Watch Series 1
   P-0121       Physical - Apple Watch Series 2
   P-0122       Physical - Apple Watch Series 3
   P-0123       Physical - Apple Watch Series 4
   P-0124       Physical - Apple Watch Series 5
   P-0125       Physical - Apple Watch Series 6
   P-0126       Physical - Apple Watch Series 7
   P-0127       Physical - Apple Watch Series 8
   P-0128       Physical - Apple Watch Series SE
   P-0129       Physical - Apple Watch Series Ultra
   P-0130       Physical of the Masimo TF-I sensor
   P-0131       Physical of the Masimo Pronto-7 sensor
   P-0132       Physical of the Masimo Radical-7 Sensor
   P-0133       Physical of the Masimo iSPO2 sensor
   P-0134       Physical of the Masimo G2 device
   P-0135       Physical of Ex. 827 - Dalke Notebook 281         11/6/2024     11/6/2024
                (2003)
   P-0136       Physical of Ex. 832 - Poeze Notebook (2008)
   P-0137       Physical of Ex. 878 - Diab Notebook (2007)
   P-0138       Physical of Ex. 881 - Diab Notebook (1994)
   P-0139       Physical of Ex. 1214 - Diab Notebook 1B
                (1992)
   P-0140       Physical of Ex. 1227 - Diab Notebook (1988)
   P-0141       Physical of Ex. 1910 - Diab Notebook (1990)
   P-0142       Physical of Ex. 702 - Dalke Notebook 301
                (2004)
   P-0143       Physical of Ex. 703 - Smith Notebook 295
                (2004)
   P-0144       Physical of Ex. 794 - Smith Notebook 13
                (1992)
   P-0145       Physical of Ex. 798 - Diab Notebook 1001
                (1994)
   P-0146       Physical of Ex. 811 - Dalke Notebook 241
                (2002)
   P-0147       Physical of Ex. 483 (O'Reilly Notes)
   P-0148       Physical of Ex. 484 (O'Reilly Notes)
   P-0149       Physical of Ex. 485 (O'Reilly Notes)
   P-0150       Physical of Ex. 486 (O'Reilly Notes)
   P-0151       Physical of Ex. 487 (O'Reilly Notes)


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                    CORRECTED JOINT   ADMITED
                                Page ID #:196588 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                   Description                     Date           Date
                                                              Identified     Admitted
   P-0152       Physical of Ex. 488 (O'Reilly Notes)
   P-0153       Physical of Ex. 489 (O'Reilly Notes)
   P-0154       Physical of Ex. 490 (O'Reilly Notes)
   P-0155       Physical of Ex. 491 (O'Reilly Notes)
   P-0156       Physical of Ex. 492 (O'Reilly Notes)
   P-0157       Physical of Ex. 493 (O'Reilly Notes)
   P-0158       Physical of Ex. 494 (O'Reilly Notes)
   P-0159       Physical of Ex. 495 (O'Reilly Notes)
   P-0160       Physical of Ex. 496 (O'Reilly Notes)
   P-0161       Testing fixtures                                 11/5/2024     11/5/2024
   P-0162       Testing fixtures                                 11/5/2024     11/5/2024
   P-0163       Kansas State 4D, Kansas State Sensor, 2006
   P-0164       Kansas State 6D, Kansas State Sensor, 2005      11/13/2024    11/13/2024
   P-0165       Masimo TF-I Sensor
   P-0166       Masimo Pronto
   P-0167       Masimo Pronto-7 Monitor
   P-0168       Masimo rainbow DCI SC 400 sensor
   P-0169       Masimo MightySAT finger-clip pulse oximeter      11/6/2024     11/6/2024
   P-0170       Apple Watch Series 7 w/ Shunts
   P-0171       Apple Watch Series 7 w/o Shunts
                Withdrawn
   P-0172       Samsung Galaxy Watch3 commercially
                available
   P-0173       Masimo W1 Watch commercially available
   P-0174       Masimo Pronto 7 Finger Clip
   P-0175       Masimo Pronto 7 Sensor (teardown)
   P-0176       Cercacor Ember
   P-0177       Masimo Health Module
   P-0178       Health Module Back Lens
   P-0179       Health Module Board
   P-0180       Health Module Board
   P-0181       Cercacor Ember (with packaging)
   P-0182       Apple Watch Series 7 (teardown)
   P-0183       Apple Watch Series 0
   P-0184       Apple Watch Series 1
   P-0185       Apple Watch Series 2
   P-0186       Apple Watch Series 3
   P-0187       Apple Watch Series 4
   P-0188       Apple Watch Series 5


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                                Page ID #:196589 EXHIBIT LIST
                           FOR NOVEMBER 2024 TRIAL
Trial Ex. No.                  Description              Date           Date
                                                      Identified     Admitted
   P-0189       Apple Watch Series 6
   P-0190       Apple Watch Series 7                     11/8/2024     11/8/2024
   P-0191       Apple Watch Series 8
   P-0192       Apple Watch Ultra
   P-0193       Apple Watch SE (1st Gen)
   P-0194       Apple Watch SE (2nd Gen)
   P-0195       Masimo MX-3 Board




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